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                                           IN ACTION
                                               Practical Multithreading

                                                 Anthony Williams




                                                                 MANNING
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                   C++ Concurrency
                         in Action
                                      PRACTICAL MULTITHREADING

                                                    ANTHONY WILLIAMS




                                                            MANNING
                                                             SHELTER ISLAND
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                                   CHAPTER 1 Hello, world of concurrency in C++!


             quite a complex process, because there may be many dependencies between the vari-
             ous parts. The divisions may be either in terms of processing—one thread performs
             one part of the algorithm while another thread performs a different part—or in terms
             of data—each thread performs the same operation on different parts of the data. This
             latter approach is called data parallelism.
                  Algorithms that are readily susceptible to such parallelism are frequently called
             embarrassingly parallel. Despite the implications that you might be embarrassed to have
             code so easy to parallelize, this is a good thing: other terms I’ve encountered for such
             algorithms are naturally parallel and conveniently concurrent. Embarrassingly parallel algo-
             rithms have good scalability properties—as the number of available hardware threads
             goes up, the parallelism in the algorithm can be increased to match. Such an algo-
             rithm is the perfect embodiment of the adage, “Many hands make light work.” For
             those parts of the algorithm that aren’t embarrassingly parallel, you might be able to
             divide the algorithm into a fixed (and therefore not scalable) number of parallel
             tasks. Techniques for dividing tasks between threads are covered in chapter 8.
                  The second way to use concurrency for performance is to use the available paral-
             lelism to solve bigger problems; rather than processing one file at a time, process 2 or
             10 or 20, as appropriate. Although this is really just an application of data parallelism,
             by performing the same operation on multiple sets of data concurrently, there’s a dif-
             ferent focus. It still takes the same amount of time to process one chunk of data, but
             now more data can be processed in the same amount of time. Obviously, there are lim-
             its to this approach too, and this won’t be beneficial in all cases, but the increase in
             throughput that comes from such an approach can actually make new things possi-
             ble—increased resolution in video processing, for example, if different areas of the
             picture can be processed in parallel.

     1.2.3   When not to use concurrency
             It’s just as important to know when not to use concurrency as it is to know when to use
             it. Fundamentally, the only reason not to use concurrency is when the benefit is not
             worth the cost. Code using concurrency is harder to understand in many cases, so
             there’s a direct intellectual cost to writing and maintaining multithreaded code, and
             the additional complexity can also lead to more bugs. Unless the potential perfor-
             mance gain is large enough or separation of concerns clear enough to justify the addi-
             tional development time required to get it right and the additional costs associated
             with maintaining multithreaded code, don’t use concurrency.
                  Also, the performance gain might not be as large as expected; there’s an inherent
             overhead associated with launching a thread, because the OS has to allocate the associ-
             ated kernel resources and stack space and then add the new thread to the scheduler,
             all of which takes time. If the task being run on the thread is completed quickly, the
             actual time taken by the task may be dwarfed by the overhead of launching the thread,
             possibly making the overall performance of the application worse than if the task had
             been executed directly by the spawning thread.
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                                    Concurrency and multithreading in C++                              9


                 Furthermore, threads are a limited resource. If you have too many threads run-
            ning at once, this consumes OS resources and may make the system as a whole run
            slower. Not only that, but using too many threads can exhaust the available memory or
            address space for a process, because each thread requires a separate stack space. This
            is particularly a problem for 32-bit processes with a flat architecture where there’s a
            4 GB limit in the available address space: if each thread has a 1 MB stack (as is typical on
            many systems), then the address space would be all used up with 4096 threads, with-
            out allowing for any space for code or static data or heap data. Although 64-bit (or
            larger) systems don’t have this direct address-space limit, they still have finite resources:
            if you run too many threads, this will eventually cause problems. Though thread pools
            (see chapter 9) can be used to limit the number of threads, these are not a silver bul-
            let, and they do have their own issues.
                 If the server side of a client/server application launches a separate thread for each
            connection, this works fine for a small number of connections, but can quickly
            exhaust system resources by launching too many threads if the same technique is used
            for a high-demand server that has to handle many connections. In this scenario, care-
            ful use of thread pools can provide optimal performance (see chapter 9).
                 Finally, the more threads you have running, the more context switching the oper-
            ating system has to do. Each context switch takes time that could be spent doing use-
            ful work, so at some point adding an extra thread will actually reduce the overall
            application performance rather than increase it. For this reason, if you’re trying to
            achieve the best possible performance of the system, it’s necessary to adjust the num-
            ber of threads running to take account of the available hardware concurrency (or
            lack of it).
                 Use of concurrency for performance is just like any other optimization strategy: it
            has potential to greatly improve the performance of your application, but it can also
            complicate the code, making it harder to understand and more prone to bugs. There-
            fore it’s only worth doing for those performance-critical parts of the application
            where there’s the potential for measurable gain. Of course, if the potential for perfor-
            mance gains is only secondary to clarity of design or separation of concerns, it may
            still be worth using a multithreaded design.
                 Assuming that you’ve decided you do want to use concurrency in your application,
            whether for performance, separation of concerns, or because it’s “multithreading
            Monday,” what does that mean for C++ programmers?

      1.3   Concurrency and multithreading in C++
            Standardized support for concurrency through multithreading is a new thing for C++.
            It’s only with the upcoming C++11 Standard that you’ll be able to write multithreaded
            code without resorting to platform-specific extensions. In order to understand the
            rationale behind lots of the decisions in the new Standard C++ Thread Library, it’s
            important to understand the history.
Case 1:20-cv-00984-WCB          Document 389-2 Filed 11/19/24                   Page 7 of 303 PageID #:
     68                                        18757 concurrent operations
                                 CHAPTER 4 Synchronizing


     4.1   Waiting for an event or other condition
           Suppose you’re traveling on an overnight train. One way to ensure you get off at the
           right station would be to stay awake all night and pay attention to where the train
           stops. You wouldn’t miss your station, but you’d be tired when you got there. Alterna-
           tively, you could look at the timetable to see when the train is supposed to arrive, set
           your alarm a bit before, and go to sleep. That would be OK; you wouldn’t miss your
           stop, but if the train got delayed, you’d wake up too early. There’s also the possibility
           that your alarm clock’s batteries would die, and you’d sleep too long and miss your sta-
           tion. What would be ideal is if you could just go to sleep and have somebody or some-
           thing wake you up when the train gets to your station, whenever that is.
               How does that relate to threads? Well, if one thread is waiting for a second thread
           to complete a task, it has several options. First, it could just keep checking a flag in
           shared data (protected by a mutex) and have the second thread set the flag when it
           completes the task. This is wasteful on two counts: the thread consumes valuable pro-
           cessing time repeatedly checking the flag, and when the mutex is locked by the wait-
           ing thread, it can’t be locked by any other thread. Both of these work against the
           thread doing the waiting, because they limit the resources available to the thread
           being waited for and even prevent it from setting the flag when it’s done. This is akin
           to staying awake all night talking to the train driver: he has to drive the train more
           slowly because you keep distracting him, so it takes longer to get there. Similarly, the
           waiting thread is consuming resources that could be used by other threads in the sys-
           tem and may end up waiting longer than necessary.
               A second option is to have the waiting thread sleep for small periods between the
           checks using the std::this_thread::sleep_for() function (see section 4.3):
           bool flag;
           std::mutex m;

           void wait_for_flag()
           {
               std::unique_lock<std::mutex> lk(m);             b
                                                           Unlock the mutex
               while(!flag)
               {                                                        Sleep for 100 ms       c
                   lk.unlock();
                   std::this_thread::sleep_for(std::chrono::milliseconds(100));
                   lk.lock();
               }
           }                           d
                                       Relock the mutex

           In the loop, the function unlocks the mutex B before the sleep c and locks it again
           afterward d, so another thread gets a chance to acquire it and set the flag.
                This is an improvement, because the thread doesn’t waste processing time while
           it’s sleeping, but it’s hard to get the sleep period right. Too short a sleep in between
           checks and the thread still wastes processing time checking; too long a sleep and the
           thread will keep on sleeping even when the task it’s waiting for is complete, introduc-
           ing a delay. It’s rare that this oversleeping will have a direct impact on the operation of
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                                                      1.6 Advantages of Using the DBMS Approach    19



others are allowed to retrieve and update. Hence, the type of access operation-
retrieval or update-must also be controlled. Typically, users or user groups are
given account numbers protected by passwords, which they can use to gain access to
the database. A DBMS should provide a security and authorization subsystem,
which the DBA uses to create accounts and to specify account restrictions. Then, the
DBMS should enforce these restrictions automatically. Notice that we can apply
similar controls to the DBMS software. For example, only the dba's staff may be
allowed to use certain privileged software, such as the software for creating new
accounts. Similarly, parametric users may be allowed to access the database only
through the predefined canned transactions developed for their use.

1.6.3 Providing Persistent Storage for Program Objects
Databases can be used to provide persistent storage for program objects and data
structures. This is one of the main reasons for object-oriented database systems.
Programming languages typically have complex data structures, such as record
types in Pascal or class definitions in C++ or Java. The values of program variables
or objects are discarded once a program terminates, unless the programmer explic-
itly stores them in permanent files, which often involves converting these complex
structures into a format suitable for file storage. When the need arises to read
this data once more, the programmer must convert from the file format to the pro-
gram variable or object structure. Object-oriented database systems are compatible
with programming languages such as C++ and Java, and the DBMS software auto-
matically performs any necessary conversions. Hence, a complex object in C++ can
be stored permanently in an object-oriented DBMS. Such an object is said to be
persistent, since it survives the termination of program execution and can later be
directly retrieved by another C++ program.
The persistent storage of program objects and data structures is an important func-
tion of database systems. Traditional database systems often suffered from the so-
called impedance mismatch problem, since the data structures provided by the
DBMS were incompatible with the programming language's data structures.
Object-oriented database systems typically offer data structure compatibility with
one or more object-oriented programming languages.

1.6.4 Providing Storage Structures and Search
      Techniques for Efficient Query Processing
Database systems must provide capabilities for efficiently executing queries and
updates. Because the database is typically stored on disk, the DBMS must provide
specialized data structures and search techniques to speed up disk search for the
desired records. Auxiliary files called indexes are used for this purpose. Indexes are
typically based on tree data structures or hash data structures that are suitably mod-
ified for disk search. In order to process the database records needed by a particular
query, those records must be copied from disk to main memory. Therefore, the
DBMS often has a buffering or caching module that maintains parts of the data-
base in main memory buffers. In general, the operating system is responsible for
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                                                                 chapter


      The Relational Data Model and
     Relational Database Constraints




                             T    his chapter opens Part 2 of the book, which covers
                                  relational databases. The relational data model was
first introduced by Ted Codd of IBM Research in 1970 in a classic paper (Codd
1970), and it attracted immediate attention due to its simplicity and mathematical
foundation. The model uses the concept of a mathematical relation-which looks
somewhat like a table of values-as its basic building block, and has its theoretical
basis in set theory and first-order predicate logic. In this chapter we discuss the basic
characteristics of the model and its constraints.
The first commercial implementations of the relational model became available in
the early 1980s, such as the SQL/DS system on the MVS operating system by IBM
and the Oracle DBMS. Since then, the model has been implemented in a large num-
ber of commercial systems. Current popular relational DBMSs (RDBMSs) include
DB2 and Informix Dynamic Server (from IBM), Oracle and Rdb (from Oracle),
Sybase DBMS (from Sybase) and SQLServer and Access (from Microsoft). In addi-
tion, several open source systems, such as MySQL and PostgreSQL, are available.
Because of the importance of the relational model, all of Part 2 is devoted to this
model and some of the languages associated with it. In Chapters 4 and 5, we
describe the SQL query language, which is the standard for commercial relational
DBMSs. Chapter 6 covers the operations of the relational algebra and introduces the
relational calculus-these are two formal languages associated with the relational
model. The relational calculus is considered to be the basis for the SQL language,
and the relational algebra is used in the internals of many database implementations
for query processing and optimization (see Part 8 of the book) .



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60       Chapter 3 The Relational Data Model and Relational Database Constraints



                      Other aspects of the relational model are presented in subsequent parts of the book.
                      Chapter 9 relates the relational model data structures to the constructs of the ER
                      and EER models (presented in Chapters 7 and 8), and presents algorithms for
                      designing a relational database schema by mapping a conceptual schema in the ER
                      or EER model into a relational representation. These mappings are incorporated
                      into many database design and CASE 1 tools. Chapters 13 and 14 in Part 5 discuss
                      the programming techniques used to access database systems and the notion of
                      connecting to relational databases via ODBC and JDBC standard protocols. We also
                      introduce the topic of Web database programming in Chapter 14. Chapters 15 and
                      16 in Part 6 present another aspect of the relational model, namely the formal con-
                      straints of functional and multivalued dependencies; these dependencies are used to
                      develop a relational database design theory based on the concept known as
                      normalization.
                      Data models that preceded the relational model include the hierarchical and net-
                      work models. They were proposed in the 1960s and were implemented in early
                      DBMSs during the late 1960s and early 1970s. Because of their historical impor-
                      tance and the existing user base for these DBMSs, we have included a summary of
                      the highlights of these models in Appendices D and E, which are available on this
                      book's Companion Website at http://www.aw.com/elmasri. These models and sys-
                      tems are now referred to as legacy database systems.
                      In this chapter, we concentrate on describing the basic principles of the relational
                      model of data. We begin by defining the modeling concepts and notation of the
                      relational model in Section 3.1. Section 3.2 is devoted to a discussion of relational
                      constraints that are considered an important part of the relational model and are
                      automatically enforced in most relational DBMSs. Section 3.3 defines the update
                      operations of the relational model, discusses how violations of integrity constraints
                      are handled, and introduces the concept of a transaction. Section 3.4 summarizes
                      the chapter.


                      3.1 Relational Model Concepts
                      The relational model represents the database as a collection of relations. Informally,
                      each relation resembles a table of values or, to some extent, a flat file of records. It is
                      called a flat file because each record has a simple linear or flat structure. For exam-
                      ple, the database of files that was shown in Figure 1.2 is similar to the basic rela-
                      tional model representation. However, there are important differences between
                      relations and files, as we shall soon see.
                      When a relation is thought of as a table of values, each row in the table represents a
                      collection of related data values. A row represents a fact that typically corresponds
                      to a real-world entity or relationship. The table name and column names are used to
                      help to interpret the meaning of the values in each row. For example, the first table
                      of Figure 1.2 is called STU DE NT because each row represents facts about a particular

                      1CASE stands for computer-aided software engineering.
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                                                                      3.1 Relational Model Concepts   61



student entity. The column names-Name, Student_number, Class, and Major-spec-
ify how to interpret the data values in each row, based on the column each value is
in. All values in a column are of the same data type.
In the formal relational model terminology, a row is called a tuple, a column header
is called an attribute, and the table is called a relation. The data type describing the
types of values that can appear in each column is represented by a domain of possi-
ble values. We now define these terms-domain, tuple, attribute, and relation-
formally.


3.1 Domains, Attributes, Tuples, and Relations
A domain D is a set of atomic values. By atomic we mean that each value in the
domain is indivisible as far as the formal relational model is concerned. A common
method of specifying a domain is to specify a data type from which the data values
forming the domain are drawn. It is also useful to specify a name for the domain, to
help in interpreting its values. Some examples of domains follow:
    ■ Usa_phone_numbers. The set of ten-digit phone numbers valid in the United
      States.
    ■ Local_phone_numbers. The set of seven-digit phone numbers valid within a
      particular area code in the United States. The use of local phone numbers is
      quickly becoming obsolete, being replaced by standard ten-digit numbers.
    ■ Social_security_numbers. The set of valid nine-digit Social Security numbers.
      (This is a unique identifier assigned to each person in the United States for
      employment, tax, and benefits purposes.)
    ■ Names: The set of character strings that represent names of persons.
    ■ Grade_point_averages. Possible values of computed grade point averages;
      each must be a real (floating-point) number between O and 4.
    ■ Employee_ages. Possible ages of employees in a company; each must be an
      integer value between 15 and 80.
    ■ Academic_department_names. The set of academic department names in a
      university, such as Computer Science, Economics, and Physics.
    ■ Academic_department_codes. The set of academic department codes, such as
      'CS', 'ECON', and 'PHYS'.
The preceding are called logical definitions of domains. A data type or format is
also specified for each domain. For example, the data type for the domain
Usa_phone_numbers can be declared as a character string of the form (ddd)ddd-
dddd, where each d is a numeric (decimal) digit and the first three digits form a
valid telephone area code. The data type for Employee_ages is an integer number
between 15 and 80. For Academic_department_names, the data type is the set of all
character strings that represent valid department names. A domain is thus given a
name, data type, and format. Additional information for interpreting the values of a
domain can also be given; for example, a numeric domain such as Person_weights
should have the units of measurement, such as pounds or kilograms.
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                      A relation schema2 R, denoted by R(Ap A 2, ... , An), is made up of a relation name R
                      and a list of attributes, A 1, A 2, ... , An. Each attribute Ai is the name of a role played
                      by some domain D in the relation schema R. D is called the domain of Ai and is
                      denoted by dom(A/ A relation schema is used to describe a relation; R is called the
                      name of this relation. The degree (or arity) of a relation is the number of attributes
                      n of its relation schema.
                      A relation of degree seven, which stores information about university students,
                      would contain seven attributes describing each student. as follows:
                           STUDENT(Name, Ssn, Home_phone, Address, Office_phone, Age, Gpa)
                      Using the data type of each attribute, the definition is sometimes written as:
                           STUDENT(Name: string, Ssn: string, Home_phone: string, Address: string,
                           Office_phone: string, Age: integer, Gpa: real)
                      For this relation schema, STU DENT is the name of the relation, which has seven
                      attributes. In the preceding definition, we showed assignment of generic types such
                      as string or integer to the attributes. More precisely, we can specify the following
                      previously defined domains for some of the attributes of the STU DENT relation:
                      dom(Name) = Names; dom(Ssn) = Social_security_numbers; dom(HomePhone) =
                      USA_phone_numbers3, dom(Office_phone) = USA_phone_numbers, and dom(Gpa) =
                      Grade_point_averages. It is also possible to refer to attributes of a relation schema by
                      their position within the relation; thus, the second attribute of the STUDENT rela-
                      tion is Ssn, whereas the fourth attribute is Address.
                      A relation (or relation state) 4 r of the relation schema R(Ap A 2, ... , An), also
                      denoted by r(R), is a set of n-tuples r = {tp t2, ... , tm}. Each n-tuple tis an ordered list
                      of n values t =<vl' v2, ... , vn>, where each value vi, 1 ::::; i::::; n, is an element of <lorn
                      (Ai) or is a special NULL value. (NULL values are discussed further below and in
                      Section 3.1.2.) The i th value in tuple t, which corresponds to the attribute Ai, is
                      referred to as t[Ai] or t.Ai (or t[i] if we use the positional notation). The terms
                      relation intension for the schema Rand relation extension for a relation state r(R)
                      are also commonly used.
                      Figure 3.1 shows an example of a STUDENT relation, which corresponds to the
                      STUDENT schema just specified. Each tuple in the relation represents a particular
                      student entity (or object). We display the relation as a table, where each tuple is
                      shown as a row and each attribute corresponds to a column header indicating a role
                      or interpretation of the values in that column. NULL values represent attributes
                      whose values are unknown or do not exist for some individual STUDENT tuple.

                      2A relation schema is sometimes called a relation scheme.

                      3With the large increase in phone numbers caused by the proliferation of mobile phones, most metropol-
                      itan areas in the U.S. now have multiple area codes, so seven-digit local dialing has been discontinued in
                      most areas. We changed this domain to Usa_phone_numbers instead of Local_phone_numbers which
                      would be a more general choice. This illustrates how database requirements can change over time.
                      4This has also been called a relation instance. We will not use this term because instance is also used
                      to refer to a single tuple or row.
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                                                                        3.1 Relational Model Concepts       63




                 Name             Ssn         Home_phone            Address           Office_phone   Age Gpa
             Benjamin Bayer   XXX-XX-XXXX    (817)373-1616   2918 Bluebonnet Lane    NULL            19   3.21
             Chung-cha Kim    XXX-XX-XXXX    (817)375-4409   1 25 Kirby Road         NULL            18   2.89
Tuples~ Dick Davidson         422-11 -2320   NULL            3452 Elgin Road         (817)749-1253   25   3.53
        Rohan Panchal         489-22-11 00   (817)376-9821   265 Lark Lane           (817)749-6492   28   3.93
             Barbara Benson 533-69-1 238     (817)839-8461   7384 Fontana Lane       NULL            19   3.25

Figure 3.1
The attributes and tuples of a relation STUDENT.



The earlier definition of a relation can be restated more formally using set theory
concepts as follows. A relation (or relation state) r( R) is a mathematical relation of
degree non the domains dom(A 1), dom(A 2), ... , dom(An), which is a subset of the
Cartesian product (denoted by x) of the domains that define R:
    r(R) c (dom(A 1) X dom(A 2) X ... X dom(An))
The Cartesian product specifies all possible combinations of values from the under-
lying domains. Hence, if we denote the total number of values, or cardinality, in a
domain D by IDI (assuming that all domains are finite), the total number of tuples
in the Cartesian product is
    ldom(A 1)1 X ldom(A 2)1 X ... X ldom(An)I
This product of cardinalities of all domains represents the total number of possible
instances or tuples that can ever exist in any relation state r(R) . Of all these possible
combinations, a relation state at a given time-the current relation state-reflects
only the valid tuples that represent a particular state of the real world. In general, as
the state of the real world changes, so does the relation state, by being transformed
into another relation state. However, the schema R is relatively static and changes
very infrequently-for example, as a result of adding an attribute to represent new
information that was not originally stored in the relation.
It is possible for several attributes to have the same domain. The attribute names
indicate different roles, or interpretations, for the domain. For example, in the
STUDENT relation, the same domain USA_phone_numbers plays the role of
Home_phone, referring to the home phone of a student, and the role of Office_phone,
referring to the office phone of the student. A third possible attribute (not shown)
with the same domain could be Mobile_phone.

3.1.2 Characteristics of Relations
The earlier definition of relations implies certain characteristics that make a relation
different from a file or a table. We now discuss some of these characteristics.
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                        Ordering of Tuples in a Relation. A relation is defined as a set of tuples.
                        Mathematically, elements of a set have no order among them; hence, tuples in a rela-
                        tion do not have any particular order. In other words, a relation is not sensitive to
                        the ordering of tuples. However, in a file, records are physically stored on disk (or in
                        memory), so there always is an order among the records. This ordering indicates
                        first, second, ith, and last records in the file. Similarly, when we display a relation as
                        a table, the rows are displayed in a certain order.
                        Tuple ordering is not part of a relation definition because a relation attempts to rep-
                        resent facts at a logical or abstract level. Many tuple orders can be specified on the
                        same relation. For example, tuples in the STUDENT relation in Figure 3.1 could be
                        ordered by values of Name, Ssn, Age, or some other attribute. The definition of a rela-
                        tion does not specify any order: There is no preference for one ordering over another.
                        Hence, the relation displayed in Figure 3.2 is considered identical to the one shown in
                        Figure 3.1. When a relation is implemented as a file or displayed as a table, a particu-
                        lar ordering may be specified on the records of the file or the rows of the table.

                        Ordering of Values within a Tuple and an Alternative Definition of a
                        Relation. According to the preceding definition of a relation, an n-tuple is an
                        ordered list of n values, so the ordering of values in a tuple-and hence of attributes
                        in a relation schema-is important. However, at a more abstract level, the order of
                        attributes and their values is not that important as long as the correspondence
                        between attributes and values is maintained.
                        An alternative definition of a relation can be given, making the ordering of values
                        in a tuple unnecessary. In this definition, a relation schema R = {Ap Az, ... , An} is a
                        set of attributes (instead of a list), and a relation state r(R) is a finite set of mappings
                        r = {tp t2, ... , tm}, where each tuple ti is a mapping from R to D, and Dis the union
                        (denoted by u) of the attribute domains; that is, D = dom(A 1) u dom(A 2 ) u ... u
                        dom(An). In this definition, t[Ai] must be in dom(A) for 1 :::; i:::; n for each mapping
                        tin r. Each mapping ti is called a tuple.
                        According to this definition of tuple as a mapping, a tuple can be considered as a set
                        of ( <attribute>, <value>) pairs, where each pair gives the value of the mapping
                        from an attribute Ai to a value vi from dom(AJ The ordering of attributes is not


Figure 3.2
The relation STU DENT from Figure 3.1 with a different order of tuples.

       STUDENT
            Name               Ssn          Home_phone             Address             Office_phone     Age Gpa
       Dick Davidson      422-11 -2320     NULL             3452 Elgin Road           (817)749-1253      25   3 .53
       Barbara Benson 533-69-1 238         (817)839-8461     7384 Fontana Lane        NULL               19   3 .25
       Rohan Panchal      XXX-XX-XXXX      (817)376-9821     265 Lark Lane            (817)749-6492      28   3 .93
       Chung-cha Kim      381 -62-1 245    (817)375-4409     125 Kirby Road           NULL               18   2.89
       Benjamin Bayer     XXX-XX-XXXX      (817)373-1616     2918 Bluebonnet Lane     NULL               19   3.21
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                                                                                     3.1 Relational Model Concepts   65


important, because the attribute name appears with its value. By this definition, the
two tuples shown in Figure 3.3 are identical. This makes sense at an abstract level,
since there really is no reason to prefer having one attribute value appear before
another in a tuple.
When a relation is implemented as a file, the attributes are physically ordered as
fields within a record. We will generally use the first definition of relation, where
the attributes and the values within tuples are ordered, because it simplifies much of
the notation. However, the alternative definition given here is more general.5

Values and NU Lls in the Tuples. Each value in a tuple is an atomic value; that
is, it is not divisible into components within the framework of the basic relational
model. Hence, composite and multivalued attributes (see Chapter 7) are not
allowed. This model is sometimes called the flat relational model. Much of the the-
ory behind the relational model was developed with this assumption in mind,
which is called the first normal form assumption. 6 Hence, multivalued attributes
must be represented by separate relations, and composite attributes are represented
only by their simple component attributes in the basic relational model. 7
An important concept is that of NULL values, which are used to represent the values
of attributes that may be unknown or may not apply to a tuple. A special value,
called NULL, is used in these cases. For example, in Figure 3.1, some STUDENT tuples
have NULL for their office phones because they do not have an office (that is, office
phone does not apply to these students) . Another student has a NULL for home
phone, presumably because either he does not have a home phone or he has one but
we do not know it (value is unknown). In general, we can have several meanings for
NULL values, such as value unknown, value exists but is not available, or attribute
does not apply to this tuple (also known as value undefined). An example of the last
type of NULL will occur if we add an attribute Visa_status to the STUDENT relation


Figure 3.3
Two identical tuples when the order of attributes and values is not part of relation definition.

  t=   < (Name, Dick Davidson),(Ssn, 422-11 -2320),(Home_phone, NULL),(Address, 3452 Elgin Road),
                          (Office_phone, (817)749-1253),(Age, 25),(Gpa, 3.53)>


  t=   < (Address, 3452 Elgin Road),(Name, Dick Davidson),(Ssn, 422-11 -2320),(Age, 25),
                          (Office_phone, (817)749-1253),(Gpa, 3.53),(Home_phone, NULL)>


5As we shall see, the alternative definition of relation is useful when we discuss query processing and
optimization in Chapter 19.
6We discuss this assumption in more detail in Chapter 15.

7 Extensions of the relational model remove these restrictions. For example, object-relational systems
(Chapter 11) allow complex-structured attributes, as do the non-first normal form or nested relational
models.
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                      that applies only to tuples representing foreign students. It is possible to devise dif-
                      ferent codes for different meanings of NULL values. Incorporating different types of
                      NULL values into relational model operations (see Chapter 6) has proven difficult
                      and is outside the scope of our presentation.
                      The exact meaning of a NULL value governs how it fares during arithmetic aggrega-
                      tions or comparisons with other values. For example, a comparison of two NULL
                      values leads to ambiguities-if both Customer A and B have NULL addresses, it does
                      not mean they have the same address. During database design, it is best to avoid
                      NULL values as much as possible. We will discuss this further in Chapters 5 and 6 in
                      the context of operations and queries, and in Chapter 15 in the context of database
                      design and normalization.

                      Interpretation (Meaning) of a Relation. The relation schema can be interpreted
                      as a declaration or a type of assertion. For example, the schema of the STUDENT
                      relation of Figure 3.1 asserts that, in general, a student entity has a Name, Ssn,
                      Home_phone, Address, Office_phone, Age, and Gpa. Each tuple in the relation can
                      then be interpreted as a fact or a particular instance of the assertion. For example,
                      the first tuple in Figure 3.1 asserts the fact that there is a STU DENT whose Name is
                      Benjamin Bayer, Ssn is XXX-XX-XXXX, Age is 19, and so on.
                      Notice that some relations may represent facts about entities, whereas other relations
                      may represent facts about relationships. For example, a relation schema MAJORS
                      ( Student_ssn, Department_code) asserts that students major in academic disciplines. A
                      tuple in this relation relates a student to his or her major discipline. Hence, the rela-
                      tional model represents facts about both entities and relationships uniformly as rela-
                      tions. This sometimes compromises understandability because one has to guess
                      whether a relation represents an entity type or a relationship type. We introduce the
                      Entity-Relationship (ER) model in detail in Chapter 7 where the entity and relation-
                      ship concepts will be described in detail. The mapping procedures in Chapter 9 show
                      how different constructs of the ER and EER (Enhanced ER model covered in Chapter
                      8) conceptual data models (see Part 3) get converted to relations.
                      An alternative interpretation of a relation schema is as a predicate; in this case, the
                      values in each tuple are interpreted as values that satisfy the predicate. For example,
                      the predicate STU DENT (Name, Ssn, ... ) is true for the five tuples in relation
                      STUDENT of Figure 3.1. These tuples represent five different propositions or facts in
                      the real world. This interpretation is quite useful in the context of logical program-
                      ming languages, such as Prolog, because it allows the relational model to be used
                      within these languages (see Section 26.5). An assumption called the closed world
                      assumption states that the only true facts in the universe are those present within
                      the extension (state) of the relation(s) . Any other combination of values makes the
                      predicate false.

                      3.1.3 Relational Model Notation
                      We will use the following notation in our presentation:
                          ■   A relation schema R of degree n is denoted by R(ApA 2 , ... ,An).
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                                                      chapter


                    Practical Database Design
                        Methodology and Use
                             of UM L Diagrams




                           I   n this chapter we move from the database design prin-
                               ciples that were presented in Chapters 7 through 9 to
examine some of the more practical aspects of database design. We have already
described material that is relevant to the design of actual databases for practical
real-world applications. This material includes Chapters 7 and 8 on database con-
ceptual modeling; Chapters 3 through 6 on the relational model, the SQL language,
and relational algebra and calculus; and Chapter 9 on mapping a high-level concep-
tual ER or EER schema into a relational schema. We will present additional relevant
materials in later chapters, including an overview of programming techniques for
relational systems (RDBMSs) in Chapters 13 and 14, and data dependency theory
and relational normalization algorithms in Chapters 15 and 16.
The overall database design activity has to undergo a systematic process called the
design methodology, whether the target database is managed by an RDBMS, an
object database management system (ODBMS, see Chapter 11), an object-relational
database management system (ORDBMS, see Chapter 11), or some other type of
database management system. Various design methodologies are provided in
the database design tools currently supplied by vendors. Popular tools include
Oracle Designer and related products in Oracle Developer Suite by Oracle, ERwin
and related products by CA, PowerBuilder and PowerDesigner by Sybase, and
ER/Studio and related products by Embarcadero Technologies, among many others.
Our goal in this chapter is to discuss not one specific methodology but rather data-
base design in a broader context, as it is undertaken in large organizations for the
design and implementation of applications catering to hundreds or thousands of
users.

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304   Chapter 10 Practical Database Design Methodology and Use of UML Diagrams



                  Generally, the design of small databases with perhaps up to 20 users need not be
                  very complicated. But for medium-sized or large databases that serve several diverse
                  application groups, each with dozens or hundreds of users, a systematic approach to
                  the overall database design activity becomes necessary. The sheer size of a populated
                  database does not reflect the complexity of the design; it is the database schema that
                  is the more important focus of database design. Any database with a schema that
                  includes more than 20 entity types and a similar number of relationship types
                  requires a careful design methodology.
                  Using the term large database for databases with several dozen gigabytes of data
                  and a schema with more than 30 or 40 distinct entity types, we can cover a wide
                  array of databases used in government, industry, and financial and commercial
                  institutions. Service sector industries, including banking, hotels, airlines, insurance,
                  utilities, and communications, use databases for their day-to-day operations 24
                  hours a day, 7 days a week-known in the industry as 24 by 7 operations.
                  Application systems for these databases are called transaction processing systems due
                  to the large transaction volumes and rates that are required. In this chapter we will
                  concentrate on the database design for such medium- and large-scale databases
                  where transaction processing dominates.
                  This chapter has a variety of objectives. Section 10.1 discusses the information sys-
                  tem life cycle within organizations with a particular emphasis on the database sys-
                  tem. Section 10.2 highlights the phases of a database design methodology within the
                  organizational context. Section 10.3 introduces some types of UML diagrams and
                  gives details on the notations that are particularly helpful in collecting requirements
                  and performing conceptual and logical design of databases. An illustrative partial
                  example of designing a university database is presented. Section 10.4 introduces the
                  popular software development tool called Rational Rose, which uses UML diagrams
                  as its main specification technique. Features of Rational Rose specific to database
                  requirements modeling and schema design are highlighted. Section 10.5 briefly dis-
                  cusses automated database design tools. Section 10.6 summarizes the chapter.


                  10.1 The Role of Information Systems
                       in Organizations
                  1 0.1.1 The Organizational Context
                          for Using Database Systems
                  Database systems have become a part of the information systems of many organiza-
                  tions. Historically, information systems were dominated by file systems in the 1960s,
                  but since the early 1970s organizations have gradually moved to database manage-
                  ment systems (DBMSs). To accommodate DBMSs, many organizations have created
                  the position of database administrator (DBA) and database administration depart-
                  ments to oversee and control database life-cycle activities. Similarly, information
                  technology (IT) and information resource management (IRM) departments have
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                                               10.1 The Role of Information Systems in Organizations   305



been recognized by large organizations as being key to successful business manage-
ment for the following reasons:
    ■ Data is regarded as a corporate resource, and its management and control is
      considered central to the effective working of the organization.
    ■ More functions in organizations are computerized, increasing the need to
      keep large volumes of data available in an up-to-the-minute current state.
    ■ As the complexity of the data and applications grows, complex relationships
      among the data need to be modeled and maintained.
    ■ There is a tendency toward consolidation of information resources in many
      organizations.
    ■ Many organizations are reducing their personnel costs by letting end users
      perform business transactions. This is evident with travel services, financial
      services, higher education, government, and many other types of services.
      This trend was realized early on by online retail goods outlets and customer-
      to-business electronic commerce, such as Amazon.com and eBay. In these
      organizations, a publicly accessible and updatable operational database must
      be designed and made available for the customer transactions.
Many capabilities provided by database systems have made them integral compo-
nents in computer-based information systems. The following are some of the key
features that they offer:
    ■ Integrating data across multiple applications into a single database.
    ■ Support for developing new applications in a short time by using high-level
      languages like SQL.
    ■ Providing support for casual access for browsing and querying by managers
      while supporting major production-level transaction processing for cus-
      tomers.
From the early 1970s through the mid-1980s, the move was toward creating large
centralized repositories of data managed by a single centralized DBMS. Since then,
the trend has been toward utilizing distributed systems because of the following
developments:
    1. Personal computers and database system-like software products such as
        Excel, Visual FoxPro, Access (Microsoft), and SQL Anywhere (Sybase), and
        public domain products such as MySQL and PostgreSQL, are being heavily
        utilized by users who previously belonged to the category of casual and occa-
        sional database users. Many administrators, secretaries, engineers, scientists,
        architects, and students belong to this category. As a result, the practice of
        creating personal databases is gaining popularity. It is sometimes possible to
        check out a copy of part of a large database from a mainframe computer or a
        database server, work on it from a personal workstation, and then restore it
        on the mainframe. Similarly, users can design and create their own databases
        and then merge them into a larger one.
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                                                                                                      17.1 Introduction   585



At the primary storage level, the memory hierarchy includes at the most expensive
end, cache memory, which is a static RAM (Random Access Memory). Cache mem-
ory is typically used by the CPU to speed up execution of program instructions
using techniques such as prefetching and pipelining. The next level of primary stor-
age is DRAM (Dynamic RAM), which provides the main work area for the CPU for
keeping program instructions and data. It is popularly called main memory. The
advantage of DRAM is its low cost, which continues to decrease; the drawback is its
volatility1 and lower speed compared with static RAM. At the secondary and tertiary
storage level, the hierarchy includes magnetic disks, as well as mass storage in the
form of CD-ROM (Compact Disk-Read-Only Memory) and DVD (Digital Video
Disk or Digital Versatile Disk) devices, and finally tapes at the least expensive end of
the hierarchy. The storage capacity is measured in kilobytes (Kbyte or 1000 bytes),
megabytes (MB or 1 million bytes), gigabytes (GB or 1 billion bytes), and even ter-
abytes ( 1000 GB). The word petabyte ( 1000 terabytes or 10** 15 bytes) is now
becoming relevant in the context of very large repositories of data in physics,
astronomy, earth sciences, and other scientific applications.
Programs reside and execute in DRAM. Generally, large permanent databases reside
on secondary storage, (magnetic disks), and portions of the database are read into
and written from buffers in main memory as needed. Nowadays, personal comput-
ers and workstations have large main memories of hundreds of megabytes of RAM
and DRAM, so it is becoming possible to load a large part of the database into main
memory. Eight to 16 GB of main memory on a single server is becoming common-
place. In some cases, entire databases can be kept in main memory (with a backup
copy on magnetic disk), leading to main memory databases; these are particularly
useful in real-time applications that require extremely fast response times. An
example is telephone switching applications, which store databases that contain
routing and line information in main memory.
Between DRAM and magnetic disk storage, another form of memory, flash mem-
ory, is becoming common, particularly because it is nonvolatile. Flash memories are
high-density, high-performance memories using EEPROM (Electrically Erasable
Programmable Read-Only Memory) technology. The advantage of flash memory is
the fast access speed; the disadvantage is that an entire block must be erased and
written over simultaneously. Flash memory cards are appearing as the data storage
medium in appliances with capacities ranging from a few megabytes to a few giga-
bytes. These are appearing in cameras, MP3 players, cell phones, PDAs, and so on.
USB (Universal Serial Bus) flash drives have become the most portable medium for
carrying data between personal computers; they have a flash memory storage device
integrated with a USB interface.
CD-ROM (Compact Disk- Read Only Memory) disks store data optically and are
read by a laser. CD-ROMs contain prerecorded data that cannot be overwritten.
WORM (Write-Once-Read-Many) disks are a form of optical storage used for


1Volatile memory typically loses its contents in case of a power outage, whereas nonvolatile memory
does not.
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586   Chapter 17 Disk Storage, Basic File Structures, and Hashing



                   archiving data; they allow data to be written once and read any number of times
                   without the possibility of erasing. They hold about half a gigabyte of data per disk
                   and last much longer than magnetic disks. 2 Optical jukebox memories use an array
                   of CD-ROM platters, which are loaded onto drives on demand. Although optical
                   jukeboxes have capacities in the hundreds of gigabytes, their retrieval times are in
                   the hundreds of milliseconds, quite a bit slower than magnetic disks. This type of
                   storage is continuing to decline because of the rapid decrease in cost and increase in
                   capacities of magnetic disks. The DVD is another standard for optical disks allowing
                   4.5 to 15 GB of storage per disk. Most personal computer disk drives now read CD-
                   ROM and DVD disks. Typically, drives are CD-R (Compact Disk Recordable) that
                   can create CD-ROMs and audio CDs (Compact Disks), as well as record on DVDs.
                   Finally, magnetic tapes are used for archiving and backup storage of data. Tape
                   jukeboxes-which contain a bank of tapes that are catalogued and can be automat-
                   ically loaded onto tape drives-are becoming popular as tertiary storage to hold
                   terabytes of data. For example, NASA's EOS (Earth Observation Satellite) system
                   stores archived databases in this fashion.
                   Many large organizations are already finding it normal to have terabyte-sized data-
                   bases. The term very large database can no longer be precisely defined because disk
                   storage capacities are on the rise and costs are declining. Very soon the term may be
                   reserved for databases containing tens of terabytes.


                   17.1.2 Storage of Databases
                   Databases typically store large amounts of data that must persist over long periods
                   of time, and hence is often referred to as persistent data. Parts of this data are
                   accessed and processed repeatedly during this period. This contrasts with the notion
                   of transient data that persist for only a limited time during program execution.
                   Most databases are stored permanently (or persistently) on magnetic disk secondary
                   storage, for the following reasons:
                        ■ Generally, databases are too large to fit entirely in main memory.
                        ■ The circumstances that cause permanent loss of stored data arise less fre-
                          quently for disk secondary storage than for primary storage. Hence, we refer
                          to disk-and other secondary storage devices-as nonvolatile storage,
                          whereas main memory is often called volatile storage.
                        ■ The cost of storage per unit of data is an order of magnitude less for disk sec-
                          ondary storage than for primary storage.
                   Some of the newer technologies-such as optical disks, DVDs, and tape juke-
                   boxes-are likely to provide viable alternatives to the use of magnetic disks. In the
                   future, databases may therefore reside at different levels of the memory hierarchy
                   from those described in Section 17 .1.1. However, it is anticipated that magnetic


                   2Their rotational speeds are lower (around 400 rpm), giving higher latency delays and low transfer rates
                   (around 100 to 200 KB/second).
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                                                                     17.2 Secondary Storage Devices   587


disks will continue to be the primary medium of choice for large databases for years
to come. Hence, it is important to study and understand the properties and charac-
teristics of magnetic disks and the way data files can be organized on disk in order to
design effective databases with acceptable performance.
Magnetic tapes are frequently used as a storage medium for backing up databases
because storage on tape costs even less than storage on disk. However, access to data
on tape is quite slow. Data stored on tapes is offline; that is, some intervention by an
operator-or an automatic loading device-to load a tape is needed before the data
becomes available. In contrast, disks are online devices that can be accessed directly
at anytime.
The techniques used to store large amounts of structured data on disk are impor-
tant for database designers, the DBA, and implementers of a DBMS. Database
designers and the DBA must know the advantages and disadvantages of each stor-
age technique when they design, implement, and operate a database on a specific
DBMS. Usually, the DBMS has several options available for organizing the data. The
process of physical database design involves choosing the particular data organiza-
tion techniques that best suit the given application requirements from among the
options. DBMS system implementers must study data organization techniques so
that they can implement them efficiently and thus provide the DBA and users of the
DBMS with sufficient options.
Typical database applications need only a small portion of the database at a time for
processing. Whenever a certain portion of the data is needed, it must be located on
disk, copied to main memory for processing, and then rewritten to the disk if the
data is changed. The data stored on disk is organized as files of records. Each record
is a collection of data values that can be interpreted as facts about entities, their
attributes, and their relationships. Records should be stored on disk in a manner
that makes it possible to locate them efficiently when they are needed.
There are several primary file organizations, which determine how the file records
are physically placed on the disk, and hence how the records can be accessed. A heap file
(or unordered file) places the records on disk in no particular order by appending
new records at the end of the file, whereas a sorted file (or sequential file) keeps the
records ordered by the value of a particular field (called the sort key). A hashed file
uses a hash function applied to a particular field (called the hash key) to determine
a record's placement on disk. Other primary file organizations, such as B-trees, use
tree structures. We discuss primary file organizations in Sections 17.6 through 17.9.
A secondary organization or auxiliary access structure allows efficient access to
file records based on alternate fields than those that have been used for the primary
file organization. Most of these exist as indexes and will be discussed in Chapter 18.


17.2 Secondary Storage Devices
In this section we describe some characteristics of magnetic disk and magnetic tape
storage devices. Readers who have already studied these devices may simply browse
through this section.
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d ata b a s e
                                                 Both Thomas Connolly and Carolyn Begg have
                                                 experience of database design in industry, and now                                                                           •
                                                                                                                                                          Thomas Connolly Carolyn Begg

systems                                          apply this in their teaching and research at the


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•   Database design methodology is explicitly divided into three phases: conceptual, logical, and
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     THOMAS M. CONNOLLY                      • CAROLYN E. BEGG
                            UNIVERSITY OF PAISLEY




       Databa se
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     Sometimes it may be only the most recent or current value in a repeating group, or just the
     fact that there is a repeating group, that is needed most frequently. In the above example
     we may choose to store one telephone number in the Branch relation and leave the remain-
     ing numbers for the Telephone relation. This would remove the presence of nulls from the
     Branch relation, as each branch must have at least one telephone number.


     Step 7.6 Creating extract tables
     There may be situations where reports have to be run at peak times during the day. These
     reports access derived data and perform multi-relation joins on the same set of base rela-
     tions. However, the data the report is based on may be relatively static or, in some cases,
     may not have to be current (that is, if the data is a few hours old, the report would be
     perfectly acceptable). In this case, it may be possible to create a single, highly denormal-
     ized extract table based on the relations required by the reports, and allow the users to
     access the extract table directly instead of the base relations. The most common technique
     for producing extract tables is to create and populate the tables in an overnight batch run
     when the system is lightly loaded.

     Step 7.7 Partitioning relations
     Rather than combining relations together an alternative approach that addresses the key
     problem with supporting very large relations (and indexes) is to decompose them into a num-
     ber of smaller and more manageable pieces called partitions. As illustrated in Figure 18.9,
     there are two main types of partitioning: horizontal partitioning and vertical partitioning.

      Horizontal        Distributing the tuples of a relation across a number of (smaller)
      partitioning      relations.



      Vertical          Distributing the attributes of a relation across a number of (smaller)
      partitioning      relations (the primary key is duplicated to allow the original relation to
                        be reconstructed).


                                                                                                     Figure 18.9
                                                                                                     Horizontal and
                                                                                                     vertical partitioning.
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 530     | Chapter 18 z MethodologyDocument     389-2 Filed 11/19/24 Page 30 of 303 PageID #:
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 Figure 18.10
                           CREATE TABLE ArchivedPropertyForRentPartition(
 Oracle SQL
                              propertyNo VARHAR2(5) NOT NULL,
 statement to create
 a hash partition.            street VARCHAR2(25) NOT NULL,
                              city VARCHAR2(15) NOT NULL,
                              postcode VARCHAR2(8),
                              type CHAR NOT NULL,
                              rooms SMALLINT NOT NULL,
                              rent NUMBER(6, 2) NOT NULL,
                              ownerNo VARCHAR2(5) NOT NULL,
                              staffNo VARCHAR2(5),
                              branchNo CHAR(4) NOT NULL,
                              PRIMARY KEY (propertyNo),
                              FOREIGN KEY (ownerNo) REFERENCES PrivateOwner(ownerNo),
                              FOREIGN KEY (staffNo) REFERENCES Staff(staffNo),
                              FOREIGN KEY (branchNo) REFERENCES Branch(branchNo))
                           PARTITION BY HASH (branchNo)
                           (PARTITION b1 TABLESPACE TB01,
                           PARTITION b2 TABLESPACE TB02,
                           PARTITION b3 TABLESPACE TB03,
                           PARTITION b4 TABLESPACE TB04);




                          Partitions are particularly useful in applications that store and analyze large amounts of
                       data. For example, DreamHome maintains an ArchivedPropertyForRent relation with several
                       hundreds of thousands of tuples that are held indefinitely for analysis purposes. Searching
                       for a particular tuple at a branch could be quite time consuming; however, we could reduce
                       this time by horizontally partitioning the relation, with one partition for each branch. We
                       can create a (hash) partition for this scenario in Oracle using the SQL statement shown in
                       Figure 18.10.
                          As well as hash partitioning, other common types of partitioning are range (each parti-
                       tion is defined by a range of values for one or more attributes) and list (each partition is
                       defined by a list of values for an attribute). There are also composite partitions such as
                       range–hash and list–hash (each partition is defined by a range or a list of values and then
                       each partition is further subdivided based on a hash function).
                          There may also be circumstances where we frequently examine particular attributes of
                       a very large relation and it may be appropriate to vertically partition the relation into
                       those attributes that are frequently accessed together and another vertical partition for the
                       remaining attributes (with the primary key replicated in each partition to allow the
                       original relation to be reconstructed using a join).
                          Partitioning has a number of advantages:
                       n Improved load balancing Partitions can be allocated to different areas of secondary
                         storage thereby permitting parallel access while at the same time minimizing the con-
                         tention for access to the same storage area if the relation was not partitioned.
                       n Improved performance By limiting the amount of data to be examined or processed,
                         and by enabling parallel execution, performance can be enhanced.
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                                             18.1 Denormalizing
                                                     18781 and Introducing Controlled Redundancy 531                   |
     n Increased availability If partitions are allocated to different storage areas and one
       storage area becomes unavailable, the other partitions would still be available.
     n Improved recovery Smaller partitions can be recovered more efficiently (equally
       well, the DBA may find backing up smaller partitions easier than backing up very large
       relations).
     n Security Data in a partition can be restricted to those users who require access to it,
       with different partitions having different access restrictions.
     Partitioning can also have a number of disadvantages:
     n Complexity Partitioning is not usually transparent to end-users and queries that utilize
       more than one partition become more complex to write.
     n Reduced performance Queries that combine data from more than one partition may be
       slower than a non-partitioned approach.
     n Duplication Vertical partitioning involves duplication of the primary key. This leads
       not only to increased storage requirements but also to potential inconsistencies arising.

     Consider implications of denormalization
     Consider the implications of denormalization on the previous steps in the methodology.
     For example, it may be necessary to reconsider the choice of indexes on the relations that
     have been denormalized to establish whether existing indexes should be removed or addi-
     tional indexes added. In addition it will be necessary to consider how data integrity will be
     maintained. Common solutions are:
     n Triggers Triggers can be used to automate the updating of derived or duplicated data.
     n Transactions Build transactions into each application that make the updates to denor-
       malized data as a single (atomic) action.
     n Batch reconciliation Run batch programs at appropriate times to make the denor-
       malized data consistent.
     In terms of maintaining integrity, triggers provide the best solution, although they can
     cause performance problems. The advantages and disadvantages of denormalization are
     summarized in Table 18.1.

     Table 18.1     Advantages and disadvantages of denormalization

         Advantages                                                      Disadvantages

         Can improve performance by:                                     May speed up retrievals but can slow down updates.
         n precomputing derived data;                                    Always application-specific and needs to be
         n minimizing the need for joins;                                re-evaluated if the application changes.
         n reducing the number of foreign keys in relations;             Can increase the size of relations.
         n reducing the number indexes (thereby saving storage space);   May simplify implementation in some cases but
         n reducing the number of relations.                             may make it more complex in others.
                                                                         Sacrifices flexibility.
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                                               18782            20.2 Concurrency Control 593           |
         Another problem with two-phase locking, which applies to all locking-based schemes,
     is that it can cause deadlock, since transactions can wait for locks on data items. If
     two transactions wait for locks on items held by the other, deadlock will occur and the
     deadlock detection and recovery scheme described in the Section 20.2.4 is needed. It is
     also possible for transactions to be in livelock, that is left in a wait state indefinitely,
     unable to acquire any new locks, although the DBMS is not in deadlock. This can happen
     if the waiting algorithm for transactions is unfair and does not take account of the time that
     transactions have been waiting. To avoid livelock, a priority system can be used, whereby
     the longer a transaction has to wait, the higher its priority, for example, a first-come-first-
     served queue can be used for waiting transactions.

     Concurrency control with index structures
     Concurrency control for an index structure (see Appendix C) can be managed by treating
     each page of the index as a data item and applying the two-phase locking protocol
     described above. However, since indexes are likely to be frequently accessed, particularly
     the higher levels of trees (as searching occurs from the root downwards), this simple con-
     currency control strategy may lead to high lock contention. Therefore, a more efficient
     locking protocol is required for indexes. If we examine how tree-based indexes are tra-
     versed, we can make the following two observations:
     n The search path starts from the root and moves down to the leaf nodes of the tree but
       the search never moves back up the tree. Thus, once a lower-level node has been
       accessed, the higher-level nodes in that path will not be used again.
     n When a new index value (a key and a pointer) is being inserted into a leaf node, then
       if the node is not full, the insertion will not cause changes to the higher-level nodes.
       This suggests that we only have to exclusively lock the leaf node in such a case, and
       only exclusively lock higher-level nodes if a node is full and has to be split.
     Based on these observations, we can derive the following locking strategy:
     n For searches, obtain shared locks on nodes starting at the root and proceeding down-
       wards along the required path. Release the lock on a (parent) node once a lock has been
       obtained on the child node.
     n For insertions, a conservative approach would be to obtain exclusive locks on all nodes
       as we descend the tree to the leaf node to be modified. This ensures that a split in the
       leaf node can propagate all the way up the tree to the root. However, if a child node is
       not full, the lock on the parent node can be released. A more optimistic approach would
       be to obtain shared locks on all nodes as we descend to the leaf node to be modified,
       where we obtain an exclusive lock on the leaf node itself. If the leaf node has to split,
       we upgrade the shared lock on the parent node to an exclusive lock. If this node also has
       to split, we continue to upgrade the locks at the next higher level. In the majority of
       cases, a split is not required making this a better approach.
     The technique of locking a child node and releasing the lock on the parent node if pos-
     sible is known as lock-coupling or crabbing. For further details on the performance of
     concurrency control algorithms for trees, the interested reader is referred to Srinivasan and
     Carey (1991).
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 Co mm erc e
                                   Data Warehousing
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                                                                             Splitting Tables: Horizontal splitting


                                   Breaks a table into multiple tables based upon common column values. Example: Campus
                                   spec ific queries.


                                   GOAL


                                         §     Spreading rows for exploiting parallelism.


                                         §     Grouping data to avoid unnecessary query load in WHERE clause.



                                   Splitting Tables
                                    Horizontal splitting breaks a relation into multiple record set specifications by placing different
                                   rows into different tables based upon common column values. For the multi-campus example
                                   being considered; students from Islamabad campus in the Islamabad table, Peshawar students in
                                   corresponding table etc. Each file or table created from the splitting has the same record lay out or
                                   header.


                                   Goals of Horizontal splitting:
                                   There are typically two specific goals for horizontal partitioning: (1) spread rows in a large table
                                   across many HW components (disks, controllers, CPUs, etc.) in the environment to facilitate
                                   parallel processing, and (2) segregate data into separate partitions so that queries do not need to
                                   examine all data in a table when WHERE clause filters specify only a subset of the partitions. Of
                                   course, what we would like in an ideal deployment is to get both of these benefits from table
                                   partitioning.


                                   Advantages of Splitting tables:
                                   Horizontal splitting makes sense when different categories of rows of a table are processed
                                   separately: e.g. for the student table if a high percentage of queries are focused towards a certain
                                   campus at a time then the table is split accordingly. Horizontal splitting can also be more secure
                                   since file level of security can be used to prohibit users from seeing certain rows of data. Also
                                   each split table can be organized differently, appropriate for how it is individually used. In terms
                                   of page access, horizontally portioned files are likely to be retrieved faster as compared to un -split
                                   files, because the latter will involve more blocks to be accessed.


                                                                             Splitting Tables: Horizontal splitting


                                   ADVANTAGE


                                         §     Enhance security of data.


                                         §     Organizing tables differently for different queries.

                                         §     Reduced I/O overhead.


                                         §     Graceful degradation of database in case of table damage.


                                         §      Fewer rows result in flatter B-trees and fast data retrieval.




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    Other than performance, there are some other very useful results of horizontal splitting the tables.
    As we discussed in the OLAP lecture, security is one of the key features required from an OLAP
    system. Actually DSS is a multi-user environment, and robust security needs to ensure. By
    splitting the tables and restricting the users to a particular split actually improves the security of
    the system. Consider time -based queries, if the queries have to cover last years worth of data,
    then splitting the tables on the basis of year will defiantly improve the performance as the amount
    of data to be accessed is reduced. Similarly, if for a multi-campus university, most of the queries
    are campus specific, then splitting the tables based on the campus wou ld result in improved
    performance. In both of the cases of splitting discussed i.e. time and space, as the number of
    records to be retrieved is reduced, resulting in more records per block that translates into fewer
    page faults and high performance. If the table is not partitioned, and for some reason the table is
    damaged, then in the worst case all data might be lost. However, when the table gets partitioned,
    and even if a partition is damaged, ALL of the data is not lost. Assuming a worst case scenario
    that tables crash i.e. all of them, the system will not go down suddenly, but would go down
    gradually i.e. gracefully.


                                                    Splitting Tables: Vertical Splitting


          §     Splitting and distributing into separate files with repeating primary key.


          §      Infrequently accessed columns become extra "baggage" thus degrading performance.


          §      Very useful for rarely accessed large text columns with large headers.


          §      Header size is reduced, allowing more rows per block, thus reducing I/O.


          §     For an end user, the split appears as a single table through a view.



    Splitting Tables: Vertical Splitting
    Vertical splitting involves splitting a table by columns so that a group of columns is placed into
    the new table and the remaining columns are placed in another new table. Thus columns are
    distributed into separate files, such that the primary key is repeated in each of the files. An
    example of vertical splitting would be breaking apart the student registration table by creating a
    personal_info table by placing SID along with corresponding data into one record specification,
    the SID along with demographic-related student data into another record specification, and so on.


    Vertical splitting can be used when some columns are rarely accessed rather than other columns
    or when the table has wide rows or header or both. Thus the infrequently accessed columns
    become extra "baggage" degrading performance. The net result of splitting a table is that it may
    reduce the number of pages/blocks that need to be read because of the shorter header length
    allowing more rows to be packed in a block, thus reducing I/O. A vertically split table should
    contain one row per primary key in the split tables as this facilitates data retrieval across tables
    and also helps in dissolving the split i.e. making it reversible. In reality, the users are unaware of
    the split, as view of a joined table is presented to the users.




                                                                                                                  47




    2. Pre-Joining


                                                                  Pre-Joining




                                                    Figure-8.2: Pre-joining Tables


    The objective behind pre-joining is to identify frequent joins and append the corresponding tables
    together in the physical data model. This technique is generally used when there is a one-to-
    many relationship between two (or more) tables, such as the master-detail case when there are
    header and detail tables in the logical data model. Typically, referential integrity is assumed from
    the foreign key in one table (detail) to the primary key in the other table (header).


    Additional space will be required, because information on the master table is stored once for each
    detail record i.e. multiple times instead of just once as would be the case in a normalized design.
                                                                  Pre-Joining


                      §     Typical of Market basket query


                      §     Join ALWAYS required


                      §     Tables could be millions of rows


                      §     Squeeze Master into Detail


                      §     Repetition of facts. How much?


                      §     Detail 3-4 times of master




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    Figure -8.2 shows a typical case of market basket querying, with a master table and a detail table.
    The sale_ID column is the primary key for the master table and uniquely identifies a market
    basket. There will be on e "detail" record for each item listed on the "receipt" for the market
    basket. The tx_ID column is the primary key for the detail table.


    Observe that in a normalized design the store and sale date for the market basket is on one table
    (master) and the item (along with quantity, sales Rs, etc.) are on a separate table (detail). Almost
    all analysis will require product, sales date, and (sometimes) sale person (in the context of HR).
    Moreover, both tables can easily be millions of rows for a large retail outlet with significant
    historical data. This means that a join will be forced between two very large tables for almost
    every query asked of the data warehouse. This could easily choke the system and degrade
    performance.



    Note that this same header/detail structure in the data applies across many industries as we have
    discussed in the very early lectures, such as healthcare, transportation, logistics, billing etc.



    To avoid the run-time join, we use the pre-join technique and "squeeze" the sales master
    information into the detail table. The obvious drawback is repetition of facts from the master
    table into the detail table. This avoids the join operation at run -time, but stores the header
    information redundantly as part of the sales detail. This redund ant storage is a violation of
    normalization, but will be acceptable if the cost of storage is less then the performance achieved
    by virtue of eliminating the join.



    4. Adding Redundant Columns
    This technique can be used when a column from one table is frequently accessed in a large scale
    join in conjunction with a column from another table. To avoid this join, the column is added
    (redundant) or moved into the detail table(s) to avoid the join. For example, if frequent joins are
    performed using Table_1 and Table_2 using columns ColA, ColB and ColC, then it is suitable to
    add ColC to Table_1.




                                                                                                                49




                                                     Adding Redundant Columns




                                             Figure-8.3: Adding redundant columns


    Note that the columns can also be moved, instead of making them redundant. If closely observed,
    this technique is no different from a pre -joining. In pre-joining all columns are moved from the
    master table into the detail table, but in the current case, a sub-set of columns from the master
    table is made redundant or moved into the detail table. The performance, and storage trade-offs
    are also very similar to pre -joining.


                                                     Adding Redundant Columns


    Columns can also be moved, instead of making them redundant. Very similar to pre -joining as
    discussed earlier.


    EXAMPLE
    Frequent referencing of code in one table and corresponding description in another table.


          §     A join required is required.


          §     To eliminate the join, a redundant attribute added in the target entity which is
               functionally independent of the primary key.



    A typical scenario for column redundancy/movement is frequent referencing of code in one table
    and the corresponding description in another table. The description of a code is retrieved via a
    join. In such a case, redundancy will naturally pay off. This is implemented by duplicating the
    descriptive attribute in the entity, which would otherwise contain only the code. The result is a
    redundant attribute in the target entity which is functionally independent of the primary key. Note
    that this foreign key relationship was created in the first place to normalize the corresponding
    description reduce update anomalies.
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                                                    Redundant Columns: Surprise


    Note that:
          § Actually increases in storage space, and increase in update overhead.



          §      Keeping the actual table intactand unchanged helps enforce RI constraint.


          §      Age old debate of RI ON or OFF.



    Redundant Columns Surprise
    Creating redundant columns does not necessarily reduce the storage space requirements, as
    neither the reference table is removed, nor the columns duplicated from the reference table.


    The reason being to ensure data input RI constraint, although this reasoning falls right in the
    middle of the age old debate that Referential Integrity (RI) constraint should be turned ON or
    OFF in a DWH environment. However, it is obvious that column redundancy does eliminate the
    join and increase the performance.



                                                                Derived Attributes


          §      Objectives
                      § Ease of use for decision support applications
                      § Fast response to predefined user queries
                      § Customized data for particular target audiences
                      § Ad-hoc query support

          §      Feasible when...
                      § Calculated once, used most
                      § Remains fairly "constant"
                      § Looking for absoluteness of correctness.


                      §       Pitfall of additional space and query degradation.


    5. Derived Attributes
    It is usually feasible to add derived attribute(s) in the data warehouse data model, if the derived
    data is frequently accessed and calculated once and is fairly stable. The justification of adding
    derived data is simple; it reduces the amount of query processing time at run -time while accessi g         n
    the data in the warehouse. Furthermore, once the data is properly calculated, there is little or no
    apprehension about the authenticity of the calculation. Put in other words, once the derived data is
    properly calculated it kind of becomes absolute i.e. there is hardly any chance that someone might
    use a wrong formula to calculate it incorrectly. This actually enhances the credibility of the data
    in the data warehouse.




                                                                                                                51




                                                             Derived Attributes




                                  Figure-8.4: Business Data Model vs. DWH Data Model


    GP (Grade Point) column in the data warehouse data model is included as a derived value. The
    formula for calculating this field is Grade*Credits.


    Age is also a derived attribute, calculated as Current_Date DoB (calculated periodically).


    In most cases, it will only make sense to use derived data if the ratio of detail rows to derived
    rows is at least 10:1. In such cases, the 10% storage cost for keeping the derived data is less than
    the temporary and sort space storage costs for many concurrent queries aggregating at runtime.
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   Programming Language Pragmatics
                                                                        SECOND EDITION




  Michael L. Scott
  Department of Computer Science
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                                 In many languages a constant is required to have a value that can be deter-
                              mined at compile time. Usually the expression that specifies the constant’s value
                              is permitted to include only literal (manifest) constants and built-in functions
                              and arithmetic operators. These sorts of compile-time constants can always be
                              allocated statically, even if they are local to a recursive subroutine: multiple in-
                              stances can share the same location. In other languages (e.g., C and Ada), con-
                              stants are simply variables that cannot be changed after elaboration time. Their
                              values, though unchanging, can depend on other values that are not known until
                              run time. These elaboration-time constants, when local to a recursive subroutine,
                              must be allocated on the stack. C# provides both options, explicitly, with the
                              const and readonly keywords.
                                 Along with local variables and elaboration-time constants, the compiler typi-
                              cally stores a variety of other information associated with the subroutine, includ-
                              ing the following.

                              Arguments and return values. Modern compilers tend to keep these in registers
                                when possible, but sometimes space in memory is needed.
                              Temporaries. These are usually intermediate values produced in complex calcu-
                                lations. Again, a good compiler will keep them in registers whenever possible.
                              Bookkeeping information. This may include the subroutine’s return address, a
                                reference to the stack frame of the caller (also called the dynamic link), addi-
                                tional saved registers, debugging information, and various other values that
                                we will study later.


                              3.2.2 Stack-Based Allocation
                              If a language permits recursion, static allocation of local variables is no longer an
                              option, since the number of instances of a variable that may need to exist at the
                              same time is conceptually unbounded. Fortunately, the natural nesting of sub-
     EXAMPLE   3.2            routine calls makes it easy to allocate space for locals on a stack. A simplified
     Layout of the run-time   picture of a typical stack appears in Figure 3.2. Each instance of a subroutine at
     stack                    run time has its own frame (also called an activation record) on the stack, contain-
                              ing arguments and return values, local variables, temporaries, and bookkeeping

                               D E S I G N & I M P L E M E N TAT I O N

                               Recursion in Fortran
                               The lack of recursion in (pre-Fortran 90) Fortran is generally attributed to the
                               expense of stack manipulation on the IBM 704, on which the language was
                               first implemented. Many (perhaps most) Fortran implementations choose to
                               use a stack for local variables, but because the language definition permits the
                               use of static allocation instead, Fortran programmers were denied the benefits
                               of language-supported recursion for over 30 years.
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                       Figure 3.2 Stack-based allocation of space for subroutines. We assume here that subroutine A
                       has been called by the main program and that it then calls subroutine B . Subroutine B subse-
                       quently calls C , which in turn calls D . At any given time, the stack pointer ( sp ) register points
                       to the first unused location on the stack (or the last used location on some machines), and the
                       frame pointer ( fp ) register points to a known location within the frame (activation record) of
                       the current subroutine. The relative order of fields within a frame may vary from machine to
                       machine and compiler to compiler.


                       information. Arguments to be passed to subsequent routines lie at the top of the
                       frame, where the callee can easily find them. The organization of the remain-
                       ing information is implementation-dependent: it varies from one language and
                       compiler to another.                                                             
                           Maintenance of the stack is the responsibility of the subroutine calling se-
                       quence—the code executed by the caller immediately before and after the call—
                       and of the prologue (code executed at the beginning) and epilogue (code executed
                       at the end) of the subroutine itself. Sometimes the term “calling sequence” is used
                       to refer to the combined operations of the caller, the prologue, and the epilogue.
                       We will study calling sequences in more detail in Section 8.2.
                           While the location of a stack frame cannot be predicted at compile time (the
                       compiler cannot in general tell what other frames may already be on the stack),
                       the offsets of objects within a frame usually can be statically determined. More-
                       over, the compiler can arrange (in the calling sequence or prologue) for a par-
                       ticular register, known as the frame pointer, to always point to a known location
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                                 within the frame of the current subroutine. Code that needs to access a local vari-
                                 able within the current frame, or an argument near the top of the calling frame,
                                 can do so by adding a predetermined offset to the value in the frame pointer. As
                                 we shall see in Section 5.3.1, almost every processor provides an addressing mode
                                 that allows this addition to be specified implicitly as part of an ordinary load
                                 or store instruction. The stack grows “downward” toward lower addresses in
                                 most language implementations. Some machines provide special push and pop
                                 instructions that assume this direction of growth. Arguments and returns typ-
                                 ically have positive offsets from the frame pointer; local variables, temporaries,
                                 and bookkeeping information typically have negative offsets.
                                    Even in a language without recursion, it can be advantageous to use a stack for
                                 local variables, rather than allocating them statically. In most programs the pat-
                                 tern of potential calls among subroutines does not permit all of those subroutines
                                 to be active at the same time. As a result, the total space needed for local variables
                                 of currently active subroutines is seldom as large as the total space across all sub-
                                 routines, active or not. A stack may therefore require substantially less memory
                                 at run time than would be required for static allocation.


                                 3.2.3 Heap-Based Allocation
                                 A heap is a region of storage in which subblocks can be allocated and deallocated
                                 at arbitrary times.2 Heaps are required for the dynamically allocated pieces of
                                 linked data structures and for dynamically resized objects, such as fully general
                                 character strings, lists, and sets, whose size may change as a result of an assign-
                                 ment statement or other update operation.
                                     There are many possible strategies to manage space in a heap. We review the
                                 major alternatives here; details can be found in any data-structures textbook. The
                                 principal concerns are speed and space, and as usual there are tradeoffs between
                                 them. Space concerns can be further subdivided into issues of internal and exter-
                                 nal fragmentation. Internal fragmentation occurs when a storage-management
                                 algorithm allocates a block that is larger than required to hold a given object; the
     EXAMPLE   3.3               extra space is then unused. External fragmentation occurs when the blocks that
     External fragmentation in   have been assigned to active objects are scattered through the heap in such a way
     the heap                    that the remaining, unused space is composed of multiple blocks: there may be
                                 quite a lot of free space, but no one piece of it may be large enough to satisfy some
                                 future request (see Figure 3.3).                                                     
                                     Many storage-management algorithms maintain a single linked list—the free
                                 list—of heap blocks not currently in use. Initially the list consists of a single block
                                 comprising the entire heap. At each allocation request the algorithm searches
                                 the list for a block of appropriate size. With a first fit algorithm we select the


                                 2 Unfortunately, the term heap is also used for a common tree-based implementation of a priority
                                   queue. These two uses of the term have nothing to do with one another.
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                               a similar purpose. We also consider subroutine inlining and the representation
                               of closures. To illustrate some of the possible implementation alternatives, we
                               present (again on the PLP CD) a pair of case studies: the SGI MIPSpro C com-
                               piler for the MIPS instruction set, and the GNU gpc Pascal compiler for the x86
                               instruction set, as well as the register window mechanism of the Sparc instruction
                               set.
                                   In Section 8.3 we look more closely at subroutine parameters. We consider
                               parameter-passing modes, which determine the operations that a subroutine can
                               apply to its formal parameters and the effects of those operations on the cor-
                               responding actual parameters. We also consider conformant arrays, named and
                               default parameters, variable numbers of arguments, and function return mecha-
                               nisms. In Section 8.4 we turn to generic subroutines and modules (classes), which
                               support explicit parametric polymorphism, as defined in Section 3.6.3. Where
                               conventional parameters allow a subroutine to operate on many different values,
                               generic parameters allow it to operate on data of many different types.
                                   In Section 8.5, we consider the handling of exceptional conditions. While ex-
                               ceptions can sometimes be confined to the current subroutine, in the general case
                               they require a mechanism to “pop out of ” a nested context without returning, so
                               that recovery can occur in the calling context. Finally, in Section 8.6, we consider
                               coroutines, which allow a program to maintain two or more execution contexts,
                               and to switch back and forth among them. Coroutines can be used to implement
                               iterators (Section 6.5.3), but they have other uses as well, particularly in simu-
                               lation and in server programs. In Chapter 12 we will use them as the basis for
                               concurrent (“quasiparallel”) threads.



                               8.1 Review of Stack Layout
  EXAMPLE   8.1                In Section 3.2.2 we discussed the allocation of space on a subroutine call stack
  Layout of run-time stack     (Figure 3.2, page 110). Each routine, as it is called, is given a new stack frame,
  (reprise)                    or activation record, at the top of the stack. This frame may contain arguments
                               and/or return values, bookkeeping information (including the return address
                               and saved registers), local variables, and/or temporaries. When a subroutine re-
                               turns, its frame is popped from the stack.                                         
                                  At any given time, the stack pointer register contains the address of either the
                               last used location at the top of the stack or the first unused location, depending
                               on convention. The frame pointer register contains an address within the frame.
                               Objects in the frame are accessed via displacement addressing with respect to the
  EXAMPLE   8.2                frame pointer. If the size of an object (e.g., a local array) is not known at compile
  Offsets from frame pointer   time, then the object is placed in a variable-size area at the top of the frame; its
                               address and dope vector are stored in the fixed-size portion of the frame, at a
                               statically known offset from the frame pointer (Figure 7.7, page 354). If there
                               are no variable-size objects, then every object within the frame has a statically
                               known offset from the stack pointer, and the implementation may dispense with
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                                                                                        8.1 Review of Stack Layout                  409




                                     Figure 8.1 Example of subroutine nesting, taken from Figure 3.5. Within B , C , and D , all five
                                     routines are visible. Within A and E , routines A , B , and E are visible, but C and D are not.
                                     Given the calling sequence A , E , B , D , C , in that order, frames will be allocated on the stack as
                                     shown at right, with the indicated static and dynamic links.


                                     the frame pointer, freeing up a register for other use. If the size of an argument is
                                     not known at compile time, then the argument may be placed in a variable-size
                                     portion of the frame below the other arguments, with its address and dope vector
                                     at known offsets from the frame pointer. Alternatively, the caller may simply pass
                                     a temporary address and dope vector, counting on the called routine to copy the
                                     argument into the variable-size area at the top of the frame.                         
     EXAMPLE   8.3                      In a language with nested subroutines and static scoping (e.g., Pascal, Ada,
     Static and dynamic links        ML, Common Lisp, or Scheme), objects that lie in surrounding subroutines and
                                     are thus neither local nor global can be found by maintaining a static chain (Fig-
                                     ure 8.1). Each stack frame contains a reference to the frame of the lexically sur-
                                     rounding subroutine. This reference is called the static link. By analogy, the saved
                                     value of the frame pointer, which will be restored on subroutine return, is called
                                     the dynamic link. The static and dynamic links may or may not be the same, de-
                                     pending on whether the current routine was called by its lexically surrounding
                                     routine, or by some other routine nested in that surrounding routine.                 
                                        Whether or not a subroutine is called directly by the lexically surrounding
                                     routine, we can be sure that the surrounding routine is active; there is no other
                                     way that the current routine could have been visible, allowing it to be called.
     EXAMPLE   8.4                   Consider for example, the subroutine nesting shown in Figure 8.1. If subroutine
     Visibility of nested routines   D is called directly from B , then clearly B ’s frame will already be on the stack.
                                     How else could D be called? It is not visible in A or E , because it is nested inside of
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                       B . A moment’s thought makes clear that it is only when control enters B (placing
                       B ’s frame on the stack) that D comes into view. It can therefore be called by C ,
                       or by any other routine (not shown) that is nested inside of C or D , but only
                       because these are also within B .                                              



                       8.2 Calling Sequences
                       In Section 3.2.2 we also mentioned that maintenance of the subroutine call stack
                       is the responsibility of the calling sequence—the code executed by the caller im-
                       mediately before and after a subroutine call—and of the prologue (code executed
                       at the beginning) and epilogue (code executed at the end) of the subroutine itself.
                       Sometimes the term “calling sequence” is used to refer to the combined opera-
                       tions of the caller, the prologue, and the epilogue.
                           Tasks that must be accomplished on the way into a subroutine include passing
                       parameters, saving the return address, changing the program counter, changing
                       the stack pointer to allocate space, saving registers (including the frame pointer)
                       that contain important values and that may be overwritten by the callee, changing
                       the frame pointer to refer to the new frame, and executing initialization code for
                       any objects in the new frame that require it. Tasks that must be accomplished
                       on the way out include passing return parameters or function values, executing
                       finalization code for any local objects that require it, deallocating the stack frame
                       (restoring the stack pointer), restoring other saved registers (including the frame
                       pointer), and restoring the program counter. Some of these tasks (e.g., passing
                       parameters) must be performed by the caller, because they differ from call to
                       call. Most of the tasks, however, can be performed either by the caller or the
                       callee. In general, we will save space if the callee does as much work as possible:
                       tasks performed in the callee appear only once in the target program, but tasks
                       performed in the caller appear at every call site, and the typical subroutine is
                       called in more than one place.

                       Saving and Restoring Registers
                       Perhaps the trickiest division-of-labor issue pertains to saving registers. As we
                       noted in Section 5.5.2, the ideal approach is to save precisely those registers that
                       are both in use in the caller and needed for other purposes in the callee. Because
                       of separate compilation, however, it is difficult (though not impossible) to deter-
                       mine this intersecting set. A simpler solution is for the caller to save all registers
                       that are in use, or for the callee to save all registers that it will overwrite.
                          Calling sequence conventions for many processors, including the MIPS and
                       x86 described in the case studies of Section 8.2.2, strike something of a com-
                       promise: registers not reserved for special purposes are divided into two sets of
                       approximately equal size. One set is the caller’s responsibility, the other is the
                       callee’s responsibility. A callee can assume that there is nothing of value in any of
                       the registers in the caller-saves set; a caller can assume that no callee will destroy
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                                  the contents of any registers in the callee-saves set. In the interests of code size,
                                  the compiler uses the callee-saves registers for local variables and other long-lived
                                  values whenever possible. It uses the caller-saves set for transient values, which
                                  are less likely to be needed across calls. The result of these conventions is that
                                  the caller-saves registers are seldom saved by either party: the callee knows that
                                  they are the caller’s responsibility, and the caller knows that they don’t contain
                                  anything important.

                                  Maintaining the Static Chain
                                  In languages with nested subroutines, at least part of the work required to main-
                                  tain the static chain must be performed by the caller, rather than the callee, be-
                                  cause this work depends on the lexical nesting depth of the caller. The standard
                                  approach is for the caller to compute the callee’s static link and to pass it as an
                                  extra, hidden parameter. The following subcases arise.

                                  1. The callee is nested (directly) inside the caller. In this case, the callee’s static
                                     link should refer to the caller’s frame. The caller therefore passes its own frame
                                     pointer as the callee’s static link.
                                  2. The callee is k ≥ 0 scopes “outward”—closer to the outer level of lexical nest-
                                     ing. In this case, all scopes that surround the callee also surround the caller
                                     (otherwise the callee would not be visible). The caller dereferences its own
                                     static link k times and passes the result as the callee’s static link.

                                  A Typical Calling Sequence
     EXAMPLE   8.5                Figure 8.2 shows one plausible layout for a stack frame, consistent with Figure 3.2.
     A typical calling sequence   The stack pointer ( sp ) points to the first unused location on the stack (or the last
                                  used location, depending on the compiler and machine). The frame pointer ( fp )
                                  points to a location near the bottom of the frame. Space for all arguments is
                                  reserved in the stack, even if the compiler passes some of them in registers (the
                                  callee will need a place to save them if it calls a nested routine).
                                     To maintain this stack layout, the calling sequence might operate as follows.
                                  The caller

                                  1. saves any caller-saves registers whose values will be needed after the call.
                                  2. computes the values of arguments and moves them into the stack or registers.
                                  3. computes the static link (if this is a language with nested subroutines) and
                                     passes it as an extra, hidden argument.
                                  4. uses a special subroutine call instruction (sometimes called “branch and
                                     link”) to jump to the subroutine, simultaneously passing the return address
                                     on the stack or in a register.
                                  In its prologue, the callee

                                  1. allocates a frame by subtracting an appropriate constant from the sp .
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                       Figure 8.2 A typical stack frame. Though we draw it growing upward on the page, the stack
                       actually grows downward toward lower addresses on most machines. Arguments are accessed
                       at positive offsets from the fp . Local variables and temporaries are accessed at negative offsets
                       from the fp . Arguments to be passed to called routines are assembled at the top of the frame,
                       using positive offsets from the sp .


                       2. saves the old frame pointer into the stack, and assigns it an appropriate new
                          value.
                       3. saves any callee-saves registers that may be overwritten by the current routine
                          (including the static link and return address, if they were passed in registers).
                       After the subroutine has completed, the epilogue

                       1. moves the return value (if any) into a register or a reserved location in the
                          stack.
                       2. restores callee-saves registers if needed.
                       3. restores the fp and the sp .
                       4. jumps back to the return address.
                       Finally, the caller

                       1. moves the return value to wherever it is needed.
                       2. restores caller-saves registers if needed.                                                  
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Voice of the DBA




Saving Space – Vertical Partitioning
Posted on February 14, 2010 by way0utwest


I wrote about data types recently, referencing Michelle Ufford’s presentation at the PASS 2009 Summit. In that
post I talked about how using a smaller data type can make a difference in the way your indexes work and improve
performance.
However there’s another thing you can do as well: vertically partition your tables.
A vertical partition is a way of dividing up your table. I’ll give you an example from my past. I used to work for an
online training company, and we had all sorts of education products. We had a table similar to this one used for
our customers.


   create table Customers
   ( CustomerID int identity(1,1)
   , Firstname varchar(50)
   , Lastname varchar(50)
   , Address1 varchar(50)
   , Address2 varchar(50)
   , city varchar(50)
   , state varchar( 50)
   , postalcode varchar(20)
   , countryID int
   , province varchar(50)
   , status tinyint
   , active tinyint
   , balance numeric( 10, 4)
   , CompanyID int
   , notes text
   )




This was on SQL 2000, so TEXT was the data type we used.

In this table, we often joined our customers with other tables to display things on various pages. We wanted to
grab their name almost all the time, but we also regularly queried with companyID, balance, status, and active.
Those flags and FKs were used in different queries, so building a covering index could work, but we couldn’t cover
all queries. We could have multiple indexes, and we did, but since there were always varying queries coming up,
we did this instead.


   create table Customers
   ( CustomerID int identity(1,1)
   , Firstname varchar(50)
   , Lastname varchar(50)
   , status tinyint
   , active tinyint
   , balance numeric( 10, 4)
   , CompanyID int
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                                                                  18836
    )




    create table Customer_Details
    ( CustomerID int identity(1,1)
    , Address1 varchar(50)
    , Address2 varchar(50)
    , city varchar(50)
    , state varchar( 50)
    , postalcode varchar(20)
    , countryID int
    , province varchar(50)
    , notes text
    )




If you notice we’ve essentially split this table into two tables, keeping CustomerID in both, but otherwise
separating out fields. In the main Customers table we keep those often queries values, the ones that are used in
most queries. In the Customer_Details table we have moved those fields that are less often queried.

This does two things. One is that indexes, clustered and non-clustered, are smaller in the first table. Even a lookup
to the data means that more rows are pulled in with every page read. That translates into more information for
every read, and quite possibly less reads to get to your data. Less space in memory needed to cache things, and
likely better performance.

And the larger the table, the more increases in performance you might see.

This isn’t necessarily the best design for all tables, but if you have busy tables, and there are disparities on how
often you use some fields, but not others, this is a technique to consider.

Note that you can always build a view that combines these tables as a way to still see the same view as you have
now.


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                                                                   THIRD
                                                                 EDITION
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               THE ART OF ELECTRONICS
               Third Edition




   Paul Horowitz         HARVARD UNIVERSITY



   Winﬁeld Hill     ROWLAND INSTITUTE AT HARVARD
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   Art of Electronics Third Edition                                                    1.4.2. RC circuits: V and I versus time              23

   circuits we can analyze simply with this time-domain ap-               D. A circuit example: time-delay circuit
   proach.                                                                Let’s take a short detour to try out these theoretical ideas
                                                                          on a couple of real circuits. Textbooks usually avoid such
                             R1
                                                                          pragmatism, especially in early chapters, but we think it’s
                                                                          fun to apply electronics to practical applications. We’ll
                 Vin                                        V(t)          need to introduce a few “black-box” components to get the
                                    R2             C
                                                                          job done, but you’ll learn about them in detail later, so don’t
                                                                          worry.
   Figure 1.36. Looks complicated, but it’s not! (Thévenin to the res-
                                                                              We have already mentioned logic levels, the voltages
   cue.)                                                                  that digital circuits live on. Figure 1.37 shows an applica-
                                                                          tion of capacitors to produce a delayed pulse. The triangu-
                                                                          lar symbols are “CMOS24 buffers.” They give a HIGH out-
   C. Simpliﬁcation by Thévenin equivalents                              put if the input is HIGH (more than one-half the dc power-
   We could go ahead and analyze more complicated circuits                supply voltage used to power them), and vice versa. The
   by similar methods, writing down the differential equations            ﬁrst buffer provides a replica of the input signal, but with
   and trying to ﬁnd solutions. For most purposes it simply               low source resistance, to prevent input loading by the RC
   isn’t worth it. This is as complicated an RC circuit as we             (recall our earlier discussion of circuit loading in §1.2.5A).
   will need. Many other circuits can be reduced to it; take,             The RC output has the characteristic decays and causes the
   for example, the circuit in Figure 1.36. By just using the             output buffer to switch 10 μ s after the input transitions (an
   Thévenin equivalent of the voltage divider formed by R1               RC reaches 50% output after a time t = 0.7RC). In an actual
   and R2 , you can ﬁnd the output V (t) produced by a step               application you would have to consider the effect of the
   input for Vin .                                                        buffer input threshold deviating from one-half the supply
                                                                          voltage, which would alter the delay and change the output
   Exercise 1.17. In the circuit shown in Figure 1.36, R1 = R2 =10k,
                                                                          pulse width. Such a circuit is sometimes used to delay a
   and C =0.1 μ F. Find V (t) and sketch it.
                                                                          pulse so that something else can happen ﬁrst. In designing
                                                                          circuits you try not too often to rely on tricks like this, but
                                   CMOS buffers
                                                                          they’re occasionally handy.
                       A                 15k   B                   C
                                                                          E. Another circuit example: “One Minute of Power”
                                                                          Figure 1.38 shows another example of what can be done
                           ‘1G17      1000pF              ‘1G17           with simple RC timing circuits. The triangular symbol is a
                                                                          comparator, something we’ll treat in detail later, in Chap-
                                                                          ters 4 and 10; all you need to know, for now, is that (a) it is
                                                                          an IC (containing a bunch of resistors and transistors), (b)
                                                                          it is powered from some positive dc voltage that you con-
                                                                          nect to the pin labeled “V+ ,” and (c) it drives its output (the
          A: input                                                        wire sticking out to the right) either to V+ or to ground, de-
                                                                          pending on whether the input labeled “+” is more or less
                                                                          positive than the input labeled “−,” respectively. (These are
                                                                          called the non-inverting and the inverting inputs, respec-
            B: RC
                                                                          tively.) It doesn’t draw any current from its inputs, but it
                                                                          happily drives loads that require up to 20 mA or so. And a
                                                                          comparator is decisive: its output is either “HIGH” (at V+ )
        C: output                                                         or “LOW” (ground).
                                                                              Here’s how the circuit works: the voltage divider R3 R4
                                                                          holds the (−) input at 37% of the supply voltage, in this
                               10μs                10μs
                                                                          case about +1.8 V; let’s call that the “reference voltage.”
   Figure 1.37. Producing a delayed digital waveform with the help of
   an RC and a pair of LVC-family logic buffers (tiny parts with a huge   24 Complementary metal-oxide semiconductor, the dominant form of dig-

   part number: SN74LVC1G17DCKR!).                                          ital logic, as we’ll see from Chapter 10 onward.
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24         1.4. Capacitors and ac circuits                                                           Art of Electronics Third Edition

                                       +5V                           that can activate pretty much any load you care to switch
                                                                     on and off. The use of a relay has the important property
                             R3
                            620k
                                                                     that the load – the circuit being switched by the relay – is
           R1                                   comparator           electrically isolated from the +5 V and ground of the timing
           1k                                   TLC 3702
                                       –
                                           V+                        circuit itself.
                                       +           5V
                                                   0                                   300          LED
                      R2     R4
          C1 +       6.2M                               1 minute                                    Panasonic
                            360k
         10μF                                                                                       LN21RUQ
                                                                               A.

     Figure 1.38. RC timing circuit: one push → one minute!.
                                                                                                     piezo buzzer
                                                                                                     (w. drive ckt)
                                                                                                     CUI CEP-2242 etc.
           switch
           closure
                                                                               B.
                     +5

            VC1                                     +1.8V (Vref)
                                                                                                relay
                      0                                                                         COTO 8L01-05
                                                                                                5V, 10mA coil
                                                                               C.                (use Vcc=6V)
           comp
           output
                               1 min                                                      solid-state relay
                                                                                    270   Crydom D2450              air
Figure 1.39. Producing a delayed digital waveform for the circuit                                                   compressor
of Figure 1.38. The voltage VC1 has a rise time of R1C1 ≈10 ms.


So if the circuit has been sitting there for a while, C1 is
fully discharged, and the comparator’s output is at ground.                                             110/220 vac
                                                                               D.                       from wall plug
When you push the START button momentarily, C1 charges
quickly (10 ms time constant) to +5 V, which makes the               Figure 1.40. Driving interesting stuff from the output of the timer
comparator’s output switch to +5 V; see Figure 1.39. Af-             circuit in Figure 1.38.
ter the button is released, the capacitor discharges expo-
nentially toward ground, with a time constant of τ = R2C1 ,             Finally, for turning serious industrial machinery on and
which we’ve set to be 1 minute. At that time its voltage             off, you would probably use a hefty solid-state relay (SSR,
crosses the reference voltage, so the comparator’s output            §12.7), which has within it an infrared LED coupled to
switches rapidly back to ground. (Note that we’ve conve-             an ac switching device known as a triac. When activated,
niently chosen the reference voltage to be a fraction 1/e of         the triac acts as an excellent mechanical switch, capable
V+ , so it takes exactly one time constant τ for that to hap-        of switching many amperes, and (like the electromechani-
pen. For R2 we used the closest standard value to 6 MΩ;              cal relay) is fully isolated electrically from its input circuit.
see Appendix C.) The bottom line is that the output spends           The example shows this thing hooked to an air compressor,
1 minute at +5 V, after the button is pushed.                        so your friends will get a minute’s worth of air to inﬂate
   We’ll add a few details shortly, but ﬁrst let’s use the           their tires at your home “gas station” (literally!) after they
output to do some interesting things, which are shown in             drop a quarter into your coin-initiated timer. You could do
Figures 1.40A–D. You can make a self-stopping ﬂashlight              an analogous thing with a coin-operated hot shower (but,
key fob by connecting its output to an LED; you need to              hey, we get only one minute?!).
put a resistor in series, to set the current (we’ll say much            Some details: (a) in the circuit of Figure 1.38 you could
more about this later). If you prefer to make some noise,            omit R1 and the circuit would still work, but there would
you could connect a piezo beeper to beep continuously (or            be a large transient current when the discharged capaci-
intermittently) for a minute (this might be an end-of-cycle          tor was initially connected across the +5 V supply (recall
signal for a clothes dryer). Another possibility is to attach a      I = C dV/dt: here you would be trying to produce 5 V of
small electromechanical relay, which is just an electrically         “dV ” in roughly 0 s of “dt”). By adding a series resistor R1
operated mechanical switch, to provide a pair of contacts            you limit the peak current to a modest 5 mA while charging
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   Art of Electronics Third Edition                                                                             1.4.3. Differentiators           25

   the capacitor fast enough (> 99% in 5 RC time constants,                 could somehow use the current through C as our “output”!
   or 0.05 s). (b) The comparator output would likely bounce                But we can’t.25
   around a bit (see Figure 4.31), just as the (+) input crosses               2. So we add a small resistor from the low side of the
   the reference voltage in its leisurely exponential prome-                capacitor to ground, to act as a “current-sensing” resistor
   nade toward ground, owing to unavoidable bits of electrical              (Figure 1.41B). The good news is that we now have an out-
   noise. To ﬁx this problem you usually see the circuit ar-                put proportional to the current through the capacitor. The
   ranged so that some of the output is coupled back to the in-             bad news is that the circuit is no longer a perfect mathe-
   put in a way that reinforces the switching (this is ofﬁcially            matical differentiator. That’s because the voltage across C
   called hysteresis, or positive feedback; we’ll see it in Chap-           (whose derivative produces the current we are sensing with
   ters 4 and 10). (c) In electronic circuits it’s always a good            R) is no longer equal to Vin ; it now equals the difference be-
   idea to bypass the dc supply by connecting one or more ca-               tween Vin and Vout . Here’s how it goes: the voltage across
   pacitors between the dc “rail” and ground. The capacitance               C is Vin −Vout , so
   is noncritical – values of 0.1 μ F to 10 μ F are commonly                                            d              Vout
   used; see §1.7.16A.                                                                           I =C     (V −Vout ) =      .
                                                                                                        dt in           R
      Our simple examples above all involved turning some                   If we choose R and C small enough so that dVout /dt 
   load on and off. But there are other uses for an electronic              dVin /dt, then
   logic signal, like the output of the comparator, that is in
   one of two possible binary states, called HIGH and LOW (in                                                dVin Vout
                                                                                                         C       ≈
   this case +5 V and ground), 1 and 0, or TRUE and FALSE.                                                    dt   R
   For example, such a signal can enable or disable the op-                 or
   eration of some other circuit. Imagine that the opening of                                                        d
                                                                                                     Vout (t) ≈ RC     V (t).
   a car door triggers our 1 min HIGH output, which then en-                                                         dt in
   ables a keypad to accept a security code so you can start                That is, we get an output proportional to the rate of change
   the car. After a minute, if you haven’t managed to type the              of the input waveform.
   magic code, it shuts off, thus ensuring a certain minimum                   To keep dVout /dt  dVin /dt, we make the product RC
   of operator sobriety.                                                    small, taking care not to “load” the input by making R too
                                                                            small (at the transition the change in voltage across the ca-
                       Vin(t)             I (t)
                                                                            pacitor is zero, so R is the load seen by the input). We will
                                                                            have a better criterion for this when we look at things in the
                                 C                                          frequency domain (§1.7.10). If you drive this circuit with a
                                                                            square wave, the output will be as shown in Figure 1.42.
                  A.


                                     C                                                            Vin

                       Vin (t)                        Vout (t)
                                                  R
                                                                                                 Vout

                  B.
   Figure 1.41. Differentiators. A. Perfect (except it has no output ter-   Figure 1.42. Output waveform (bottom) from differentiator driven
   minal). B. Approximate (but at least it has an output!).                 by a square wave.

                                                                                Differentiators are handy for detecting leading edges
                                                                            and trailing edges in pulse signals, and in digital cir-
   1.4.3 Differentiators                                                    cuitry you sometimes see things like those depicted in Fig-
   You can make a simple circuit that differentiates an input               ure 1.43. The RC differentiator generates spikes at the tran-
   signal; that is, Vout ∝ dVin /dt. Let’s take it in two steps.            sitions of the input signal, and the output buffer converts
      1. First look at the (impractical) circuit in Figure 1.41A:           25 Devotees of the cinema will be reminded of Dr. Strangelove’s outburst:

   The input voltage Vin (t) produces a current through the ca-                  “The whole point of a doomsday machine is lost . . . if you keep it
   pacitor of Icap = C dVin /dt. That’s just what we want – if we                secret!”
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26           1.4. Capacitors and ac circuits                                                      Art of Electronics Third Edition

         A                100pF       B               C                                                                1pF


                                                                                                                                50Ω
                                     10k

                                                                 differentiator
                                                                     output
                                                                   10mV/div


        A: input
                                                                                  dV/dt = 1V/ns
                                                                                      0.5V/ns
                                                                  input step        0.25V/ns
                                      time constant
                                                                    2V/div
                                      = 1μs                                                                                  4 ns/div
        B: RC

                                                                Figure 1.44. Three fast step waveforms, differentiated by the RC
                                                                network shown. For the fastest waveform (109 volts per second!),
                                                                imperfections in the components and measuring instruments cause
                                                                deviation from the ideal.
        C: output

                                                                broken connection somewhere, usually at the scope probe.
                Figure 1.43. Leading-edge detector.             The very small capacitance of the broken connection com-
                                                                bines with the scope input resistance to form a differentia-
the spikes to short square-topped pulses. In practice, the      tor. Knowing that you’ve got a differentiated “something”
negative spike will be small because of a diode (a handy        can help you ﬁnd the trouble and eliminate it.
device discussed in §1.6) built into the buffer.
   To inject some real-world realism here, we hooked up
and made some measurements on a differentiator that we
conﬁgured for high-speed signals. For this we used C=1 pF
and R=50 Ω (the latter is the world-wide standard for high-
speed circuits, see Appendix H), we drove it with a 5 V step
of settable slew rate (i.e., dV/dt). Figure 1.44 shows both
input and output waveforms, for three choices of dVin /dt.
At these speeds (note the horizontal scale: 4 nanoseconds
per division!) circuits often depart from ideal performance,
as can be seen in the fastest risetime. The two slower steps
show reasonable behavior; that is, a ﬂat-top output wave-
                                                                Figure 1.45. Two examples of unintentional capacitive coupling.
form during the input’s upward ramp; check for yourself
that the output amplitude is correctly predicted by the for-
mula.
                                                                1.4.4 Integrators
A. Unintentional capacitive coupling                            If RC circuits can take derivatives, why not integrals? As
Differentiators sometimes crop up unexpectedly, in situa-       before, let’s take it in two steps.
tions where they’re not welcome. You may see signals like           1. Imagine that we have an input signal that is a time-
those shown in Figure 1.45. The ﬁrst case is caused by a        varying current versus time, Iin (t) (Figure 1.46A).26 That
square wave somewhere in the circuit coupling capacitively      input current is precisely the current through the
to the signal line you’re looking at; that might indicate a                                                          capaci-
                                                                tor, so Iin (t) = C dV (t)/dt, and therefore V (t) = Iin (t) dt.
missing resistor termination on your signal line. If not, you
must either reduce the source resistance of the signal line     26 We’re used to thinking of signals as time-varying voltages; but we’ll

or ﬁnd a way to reduce capacitive coupling from the of-           see how we can convert such signals to proportional time-varying cur-
fending square wave. The second case is typical of what           rents, by using “voltage-to-current converters” (with the fancier name
you might see when you look at a square wave, but have a          “transconductance ampliﬁers”).
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56              1.9. Other passive components                                                              Art of Electronics Third Edition


       antenna                                                                point “X”


                                          audio
                                          amplifier                                           y
                                                                                          onl
                                                                                       R1
                X       D        Y                                         point “Y”    R1+ C
                                                                                                2


                                                                              point “X”
  C1                        R1       C2
                    L

                                                         speaker

                                                                           Figure 1.116. Observed waveforms at point “Y” with R1 only (top)
Figure 1.114. The simplest AM receiver. Variable capacitor C1
                                                                           and with smoothing capacitor C2 included (bottom). The upper pair
tunes the desired station, diode D picks off the positive envelope
                                                                           is a single-shot capture (with the ∼1 MHz carrier appearing as
(smoothed by R1C2 ), and the resulting weak audio signal is ampli-
                                                                           solid black), and the lower pair is a separate single-shot capture, in
ﬁed to drive the loudspeaker, loudly.
                                                                           which we have offset the rectiﬁed wave for clarity. Vertical: 1 V/div;
                                                                           horizontal: 1 ms/div.
when you connect it to the LC resonant circuit, all the low-
frequency stuff disappears (because the LC looks like a
                                                                              And one amusing ﬁnal note: in our class, we like to
very low impedance, Figure 1.107) and it sees only the se-
                                                                           show the effect of probing point “X” with a length of BNC
lected AM station. What’s interesting here is that the am-
                                                                           (bayonet Neill–Concelman) cable going to a ’scope input
plitude of the selected station is much larger with the LC
                                                                           (that’s how we start out, in the ﬁrst week). When we do
attached than with nothing connected to the antenna: that’s
                                                                           that, the cable’s capacitance (about 30 pF/ft) adds to C1 ,
because the resonant circuit’s high Q is storing energy from
                                                                           lowering the resonant frequency and so tuning to a differ-
multiple cycles of the signal.49
                                                                           ent station. If we choose right, it changes languages (from
                                                                           English to Spanish)! The students howl with laughter – a
                                                                           language-translating electronic component. Then we use
  antenna                                                                  an ordinary ’scope probe, with its ∼10 pF of capacitance:
 (open-ckt)                                                                no change of station, nor of language.


                                                                           1.9 Other passive components
  antenna                                                                  In the following subsections we would like to introduce
 (parallel LC
  to ground)                                                               brieﬂy an assortment of miscellaneous but essential com-
                                                                           ponents. If you are experienced in electronic construction,
                                                                           you may wish to proceed to the next chapter.
Figure 1.115. Observed waveforms at point “X” from the bare an-
                                                                           1.9.1 Electromechanical devices: switches
tenna (top) and with the LC connected. Note that the low-frequency
junk disappears and that the radio signal gets larger. These are           These mundane but important devices seem to wind up in
single-shot traces, in which the ∼1 MHz radiofrequency carrier ap-         most electronic equipment. It is worth spending a few para-
pears as a solid ﬁlled area. Vertical: 1 V/div; horizontal: 4 ms/div.      graphs on the subject (and there’s more in Chapter 1x). Fig-
                                                                           ures 1.117 and 1.118 show some common switch types.
    The audio ampliﬁer is fun, too, but we’re not ready for
it. We’ll see how to make one of those in Chapter 2 (with
                                                                           A. Toggle switches
discrete transistors), and again in Chapter 4 (with opera-
                                                                           The simple toggle switch is available in various conﬁgu-
tional ampliﬁers, the Lego™ block of analog design).
                                                                           rations, depending on the number of poles; Figure 1.119
49 There are more complicated ways of framing this, but you don’t really   shows the usual ones (SPST indicates a single-pole single-
  want to know just yet. . .                                               throw switch, SPDT indicates a single-pole double-throw
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   Figure 1.117. Switch Smorgasbord. The nine switches at right are momentary-contact (“pushbutton”) switches, including both panel-
   mounting and PCB-mounting types (PCB, printed-circuit board). To their left are additional types, including lever-actuated and multipole
   styles. Above them are a pair of panel-mounting binary-coded thumbwheel switches, to the left of which is a matrix-encoded hexadecimal
   keypad. The switches at center foreground are toggle switches, in both panel-mounting and PCB-mounting varieties; several actuator
   styles are shown, including a locking variety (fourth from front) that must be pulled before it will switch. The rotary switches in the left
   column illustrate binary-coded types (the three in front and the larger square one), and the traditional multipole–multiposition conﬁgurable
   wafer switches.




   Figure 1.118. Board-mounted “DIP switches.” Left group, front to back and left to right (all are SPST): single station side-action toggle;
   three-station side-action, two-station rocker, and single-station slide; eight-station slide (low-proﬁle) and six-station rocker; eight-station
   slide and rocker. Middle group (all are hexadecimal coded): six-pin low-proﬁle, six-pin with top or side adjust; 16-pin with true and com-
   plement coding. Right group: 2 mm×2 mm surface-mount header block with movable jumper (“shunt”), 0.1 ×0.1 (2.54 mm×2.54 mm)
   through-hole header block with shunts; 18-pin SPDT (common actuator); eight-pin dual SPDT slide and rocker; 16-pin quad SPDT slide
   (two examples).


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switch, and DPDT indicates a double-pole double-throw         codes its position as a 4-bit binary quantity, thereby saving
switch). Toggle switches are also available with “center      lots of wires (only ﬁve are needed: the four bits, and a com-
OFF” positions and with up to four poles switched simulta-    mon line). An alternative is the use of a rotary encoder, an
neously. Toggle switches are always “break before make,”      electromechanical panel-mounting device that creates a se-
e.g., the moving contact never connects to both terminals     quence of N pulse pairs for each full rotation of the knob.
in an SPDT switch.                                            These come in two ﬂavors (internally using either mechan-
                                                              ical contacts or electro-optical methods), and typically pro-
                                                              vide from 16 to 200 pulse pairs per revolution. The optical
                                                              varieties cost more, but they last forever.
          SPST
                              SPDT
                                                              D. PC-mounting switches
                                                              It’s common to see little arrays of switches on printed-
                                                 DPDT         circuit (PC) boards, like the ones shown in Figure 1.118.
            Figure 1.119. Fundamental switch types.
                                                              They’re often called DIP switches, referring to the inte-
                                                              grated circuit dual in-line package that they borrow, though
                                                              contemporary practice increasingly uses the more compact
                                                      NC      surface-mount technology (SMT) package. As the photo-
                                             C
                                                              graph illustrates, you can get coded rotary switches; and
                                                      NO
                                                              because these are used for set-and-forget internal settings,
          form A, NO       form B, NC     form C, SPDT        you can substitute a multipin header block, with little slide-
                                                              on “shunts” to make the connections.
     Figure 1.120. Momentary-contact (pushbutton) switches.

                                                              E. Other switch types
                                                              In addition to these basic switch types, there are available
B. Pushbutton switches                                        various exotic switches such as Hall-effect switches, reed
Pushbutton switches are useful for momentary-contact ap-      switches, proximity switches, etc. All switches carry max-
plications; they are drawn schematically as shown in Fig-     imum current and voltage ratings; a small toggle switch
ure 1.120 (NO and NC mean normally open and normally          might be rated at 150 volts and 5 amps. Operation with
closed). For SPDT momentary-contact switches, the ter-        inductive loads drastically reduces switch life because of
minals must be labeled NO and NC, whereas for SPST            arcing during turn-off. It’s always OK to operate a switch
types the symbol is self-explanatory. Momentary-contact       below its maximum ratings, with one notable exception:
switches are always “break before make.” In the electrical    since many switches rely on substantial current ﬂow to
(as opposed to electronic) industry, the terms form A, form   clean away contact oxides, it’s important to use a switch
B, and form C are used to mean SPST (NO), SPST (NC),          that is designed for “dry switching” when switching low-
and SPDT, respectively.                                       level signals;50 otherwise you’ll get noisy and intermittent
                                                              operation (see Chapter 1x).
C. Rotary switches
Rotary switches are available with many poles and many        F. Switch examples
positions, often as kits with individual wafers and shaft     As an example of what can be done with simple switches,
hardware. Both shorting (make-before-break) and non-          let’s consider the following problem: suppose you want to
shorting (break-before-make) types are available, and they    sound a warning buzzer if the driver of a car is seated and
can be mixed on the same switch. In many applications the     one of the car doors is open. Both doors and the driver’s
shorting type is useful to prevent an open circuit between    seat have switches, all normally open. Figure 1.121 shows
switch positions, because circuits can go amok with un-       a circuit that does what you want. If one OR the other
connected inputs. Nonshorting types are necessary if the      door is open (switch closed) AND the seat switch is closed,
separate lines being switched to one common line must not     the buzzer sounds. The words OR and AND are used in a
ever be connected to each other.                              logic sense here, and we will see this example again in
   Sometimes you don’t really want all those poles, you
just want to know how many clicks (detents) the shaft has
                                                              50 These use gold contact plating.
been turned. For that a common form of rotary switch en-
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                                     +12V                                        excitation, and coil voltages from 3 volts up to 115 volts
                                                                                 (ac or dc) are common. “Mercury-wetted” and “reed” re-
                                            buzzer                               lays are intended for high-speed (∼1 ms) applications, and
                                                                                 giant relays intended to switch thousands of amps are used
                                                                                 by power companies.
                                            seat
                                                                                    The solid-state relay (SSR) – consisting of a semicon-
                                                                                 ductor electronic switch that is turned on by a LED – pro-
                                                                                 vides better performance and reliability than mechanical
                            left                   right                         relays, though at greater cost. SSRs operate rapidly, with-
                           door                    door
                                                                                 out contact “bounce,” and usually provide for smart switch-
                                                                                 ing of ac power (they turn on at the moment of zero volt-
       Figure 1.121. Switch circuit example: open door warning.
                                                                                 age, and they turn off at the moment of zero current). Much
                                                                                 more on these useful devices in Chapter 12.
   Chapters 2, 3, and 10 when we talk about transistors and                         As we’ll learn, electrically controlled switching of sig-
   digital logic.                                                                nals within a circuit can be accomplished with transistor
      Figure 1.122 shows a classic switch circuit used to turn                   switches, without having to use relays of any sort (Chap-
   a ceiling lamp on or off from a switch at either of two en-                   ters 2 and 3). The primary uses of relays are in remote
   trances to a room.                                                            switching and high-voltage (or high-current) switching,
                                                                                 where it is important to have complete electrical isolation
                                                                                 between the control signal and the circuit being switched.


                                                                                 1.9.3 Connectors
                                                                                 Bringing signals in and out of an instrument, routing signal
                                                                                 and dc power around between the various parts of an in-
                                                                                 strument, providing ﬂexibility by permitting circuit boards
                                                                                 and larger modules of the instrument to be unplugged (and
                  115Vac                                                         replaced) – these are the functions of the connector, an es-
                                                                                 sential ingredient (and usually the most unreliable part) of
          Figure 1.122. Electrician’s “three-way” switch wiring.
                                                                                 any piece of electronic equipment. Connectors come in a
                                                                                 bewildering variety of sizes and shapes.52 Figures 1.123,
   Exercise 1.36. Although few electronic circuit designers know                 1.124, and 1.125 give some idea of the variety.
   how, every electrician can wire up a light ﬁxture so that any of
   N switches can turn it on or off. See if you can ﬁgure out this               A. Single-wire connectors
   generalization of Figure 1.122. It requires two SPDT switches                 The simplest kind of connector is the simple pin jack or
   and N−2 DPDT switches.
                                                                                 banana jack used on multimeters, power supplies, etc. It is
                                                                                 handy and inexpensive, but not as useful as the shielded-
   1.9.2 Electromechanical devices: relays                                       cable or multiwire connectors you often need. The humble
                                                                                 binding post is another form of single-wire connector, no-
   Relays are electrically controlled switches. In the tradi-
                                                                                 table for the clumsiness it inspires in those who try to use
   tional electromechanical relay, a coil pulls in an arma-
                                                                                 it.
   ture (to close the contacts) when sufﬁcient coil current
   ﬂows. Many varieties are available, including “latching”
                                                                                 B. Shielded-cable connectors
   and “stepping” relays.51 Relays are available with dc or ac
                                                                                 To prevent capacitive pickup, and for other reasons we’ll go
   51 In an amusing historical footnote, the stepping relay used for a century   into in Appendix H, it is usually desirable to pipe signals
     as the cornerstone of telephone exchanges (the “Strowger selector”)         around from one instrument to another in shielded coaxial
     was invented by a Topeka undertaker, Almon Strowger, evidently be-          cable. The most popular connector is the BNC type that
     cause he suspected that telephone calls intended for his business were
     being routed (by the switchboard operators in his town) to a funeral        52 A search for “connector” on the DigiKey website returns 116 cate-

     home competitor.                                                              gories, with approximately 43,000 individual varieties in stock.
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Figure 1.123. Rectangular connectors. The variety of available multipin connectors is staggering. Here is a collection of common speci-
mens: the ﬁve connectors at lower left are multipin nylon power connectors (sometimes called Molex-type for historical reasons). Above
them are four dual-row box headers (0.1 spacing, shown with and without latch ejectors, and also with Wire-Wrap® and right-angle
tails), and to their right an open (“unshrouded”) 0.1 dual-row header, along with a pair of dual-row headers of ﬁner pitch (2 mm and
1.27 mm). These dual-row male connectors mate with insulation displacement connectors (IDC) such as the one shown attached to a
short length of ribbon cable (just above the unshrouded header). Just below the ribbon are shown single-row 0.1 headers, with mating
shells (AMP MODU) that accept individual wire leads. At bottom right are several terminal blocks used for power wiring, and four “Faston”-
type crimpable spade lugs. Above them are USB connectors, and to their left are the common RJ-45 and RJ-11 modular telephone/data
connectors. The popular and reliable D-subminiature connectors are at center, including (right to left) a pair of 50-pin micro-D (cable plug,
PCB socket), the 9-pin D-sub, 26-pin high-density, and a pair of 25-pin D-subs (one IDC). Above them are (right to left) a 96-pin VME
backplane connector, a 62-pin card-edge connector with solder tails, a “Centronics-type” connector with latching bail, and a card-edge
connector with ribbon IDC. At top left is a miscellany – a mating pair of “GR-type” dual banana connectors, a mating pair of Cinch-type
connectors, a mating pair of shrouded Winchester-type connectors with locking jackscrews, and (to their right) a screw-terminal barrier
block. Not shown here are the really tiny connectors used in small portable electronics (smartphones, cameras, etc); you can see a ﬁne
example in Figure 1.131.



adorns most instrument front panels. It connects with a                 inner (signal) conductor mates before the shield (ground)
quarter-turn twist and completes both the shield (ground)               when you plug it in; furthermore, the design of the con-
circuit and inner conductor (signal) circuit simultaneously.            nector is such that both shield and center conductor tend to
Like all connectors used to mate a cable to an instrument,              make poor contact. You’ve undoubtedly heard the results!
it comes in both panel-mounting and cable-terminating va-               Not to be outdone, the television industry has responded
rieties.                                                                with its own bad standard, the type-F coax “connector,”
    Among the other connectors for use with coaxial ca-                 which uses the unsupported inner wire of the coax as the
ble are the TNC (“threaded Neill–Concelman,” a close                    pin of the male plug, and a shoddy arrangement to mate the
cousin of the BNC, but with threaded outer shell), the high-            shield.53
performance but bulky type N, the miniature SMA and                        We hereby induct these losers into the Electronic
SMB, the subminiature LEMO and SMC, and the high-
voltage MHV and SHV. The so-called phono jack used in                   53 Advocates of each would probably reply “This is our most modestly

audio equipment is a nice lesson in bad design, because the               priced receptacle.”
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   Figure 1.124. Circular connectors. A selection of multipin and other “non-RF” connectors; the panel-mounting receptacle is shown to the
   left of each cable-mounted plug. Top row, left to right: “MS”-type (MIL-C-5015) rugged connector (available in hundreds of conﬁgurations),
   high-current (50 A) “Supericon,” multipin locking XLR. Middle row: weatherproof (Switchcraft EN3), 12 mm video (Hirose RM), circular
   DIN, circular mini-DIN, 4-pin microphone connector. Bottom row: locking 6-pin (Lemo), microminiature 7-pin shielded (Microtech EP-7S),
   miniature 2-pin shrouded (Litton SM), 2.5 mm power, banana, pin jack.


   Components Hall of Infamy, some charter members of                    and they come with different lug styles according to the
   which are shown in Figure 1.126.                                      method of connection. You can solder them to a “moth-
                                                                         erboard” or “backplane,” which is itself just another PCB
   C. Multipin connectors                                                containing the interconnecting wiring between the individ-
   Very frequently electronic instruments demand multiwire               ual circuit cards. Alternatively, you may want to use edge
   cables and connectors. There are literally dozens of dif-             connectors with standard solder-lug terminations, particu-
   ferent kinds. The simplest example is a three-wire “IEC”              larly in a system with only a few cards. A more reliable
   powerline cord connector. Among the more popular are                  (though more costly) solution is the use of “two-part” PCB
   the excellent type-D subminiature, the Winchester MRA                 connectors, in which one part (soldered onto the board)
   series, the venerable MS type, and the ﬂat ribbon-cable               mates with the other part (on a backplane, etc); an example
   mass-termination connectors. These and others are shown               is the widely used VME (VersaModule Eurocard) connec-
   in Figure 1.123.                                                      tor (upper right-hand corner of Figure 1.123).
      Beware of connectors that can’t tolerate being dropped
   on the ﬂoor (the miniature hexagon connectors are classic)
   or that don’t provide a secure locking mechanism (e.g., the           1.9.4 Indicators
   Jones 300 series).                                                    A. Meters
                                                                         To read out the value of some voltage or current, you have
   D. Card-edge connectors                                               a choice between the time-honored moving-pointer type of
   The most common method used to make connection to                     meter and digital-readout meters. The latter are more ex-
   printed-circuit cards is the card-edge connector, which               pensive and more accurate. Both types are available in a
   mates to a row of gold-plated contacts at the edge of the             variety of voltage and current ranges. There are, in addi-
   card; common examples are the motherboard connectors                  tion, exotic panel meters that read out such things as VUs
   that accept plug-in computer memory modules. Card-edge                (volume units, an audio dB scale), expanded-scale ac volts
   connectors may have from 15 to 100 or more connections,               (e.g., 105 to 130 V), temperature (from a thermocouple),
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Figure 1.125. RF and shielded connectors. The panel-mounting receptacle is shown to the left of each cable-mounted plug. Top row, left
to right: stereo phone jack, audio “XLR” type; N and UHF (RF connectors). Second row down: BNC, TNC, type F; MHV and SHV (high
voltage). Third row down: 2.5 mm (3/32 ) audio, 3.5 mm stereo, improved 3.5 mm stereo, phono (“RCA type”), LEMO coaxial. Bottom
row: SMA (panel jack, ﬂexible coax plug), SMA (board-mount jack, rigid coax plug), SMB; SC and ST (optical ﬁber).


percentage motor load, frequency, etc. Digital panel meters         placed with LEDs. The latter behave electrically like ordi-
often provide the option of logic-level outputs, in addition        nary diodes, but with a forward voltage drop in the range
to the visible display, for internal use by the instrument.         of 1.5 to 2 volts (for red, orange, and some green LEDs;
    As a substitute for a dedicated meter (whether analog           3.6 V for blue54 and high-brightness green; see Figure 2.8).
or digital), you increasingly see an LCD (liquid-crystal            When current ﬂows in the forward direction, they light up.
display) or LED panel with a meter-like pattern. This is            Typically, 2 mA to 10 mA produces adequate brightness.
ﬂexible and efﬁcient: with a graphic LCD display module             LEDs are cheaper than incandescent lamps, they last pretty
(§12.5.3) you can offer the user a choice of “meters,” ac-          much forever, and they come in four standard colors as well
cording to the quantity being displayed, all under the con-         as “white” (which is usually a blue LED with a yellow ﬂuo-
trol of an embedded controller (a built-in microprocessor;          rescent coating). They come in convenient panel-mounting
see Chapter 15).                                                    packages; some even provide built-in current limiting.55
                                                                       LEDs can also be used for digital displays, for example

B. Lamps, LEDs, and displays                                        54 The invention of the gallium nitride blue LED was the breakthrough
Flashing lights, screens full of numbers and letters, eerie            product of a lone and unappreciated employee of Nichia Chemical In-
sounds – these are the stuff of science ﬁction movies, and             dustries, Shuji Nakamura.
except for the last, they form the subject of lamps and dis-        55 And of course, for both residential and commercial area lighting, LEDs

plays (see §12.5.3). Small incandescent lamps used to be               have now largely relegated to the dustbin of history the century-old
standard for front-panel indicators, but they have been re-            hot-ﬁlament incandescent lamp.
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                                                                            For use inside an instrument, rather than on the front
                                                                         panel, trimmer pots come in single-turn and multiturn
                                                                         styles, most intended for printed-circuit mounting. These
                                                                         are handy for calibration adjustments of the “set-and-
                                                                         forget” type. Good advice: resist the temptation to use lots
                                                                         of trimmers in your circuits. Use good design instead.

                                                                                                  CCW         CW




                                                                         Figure 1.127. Potentiometer (three-terminal variable resistor).



  Figure 1.126. Components to avoid. We advise against using
                                                                            The symbol for a variable resistor, or pot, is shown in
  components like these, if you have a choice (see text if you need      Figure 1.127. Sometimes the symbols CW and CCW are
  convincing!). Top row, left to right: low-value wirewound pot, type    used to indicate the clockwise and counterclockwise ends.
  UHF connector, electrical tape (“just say no!”). Middle row: “cinch-      An all-electronic version of a potentiometer can be
  type” connectors, microphone connector, hexagon connectors.            made with an array of electronic (transistor) switches that
  Bottom row: slide switch, cheap IC socket (not “screw-machined”),      select a tap in a long chain of ﬁxed resistors. As awk-
  type-F connector, open-element trimmer pot, phono connector.           ward as that may sound, it is a perfectly workable scheme
                                                                         when implemented as an IC. For example, Analog Devices,
  as 7-segment numeric displays or (for displaying letters as            Maxim/Dallas Semiconductor, and Xicor make a series of
  well as numbers – “alphanumeric”) 16-segment displays or               “digital potentiometers” with up to 1024 steps; they come
  dot-matrix displays. However, if more than a few digits or             as single or dual units, and some of them are “nonvolatile,”
  characters need to be displayed, LCDs are generally pre-               meaning that they remember their last setting even if power
  ferred. These come in line-oriented arrays (e.g., 16 charac-           has been turned off. These ﬁnd application in consumer
  ters by 1 line, up to 40 characters by 4 lines), with a sim-           electronics (televisions, stereos) where you want to adjust
  ple interface that permits sequential or addressable entry             the volume from your infrared remote control, rather than
  of alphanumeric characters and additional symbols. They                by turning a knob; see §3.4.3E.
  are inexpensive, low power, and visible even in sunlight.                 One important point about variable resistors: don’t at-
  Back-lighted versions work well even in subdued light, but             tempt to use a potentiometer as a substitute for a precise
  are not low power. Much more on these (and other) opto-                resistor value somewhere within a circuit. This is tempting,
  electronic devices in §12.5.                                           because you can trim the resistance to the value you want.
                                                                         The trouble is that potentiometers are not as stable as good
                                                                         (1%) resistors, and in addition they may not have good res-
  1.9.5 Variable components
                                                                         olution (i.e., they can’t be set to a precise value). If you
  A. Variable resistors                                                  must have a precise and settable resistor value somewhere,
  Variable resistors (also called volume controls, poten-                use a combination of a 1% (or better) precision resistor and
  tiometers, pots, or trimmers) are useful as panel controls             a potentiometer, with the ﬁxed resistor contributing most
  or internal adjustments in circuits. A classic panel type is           of the resistance. For example, if you need a 23.4k resistor,
  the 2-watt-type AB potentiometer; it uses the same basic               use a 22.6k 1% ﬁxed resistor (a standard value) in series
  material as the ﬁxed carbon-composition resistor, with a               with a 2k trimmer pot. Another possibility is to use a series
  rotatable “wiper” contact. Other panel types are available             combination of several precision resistors, selecting the last
  with ceramic or plastic resistance elements, with improved             (and smallest) resistor to give the desired series resistance.
  characteristics. Multiturn types (3, 5, or 10 turns) are avail-           As we’ll see later (§3.2.7), it is possible to use FETs as
  able, with counting dials, for improved resolution and lin-            voltage-controlled variable resistors in some applications.
  earity. “Ganged” pots (several independent sections on one             Another possibility is an “optophotoresistor” (§12.7).
  shaft) are also manufactured, although in limited variety,             Transistors can be used as variable-gain ampliﬁers, again
  for applications that demand them. Figure 1.8 shows a rep-             controlled by a voltage. Keep an open mind when design
  resentative selection of pots and trimmers.                            brainstorming.
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64          1.10. A parting shot: confusing markings and itty-bitty components                                Art of Electronics Third Edition



                  Figure 1.128. Variable capacitor.


B. Variable capacitors
Variable capacitors are primarily conﬁned to the smaller
capacitance values (up to about 1000 pF) and are com-
monly used in RF circuits. Trimmers are available for in-
circuit adjustments, in addition to the panel type for user
tuning. Figure 1.128 shows the symbol for a variable ca-
pacitor.
   Diodes operated with applied reverse voltage can be
used as voltage-variable capacitors; in this application
they’re called varactors, or sometimes varicaps or epi-
caps. They’re very important in RF applications, especially
                                                                             Figure 1.129. A powerline variable transformer (“Variac”) lets you
phase-locked loops, automatic frequency control (AFC),                       adjust the ac input voltage to something you are testing. Here a 5 A
modulators, and parametric ampliﬁers.                                        unit is shown, both clothed and undressed.

C. Variable inductors                                                        1.10 A parting shot: confusing markings and
Variable inductors are usually made by arranging to move                          itty-bitty components
a piece of core material in a ﬁxed coil. In this form they’re
                                                                             In our electronics course,57 and indeed in day-to-day elec-
available with inductances ranging from microhenrys to
                                                                             tronics on the bench, we encounter a wonderful confusion
henrys, typically with a 2:1 tuning range for any given in-
                                                                             of component markings. Capacitors in particular are just,
ductor. Also available are rotary inductors (coreless coils
                                                                             well, perverse: they rarely bother specifying units (even
with a rolling contact).56
                                                                             though they span 12 orders of magnitude, picofarads to
                                                                             farads), and for ceramic SMT varieties they dispense with
D. Variable transformers                                                     any markings whatsoever! Even worse, they are still caught
Variable transformers are handy devices, especially the                      up in the transition from printing the value as an inte-
ones operated from the 115 volt ac line. They’re usually                     ger (e.g., “470” meaning 470 pF) versus using exponent
conﬁgured as “autotransformers,” which means that they                       notation (e.g., “470” meaning 47×100 , i.e., 47 pF). Fig-
have only one winding, with a sliding contact. They’re also                  ure 1.130 shows exactly that case! Another trap for the un-
commonly called Variacs (the name given to them by Gen-                      wary (and sometimes the wary, as well) is the date-code
eral Radio), and they are made by Technipower, Superior                      gotcha: the 4-digit code (yydd) can masquerade as a part
Electric, and others. Figure 1.129 shows a classic unit from                 number, as in the four examples in the photo. And, as com-
General Radio. Typically they provide 0 to 135 volts ac                      ponents become smaller and smaller, there’s precious lit-
output when operated from 115 volts, and they come in cur-                   tle room for all but the briefest of markings; so, following
rent ratings from 1 amp to 20 amps or more. They’re good                     the pharmaceutical industry, manufacturers invent a short
for testing instruments that seem to be affected by power-
line variations, and in any case to verify worst-case perfor-                57 Physics 123 (“Laboratory Electronics”) at Harvard University: “Half
mance. Important Warning: don’t forget that the output is                      course (fall term; repeated spring term). A lab-intensive introduction
not electrically isolated from the powerline, as it would be                   to electronic circuit design. Develops circuit intuition and debugging
with a transformer!                                                            skills through daily hands-on lab exercises, each preceded by class
                                                                               discussion, with minimal use of mathematics and physics. Moves
                                                                               quickly from passive circuits, to discrete transistors, then concen-
56 An interesting form of variable inductor of yesteryear was the variome-     trates on operational ampliﬁers, used to make a variety of circuits
  ter, a rotatable coil positioned within a ﬁxed outer coil and connected      including integrators, oscillators, regulators, and ﬁlters. The digi-
  in series with it. As the inner coil was rotated, the total inductance       tal half of the course treats analog–digital interfacing, emphasiz-
  went from maximum (four times the inductance of either coil alone)           ing the use of microcontrollers and programmable logic devices
  all the way down to zero. These things were consumer items, listed for       (PLDs).” See http://webdocs.registrar.fas.harvard.edu/
  example in the 1925 Sears Roebuck catalog.                                   courses/Physics.html.
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                The Little Book of Semaphores

                           Allen B. Downey
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               2


                                The Little Book of Semaphores
                                               First Edition


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      Chapter 1

      Introduction

      1.1     Synchronization
      In common use, “synchronization” means making two things happen at the
      same time. In computer systems, synchronization is a little more general; it
      refers to relationships among events—any number of events, and any kind of
      relationship (before, during, after).
          Computer programmers are often concerned with synchronization con-
      straints, which are requirements pertaining to the order of events. Examples
      include:

      Serialization: Event A must happen before Event B.

      Mutual exclusion: Events A and B must not happen at the same time.

          In real life we often check and enforce synchronization constraints using a
      clock. How do we know if A happened before B? If we know what time both
      events occurred, we can just compare the times.
          In computer systems, we often need to satisfy synchonization constraints
      without the benefit of a clock, either because there is no universal clock, or
      because we don’t know with fine enough resolution when events occur.
          That’s what this book is about: software techniques for enforcing synchro-
      nization constraints.


      1.2     Execution model
      In order to understand software synchronization, you have to have a model of
      how computer programs run. In the simplest model, computers execute one
      instruction after another in sequence. In this model, synchronization is trivial;
      we can tell the order of events by looking at the program. If Statement A comes
      before Statement B, it will be executed first.
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                   There are two ways things get more complicated. One possibility is that
               the computer is parallel, meaning that it has multiple processors running at the
               same time. In that case it is not easy to know if a statement on one processor
               is executed before a statement on another.
                   Another possibility is that a single processor is running multiple threads of
               execution. A thread is a sequence of instructions that execute sequentially. If
               there are multiple threads, then the processor can work on one for a while, then
               switch to another, and so on.
                   In general the programmer has no control over when each thread runs; the
               operating system (specifically, the scheduler) makes those decisions. As a result,
               again, the programmer can’t tell when statements in different threads will be
               executed.
                   For purposes of synchronization, there is no difference between the parallel
               model and the multithread model. The issue is the same—within one processor
               (or one thread) we know the order of execution, but between processors (or
               threads) it is impossible to tell.
                   A real world example might make this clearer. Imagine that you and your
               friend Bob live in different cities, and one day, around dinner time, you start to
               wonder who ate lunch first that day, you or Bob. How would you find out?
                   Obviously you could call him and ask what time he ate lunch. But what if
               you started lunch at 11:59 by your clock and Bob started lunch at 12:01 by his
               clock? Can you be sure who started first? Unless you are both very careful to
               keep accurate clocks, you can’t.
                   Computer systems face the same problem because, even though their clocks
               are usually accurate, there is always a limit to their precision. In addition,
               most of the time the computer does not keep track of what time things happen.
               There are just too many things happening, too fast, to record the exact time of
               everything.
                   Puzzle: Assuming that Bob is willing to follow simple instructions, is there
               any way you can guarantee that tomorrow you will eat lunch before Bob?
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      1.3 Serialization with messages                                                 3


      1.3      Serialization with messages
      One solution is to instruct Bob not to eat lunch until you call. Then, make
      sure you don’t call until after lunch. This approach may seem trivial, but the
      underlying idea, message passing, is a real solution for many synchronization
      problems.
         At the risk of belaboring the obvious, consider this timeline.
         You                                        Bob
          a1   Eat breakfast                            b1   Eat breakfast
          a2   Work                                     b2   Wait for a call
          a3   Eat lunch                                b3   Eat lunch
          a4   Call Bob

          The first column is a list of actions you perform; in other words, your thread
      of execution. The second column is Bob’s thread of execution. Within a thread,
      we can always tell what order things happen. We can denote the order of events
                                   a1 < a2 < a3 < a4
                                         b1 < b2 < b3
      where the relation a1 < a2 means that a1 happened before a2.
          In general, though, there is no way to compare events from different threads;
      for example, we have no idea who ate breakfast first (is a1 < b1?).
          But with message passing (the phone call) we can tell who ate lunch first
      (a3 < b3). Assuming that Bob has no other friends, he won’t get a call until
      you call, so b2 > a4 . Combining all the relations, we get
                                   b3 > b2 > a4 > a3
      which proves that you had lunch before Bob.
          In this case, we would say that you and Bob ate lunch sequentially, because
      we know the order of events, and you ate breakfast concurrently, because we
      don’t.
          When we talk about concurrent events, it is tempting to say that they happen
      at the same time, or simultaneously. As a shorthand, that’s fine, as long as you
      remember the strict definition:
            Two events are concurrent if we cannot tell by looking at the program
            which will happen first.
          Sometimes we can tell, after the program runs, which happened first, but
      often not, and even if we can, there is no guarantee that we will get the same
      result the next time.


      1.4      Non-determinism
      Concurrent programs are often non-deterministic, which means it is not pos-
      sible to tell, by looking at the program, what will happen when it executes.
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               Here is a very simple example of a non-deterministic program:
                  Thread A                                  Thread B
                   a1   print "yes"                           b1 print "no"

                   Because the two threads run concurrently, the order of execution depends
               on the scheduler. During any given run of this program, the output might be
               “yes no” or “no yes”.
                   Non-determinism is one of the things that makes concurrent programs hard
               to debug. A program might work correctly 1000 times in a row, and then crash
               on the 1001st run, depending on the particular decisions of the scheduler.
                   These kinds of bugs are almost impossible to find by testing; they can only
               be avoided by careful programming.


               1.5      Shared variables
               Most of the time, most variables in most threads are local, meaning that they
               belong to a single thread and no other threads can access them. As long as
               that’s true, there tend to be few synchronization problems, because threads
               just don’t interact.
                   But usually some variables are shared among two or more threads; this
               is one of the ways threads interact with each other. For example, one way
               to communicate information between threads is for one thread to read a value
               written by another thread.
                   If the threads are unsynchronized, then we cannot tell by looking at the
               program whether the reader will see the value the writer writes or an old value
               that was already there. Thus many applications enforce the contraint that
               the reader should not read until after the writer writes. This is exactly the
               serialization problem in Section 1.3.
                   Other ways that threads interact are concurrent writes (two or more writ-
               ers) and concurrent updates (two or more threads performing a read followed
               by a write). The next two sections deal with these interactions. The other
               possible use of a shared variable, concurrent reads, does not generally create a
               synchronization problem.

               1.5.1    Concurrent writes
               In the following example, x is a shared variable accessed by two writers.
                   Thread A                                  Thread B
                   a1   x = 5                                 b1 x = 7
                   a2   print x

                   What value of x gets printed? What is the final value of x when all these
               statements have executed? It depends on the order in which the statements are
               executed, called the execution path. One possible path is a1 < a2 < b1, in
               which case the output of the program is 5, but the final value is 7.
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      1.5 Shared variables                                                             5


         Puzzle: What path yields output 5 and final value 5?
         Puzzle: What path yields output 7 and final value 7?
         Puzzle: Is there a path that yields output 7 and final value 5? Can you
      prove it?
         Answering questions like these is an important part of concurrent program-
      ming: What paths are possible and what are the possible effects? Can we prove
      that a given (desirable) effect is necessary or that an (undesirable) effect is
      impossible?

      1.5.2    Concurrent updates
      An update is an operation that reads the value of a variable, computes a new
      value based on the old value, and writes the new value. The most common kind
      of update is an increment, in which the new value is the old value plus one. The
      following example shows a shared variable, count, being updated concurrently
      by two threads.
          Thread A                                   Thread B
          a1   count = count + 1                       b1   count = count + 1

         At first glance, it is not obvious that there is a synchronization problem here.
      There are only two execution paths, and they yield the same result.
         The problem is that these operations are translated into machine language
      before execution, and in machine language the update takes two steps, a read
      and a write. The problem is more obvious if we rewrite the code with a tempo-
      rary variable, temp.
         Thread A                                       Thread B
          a1   temp = count                            b1   temp = count
          a2   count = temp + 1                        b2   count = temp + 1

         Now consider the following execution path

                                      a1 < b1 < b2 < a2

          Assuming that the initial value of x is 0, what is its final value? Because
      both threads read the same initial value, they write the same value. The variable
      is only incremented once, which is probably not what the programmer had in
      mind.
          This kind of problem is subtle because it is not always possible to tell, look-
      ing at a high-level program, which operations are performed in a single step and
      which can be interrupted. In fact, some computers provide an increment in-
      struction that is implemented in hardware cannot be interrupted. An operation
      that cannot be interrupted is said to be atomic.
          So how can we write concurrent programs if we don’t know which operations
      are atomic? One possibility is to collect specific information about each opera-
      tion on each hardware platform. The drawbacks of this approach are obvious.
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                   The most common alternative is to make the conservative assumption that
               all updates and all writes are not atomic, and to use synchronization constraints
               to control concurrent access to shared variables.
                   The most common constraint is mutual exclusion, or mutex, which I men-
               tioned in Section 1.1. Mutual exclusion guarantees that only one thread accesses
               a shared variable at a time, eliminating the kinds of synchronization errors in
               this section.

               1.5.3    Mutual exclusion with messages
               Like serialization, mutual exclusion can be implemented using message passing.
               For example, imagine that you and Bob operate a nuclear reactor that you
               monitor from remote stations. Most of the time, both of you are watching for
               warning lights, but you are both allowed to take a break for lunch. It doesn’t
               matter who eats lunch first, but it is very important that you don’t eat lunch
               at the same time, leaving the reactor unwatched!
                   Puzzle: Figure out a system of message passing (phone calls) that enforces
               these restraints. Assume there are no clocks, and you cannot predict when lunch
               will start or how long it will last. What is the minimum number of messages
               that is required?
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      Chapter 2

      Semaphores

      In real life a semaphore is a system of signals used to communicate visually,
      usually with flags, lights, or some other mechanism. In software, a semaphore is
      a data structure that is useful for solving a variety of synchronization problems.
         Semaphores were invented by Edsgar Dijkstra, a famously eccentric com-
      puter scientist. Some of the details have changed since the original design, but
      the basic idea is the same.


      2.1     Definition
      A semaphore is like an integer, with three differences:

        1. When you create the semaphore, you can initialize its value to any integer,
           but after that the only operations you are allowed to perform are increment
           (increase by one) and decrement (decrease by one). You cannot read the
           current value of the semaphore.

        2. When a thread decrements the semaphore, if the result is negative, the
           thread blocks itself and cannot continue until another thread increments
           the semaphore.

        3. If the value of the semaphore is negative and a thread increments it, one
           of the threads that is waiting gets woken up.

          To say that a thread blocks itself (or simply “blocks”) is to say that it
      notifies the scheduler that it cannot proceed. The scheduler will prevent the
      thread from running until it is notified otherwise. Since the blocked thread
      cannot run, some other thread has to unblock it. In the tradition of mixed
      computer science metaphors, unblocking is often called “waking”.
          That’s all there is to the definition, but there are some consequences of the
      definition you might want to think about.
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               8                                                                  Semaphores


                   • In general, there is no way to know before a thread decrements a
                     semaphore whether it will block or not (in specific cases you might be
                     able to prove that it will or will not).
                   • After a thread increments a semaphore and another thread gets woken
                     up, both threads continue running concurrently. There is no way to know
                     which thread, if either, will continue immediately.
                   Finally, you might want to think about what the value of the semaphore
               means. If the value is positive, then it represents the number of threads that
               can decrement without blocking. If it is negative, then it represents the number
               of threads that have blocked and are waiting. If the value is zero, it means there
               are no threads waiting, but if a thread tries to decrement, it will block.


               2.2     Syntax
               In most programming environments, an implementation of semaphores is avail-
               able as part of the programming language or the operating system. Different
               implementations sometimes offer slightly different capabilities, and usually re-
               quire different syntax.
                    In this book I will use a simple pseudo-language to demonstrate how
               semaphores work. The syntax for creating a new semaphore and initializing
               it is
                                 Listing 2.1: Semaphore initialization syntax
                   1      Semaphore fred = 1

               When Semaphore appears with a capital letter it indicates a type of variable.
               In this case, fred is the name of the new semaphore and 1 is its initial value.
                   The semaphore operations go by different names in different environments.
               The most common alternatives are
                                      Listing 2.2: Semaphore operations
                   1      fred.increment ()
                   2      fred.decrement ()

               and
                                      Listing 2.3: Semaphore operations
                   1      fred.signal ()
                   2      fred.wait ()

               and
                                      Listing 2.4: Semaphore operations
                   1      fred.V ()
                   2      fred.P ()
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      2.3 Why semaphores?                                                                  9


      It may be surprising that there are so many names, but there is a reason for the
      plurality. increment and decrement describe what the operations do. signal
      and wait describe what they are often used for. And V and P were the original
      names proposed by Dijkstra, who wisely realized that a meaningless name is
      better than a misleading name1 .
          I consider the other pairs misleading because increment and decrement
      neglect to mention the possibility of blocking and waking, and semaphores are
      often used in ways that have nothing to do with signal and wait.
          If you insist on meaningful names, then I would suggest these:

                              Listing 2.5: Semaphore operations
         1       fred.increment_and_wake_a_waiting_process_if_any ()
         2       fred.decrement_and_block_if_the_result_is_negative ()

         I don’t think the world is likely to embrace either of these names soon. In
      the meantime, I choose (more or less arbitrarily) to use signal and wait.


      2.3     Why semaphores?
      Looking at the definition of semaphores, it is not at all obvious why they are use-
      ful. It’s true that we don’t need semaphores to solve synchronization problems,
      but there are some advantages to using them:

         • Semaphores impose deliberate constraints that help programmers avoid
           errors.
         • Solutions using semaphores are often clean and organized, making it easy
           to demonstrate their correctness.
         • Semaphores can be implemented efficiently on many systems, so solutions
           that use semaphores are portable and usually efficient.




        1 Actually, V and P aren’t completely meaningless to people who speak Dutch.
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      Chapter 3

      Basic synchronization
      patterns

      This chapter presents a series of basic synchronization problems and shows ways
      of using semaphores to solve them. These problems include serialization and
      mutual exclusion, which we have already seen, along with others.


      3.1        Signaling
      Possibly the simplest use for a semaphore is signaling, which means that one
      thread sends a signal to another thread to indicate that something has happened.
          Signaling makes it possible to guarantee that a section of code in one thread
      will run before a section of code in another thread; in other words, it solves the
      serialization problem.
          Assume that we have a semaphore named sem with initial value 0, and that
      Threads A and B have shared access to it.
          Thread A                                    Thread B
             1    statement a1                           1 sem.wait ()
             2    sem.signal ()                          2 statement b1

          The word statement represents an arbitrary program statement. To make
      the example concrete, imagine that a1 reads a line from a file, and b1 displays
      the line on the screen. The semaphore in this program guarantees that Thread
      A has completed a1 before Thread B begins b1.
          Here’s how it works: if thread B gets to the wait statement first, it will find
      the initial value, zero, and it will block. Then when Thread A signals, Thread
      B proceeds.
          Similarly, if Thread A gets to the signal first then the value of the semaphore
      will be incremented, and when Thread B gets to the wait, it will proceed im-
      mediately. Either way, the order of a1 and b1 is guaranteed.
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                   This use of semaphores is the basis of the names signal and wait, and
               in this case the names are conveniently mnemonic. Unfortunately, we will see
               other cases where the names are less helpful.
                   Speaking of meaningful names, sem isn’t one. When possible, it is a good
               idea to give a semaphore a name that indicates what it represents. In this case
               a name like a1Done might be good, where a1Done = 0 means that a1 has not
               executed and a1Done = 1 means it has.


               3.2     Rendezvous
               Puzzle: Generalize the signal pattern so that it works both ways. Thread A has
               to wait for Thread B and vice versa. In other words, given this code
                  Thread A                                    Thread B
                     1 statement a1                             1 statement b1
                     2 statement a2                             2 statement b2

               we want to guarantee that a1 happens before b2 and b1 happens before a2. In
               writing your solution, be sure to specify the names and initial values of your
               semaphores (little hint there).
                  Your solution should not enforce too many constraints. For example, we
               don’t care about the order of a1 and b1. In your solution, either order should
               be possible.
                  This synchronization problem has a name; it’s a rendezvous. The idea is
               that two threads rendezvous at a point of execution, and neither is allowed to
               proceed until both have arrived.
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      3.2 Rendezvous                                                            13


      3.2.1    Rendezvous hint
      The chances are good that you were able to figure out a solution, but if not,
      here is a hint. Create two semaphores, named aArrived and bArrived, and
      initialize them both to zero.
          As the names suggest, aArrived indicates whether Thread A has arrived at
      the rendezvous, and bArrived likewise.
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      3.2 Rendezvous                                                                   15


      3.2.2       Rendezvous solution
      Here is my solution, based on the previous hint:
         Thread A                                  Thread B
              1   statement a1                            1   statement b1
              2   aArrived.signal ()                      2   bArrived.signal ()
              3   bArrived.wait ()                        3   aArrived.wait ()
              4   statement a2                            4   statement b2

          While working on the previous problem, you might have tried something like
      this:
          Thread A                                 Thread B
              1   statement a1                            1   statement b1
              2   bArrived.wait ()                        2   bArrived.signal ()
              3   aArrived.signal ()                      3   aArrived.wait ()
              4   statement a2                            4   statement b2

         This solution also works, although it is probably less efficient, since it might
      have to switch between A and B one time more than necessary.
         If A arrives first, it waits for B. When B arrives, it wakes A and might
      proceed immediately to its wait in which case it blocks, allowing A to reach its
      signal, after which both threads can proceed.
         Think about the other possible paths through this code and convince yourself
      that in all cases neither thread can proceed until both have arrived.



      3.2.3       Deadlock #1
      Again, while working on the previous problem, you might have tried something
      like this:
          Thread A                                Thread B
              1   statement a1                            1   statement b1
              2   bArrived.wait ()                        2   aArrived.wait ()
              3   aArrived.signal ()                      3   bArrived.signal ()
              4   statement a2                            4   statement b2

          If so, I hope you rejected it quickly, because it has a serious problem. As-
      suming that A arrives first, it will block at its wait. When B arrives, it will also
      block, since A wasn’t able to signal aArrived. At this point, neither thread can
      proceed, and never will.
          This situation is called a deadlock and, obviously, it is not a successful
      solution of the synchronization problem. In this case, the error is obvious, but
      often the possibility of deadlock is more subtle. We will see more examples later.
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               3.3     Mutex
               A second common use for semaphores is to enforce mutual exclusion. We have al-
               ready seen one use for mutual exclusion, controlling concurrent access to shared
               variables. The mutex guarantees that only one thread accesses the shared vari-
               able at a time.
                   A mutex is like a token that passes from one thread to another, allowing one
               thread at a time to proceed. For example, in The Lord of the Flies a group of
               children use a conch as a mutex. In order to speak, you have to hold the conch.
               As long as only one child holds the conch, only one can speak.
                   Similarly, in order for a thread to access a shared variable, it has to “get”
               the mutex; when it is done, it “releases” the mutex. Only one thread can hold
               the mutex at a time.
                   Puzzle: Add semaphores to the following example to enforce mutual exclu-
               sion to the shared variable count.
                   Thread A                                   Thread B
                     count = count + 1                          count = count + 1
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      3.3 Mutex                                                                   17


      3.3.1    Mutual exclusion hint
      Create a semaphore named mutex that is initialized to 1. A value of one means
      that a thread may proceed and access the shared variable; a value of zero means
      that it has to wait for another thread to release the mutex.
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      3.4 Multiplex                                                                    19


      3.3.2     Mutual exclusion solution
      Here is a solution:
         Thread A                                     Thread B
            mutex.wait ()                                mutex.wait ()
                // critical section                          // critical section
                count = count + 1                            count = count + 1
            mutex.signal ()                              mutex.signal ()

          Since mutex is initially 1, whichever thread gets to the wait first will be able
      to proceed immediately. Of course, the act of waiting on the semaphore has the
      effect of decrementing it, so the second thread to arrive will have to wait until
      the first signals.
          I have indented the update operation to show that it is contained within the
      mutex.
          In this example, both threads are running the same code. This is sometimes
      called a symmetric solution. If the threads have to run different code, the solu-
      tion is asymmetric. Symmetric solutions are often easier to generalize. In this
      case, the mutex solution can handle any number of concurrent threads without
      modification. As long as every thread waits before performing an update and
      signals after, then no two threads will access count concurrently.
          Often the code that needs to be protected is called the critical section, I
      suppose because it is critically important to prevent concurrent access.
          In the tradition of computer science and mixed metaphors, there are several
      other ways people sometimes talk about mutexes. In the metaphor we have been
      using so far, the mutex is a token that is passed from one thread to another.
          In an alternative metaphor, we think of the critical section as a room, and
      only one thread is allowed to be in the room at a time. In this metaphor,
      mutexes are called locks, and a thread is said to lock the mutex before entering
      and unlock it while exiting. Occasionally, though, people mix the metaphors
      and talk about “getting” or “releasing” a lock, which doesn’t make much sense.
          Both metaphors are potentially useful and potentially misleading. As you
      work on the next problem, try out both ways of thinking and see which one
      leads you to a solution.


      3.4     Multiplex
      Puzzle: Generalize the previous solution so that it allows multiple threads to
      run in the critical section at the same time, but it enforces an upper limit on
      the number of concurrent threads. In other words, no more than n threads can
      run in the critical section at the same time.
         This pattern is called a multiplex. In real life, the multiplex problem occurs
      at busy nightclubs where there is a maximum number of people allowed in the
      building at a time, either to maintain fire safety or to create the illusion of
      exclusivity.
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                   At such places a bouncer usually enforces the synchronization constraint by
               keeping track of the number of people inside and barring arrivals when the room
               is at capacity. Then, whenever one person leaves another is allowed to enter.
                   Enforcing this constraint with semaphores may sound difficult, but it is
               almost trivial.
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      3.5 Barrier                                                                     21


      3.4.1    Multiplex solution
      To allow multiple threads to run in the critical section, just initialize the mutex
      to n, which is the maximum number of threads that should be allowed.
          At any time, the value of the semaphore represents the number of additional
      threads that may enter. If the value is zero, then the next thread will block
      until one of the threads inside exits and signals. When all threads have exited
      the value of the semaphore is restored to n.
          Since the solution is symmetric, it’s conventional to show only one copy of the
      code, but you should imagine multiple copies of the code running concurrently
      in multiple threads.

                               Listing 3.1: Multiplex solution
         1 multiplex.wait ()
         2     critical section
         3 multiplex.signal ()

          What happens if the critical section is occupied and more than one thread
      arrives? Of course, what we want is for all the arrivals to wait. This solution
      does exactly that. Each time an arrival joins the queue, the semaphore is decre-
      mented, so that the value of the semaphore (negated) represents the number of
      threads in queue.
          When a thread leaves, it signals the semaphore, incrementing its value and
      allowing one of the waiting threads to proceed.
          Thinking again of metaphors, in this case I find it useful to think of the
      semaphore as a set of tokens (rather than a lock). As each thread invokes wait,
      it picks up one of the tokens; when it invokes signal it releases one. Only a
      thread that holds a token can enter the room. If no tokens are available when
      a thread arrives, it waits until another thread releases one.
          In real life, ticket windows sometimes use a system like this. They hand
      out tokens (sometimes poker chips) to customers in line. Each token allows the
      holder to buy a ticket.


      3.5     Barrier
      Consider again the Rendezvous problem from Section 3.2. A limitation of the
      solution we presented is that it does not work with more than two threads.
          Puzzle: Generalize the rendezvous solution. Every thread should run the
      following code:

                                  Listing 3.2: Barrier code
         1 rendezvous
         2 critical point

         The synchronization requirement is that no thread executes critical point
      until after all threads have executed rendezvous.
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                   You can assume that there are n threads and that this value is stored in a
               variable, n, that is accessible from all threads.
                   When the first n − 1 threads arrive they should block until the nth thread
               arrives, at which point all the threads may proceed.
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      3.5 Barrier                                                                   23


      3.5.1     Barrier hint
      For many of the problems in this book I will provide hints by presenting the
      variables I used in my solution and explaining their roles.

                                  Listing 3.3: Barrier hint
         1    int n                 // the number of threads
         2    int count = 0
         3    Semaphore mutex = 1
         4    Semaphore barrier = 0

          count keeps track of how many threads have arrived. mutex provides exclu-
      sive access to count so that threads can increment it safely.
          barrier is locked (zero or negative) until all threads arrive; then it should
      be unlocked (1 or more).
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      3.5 Barrier                                                                     25


      3.5.2     Barrier non-solution
      First I will present a solution that is not quite right, because it is useful to
      examine incorrect solutions and figure out what is wrong.

                              Listing 3.4: Barrier non-solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count = count + 1
         5    mutex.signal ()
         6
         7    if (count == n) barrier.signal ()
         8
         9    barrier.wait ()
        10
        11    critical point

          Since count is protected by a mutex, it counts the number of threads that
      pass. The first n − 1 threads wait when they get to the barrier, which is initially
      locked. When the nth thread arrives, it unlocks the barrier.
          Puzzle: What is wrong with this solution?
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      3.5 Barrier                                                                    27


      3.5.3    Deadlock #2
      The problem is a deadlock.
          An an example, imagine that n = 5 and that 4 threads are waiting at the
      barrier. The value of the semaphore is the number of threads in queue, negated,
      which is -4.
          When the 5th thread signals the barrier, one of the waiting threads is allowed
      to proceed, and the semaphore is incremented to -3.
          But then no one signals the semaphore again and none of the other threads
      can pass the barrier. This is a second example of a deadlock.
          Puzzle: Fix this problem.
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      3.5 Barrier                                                                     29


      3.5.4     Barrier solution
      Finally, here is a working barrier:

                                Listing 3.5: Barrier solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count = count + 1
         5    mutex.signal ()
         6
         7    if (count == n) barrier.signal ()
         8
         9    barrier.wait ()
        10    barrier.signal ()
        11
        12    critical point

          The only change is another signal after waiting at the barrier. Now as each
      thread passes, it signals the semaphore so that the next thread can pass.
          This pattern, a wait and a signal in rapid succession, occurs often enough
      that it has a name; it’s called a turnstile, because it allows one thread to pass
      at a time, and it can be locked to bar all threads.
          In its initial state (zero), the turnstile is locked. The nth thread unlocks it
      and then all n threads go through.
          After the nth thread, what state is the turnstile in? Is there any way the
      barrier might be signalled more than once?
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      3.6 Reusable barrier                                                          31


      3.5.5     Deadlock #3
      Since only one thread at a time can pass through the mutex, and only one
      thread at a time can pass through the turnstile, it might seen reasonable to put
      the turnstile inside the mutex, like this:

                             Listing 3.6: Bad barrier solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count = count + 1
         5        if (count == n) barrier.signal ()
         6
         7        barrier.wait ()
         8        barrier.signal ()
         9    mutex.signal ()
        10
        11    critical point

          This turns out to be a bad idea because it can cause a deadlock.
          Imagine that the first thread enters the mutex and then blocks when it
      reaches the turnstile. Since the mutex is locked, no other threads can enter,
      so the condition, count==n, will never be true and no one will ever unlock the
      turnstile.
          In this case the deadlock is fairly obvious, but it demonstrates a common
      source of deadlocks: blocking on a semaphore while holding a mutex.
          Does this code always create a deadlock? Can you find an execution path
      through this code that does not cause a deadlock?


      3.6      Reusable barrier
      Often a set of cooperating threads will perform a series of steps in a loop and
      synchonize at a barrier after each step. For this application we need a reusable
      barrier that locks itself after all the threads have passed through.
         Puzzle: Rewrite the barrier solution so that after all the threads have passed
      through, the turnstile is locked again.
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      3.6 Reusable barrier                                                        33


      3.6.1    Reusable barrier hint
      Here’s a hint about how to do it. Just as the nth thread unlocked the turnstile
      on the way in, it should be the nth thread that locks it on the way out.
         Here are the variables I used:

                            Listing 3.7: Reusable barrier hint
         1 int count = 0
         2 Semaphore mutex = 1
         3 Semaphore turnstile = 0
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      3.6 Reusable barrier                                                        35


      3.6.2     Reusable barrier non-solution #1
      Once again, we will start with a simple attempt at a solution and gradually
      improve it:

                        Listing 3.8: Reusable barrier non-solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count++
         5    mutex.signal ()
         6
         7    if (count == n) turnstile.signal ()
         8
         9    turnstile.wait ()
        10    turnstile.signal ()
        11
        12    critical point
        13
        14    mutex.wait ()
        15        count--
        16    mutex.signal ()
        17
        18    if (count == 0) turnstile.wait ()

         count++ is shorthand for count = count + 1 and count-- for count =
      count - 1
         Notice that the code after the turnstile is pretty much the same as the code
      before it. Again, we have to use the mutex to protect access to the shared
      variable count.
         Tragically, though, this code is not quite correct. Puzzle: What is the
      problem?
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      3.6 Reusable barrier                                                             37


      3.6.3     Reusable barrier problem #1
      There is a problem spot at Line 6 of the previous code.
          If the n − 1th thread is interrupted at this point, and then the nth thread
      comes through the mutex, both threads will find that count==n and both
      threads will signal the turnstile. In fact, it is even possible that all the threads
      will signal the turnstile.
          If this barrier isn’t reused, then multiple signals are not a problem. For a
      reusable barrier, they are.
          Puzzle: Fix the problem.
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      3.6 Reusable barrier                                                           39


      3.6.4     Reusable barrier non-solution #2
      This attempt fixes the previous error, but a subtle problem remains.

                         Listing 3.9: Reusable barrier non-solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count++
         5        if (count == n) turnstile.signal ()
         6    mutex.signal ()
         7
         8    turnstile.wait ()
         9    turnstile.signal ()
        10
        11    critical point
        12
        13    mutex.wait ()
        14        count--
        15        if (count == 0) turnstile.wait ()
        16    mutex.signal ()

          In both cases the check is inside the mutex so that a thread cannot be
      interrupted after changing the counter and before checking it.
          Tragically, this code is still not correct. Remember that this barrier will be
      inside a loop. So, after executing the last line, each thread will go back to the
      rendezvous.
          Puzzle: Identify and fix the problem.
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      3.6 Reusable barrier                                                           41


      3.6.5    Reusable barrier hint
      As it is currently written, this code allows a precocious thread to pass through
      the second mutex, then loop around and pass through the first mutex and the
      turnstile, effectively getting ahead of the other threads by a lap.
         To solve this problem we can use two turnstiles.

                             Listing 3.10: Reusable barrier hint
         1 Semaphore turnstile = 0;
         2 Semaphore turnstile2 = 1;
         3 Semaphore mutex = 1;

          Initally the first is locked and the second is open. When all the threads
      arrive at the first, we lock the second and unlock the first. When all the threads
      arrive at the second we relock the first, which makes it safe for the threads to
      loop around to the beginning, and then open the second.
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      3.6 Reusable barrier                                                           43


      3.6.6     Reusable barrier solution

                           Listing 3.11: Reusable barrier solution
         1    rendezvous
         2
         3    mutex.wait ()
         4        count++
         5        if (count == n)
         6            turnstile2.wait ()          // lock the second
         7            turnstile.signal ()         // unlock the first
         8    mutex.signal ()
         9
        10    turnstile.wait ()                   // first turnstile
        11    turnstile.signal ()
        12
        13    critical point
        14
        15    mutex.wait ()
        16        count--
        17        if (count == 0)
        18            turnstile.wait ()           // lock the first
        19            signal (turnstile2)         // unlock the second
        20    mutex.signal ()
        21
        22    wait (turnstile2)                   // second turnstile
        23    signal (turnstile2)

          This example is, unfortunately, typical of many synchronization problems:
      it is difficult to be sure that a solution is correct. Often there is a subtle way
      that a particular path through the program can cause an error.
          To make matters worse, testing an implementation of a solution is not much
      help. The error might occur very rarely because the particular path that causes
      it might require a spectacularly unlucky combination of circumstances. Such
      errors are almost impossible to reproduce and debug by conventional means.
          The only alternative is to examine the code carefully and “prove” that it is
      correct. I put “prove” in quotation marks because I don’t mean, necessarily,
      that you have to write a formal proof (although there are zealots who encourage
      such lunacy).
          The kind of proof I have in mind is more informal. We can take advantage
      of the structure of the code, and the idioms we have developed, to assert, and
      then demonstrate, a number of intermediate-level claims about the program.
      For example:

        1. Only the nth thread can lock or unlock the turnstiles.

        2. Before a thread can unlock the first turnstile, it has to close the second,
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                        and vice versa; therefore it is impossible for one thread to get ahead of
                        the others by more than one turnstile.

                  By finding the right kinds of statements to assert and prove, you can some-
               times find a concise way to convince yourself (or a skeptical colleague) that your
               code is bulletproof.

               3.6.7       Barrier objects
               It is natural to encapsulate a barrier in an object. The instance variables are n,
               count, turnstile and turnstile2.
                   Here is the code to initialize and use a Barrier object:

                                          Listing 3.12: Barrier interface
                    1    Barrier barrier = 12           // initialize a new barrier
                    2    barrier.wait ()                // wait at a barrier

                   In this case the first 11 threads will block when they invoke wait. When the
               12th thread arrives, all threads unblock. If the barrier object is implemented
               using the code in Section 3.5.4, the barrier object will be reusable; that is,
               after the first batch of 12 thread pass, the next batch has to wait until the 24th
               thread arrives.

               3.6.8       Kingmaker pattern
               As threads pass a barrier, it is sometimes useful to assign identifiers to the
               threads or to choose one of them to perform a special function. The counter
               inside the barrier provides an obvious way to solve this problem.
                   All we need is the ability to store a value in each thread. For example, each
               thread might have a variable named threadNum that records a different number
               for each thread. This kind of variable is called a thread variable or a local
               variable to distinguish it from the shared variables we have been using.
                   The following example assigns a different integer to each thread that passes.
               Here are the variable declarations:

                                      Listing 3.13: Kingmaker initialization
                    1    Semaphore mutex = 1
                    2    int count = 0
                    3    local int threadNum
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      3.6 Reusable barrier                                                   45


         And here is the code:

                             Listing 3.14: Kingmaker code
         1 mutex.wait ()
         2     count++
         3     threadNum = count
         4 mutex.signal ()

         Because count is a shared variable, any thread can increment it and all
      threads see the changed value. On the other hand, when a thread assigns a
      value to threadNum, only the local version of threadNum changes. The other
      threads are unaffected.
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      3.7 FIFO queue                                                                47


      3.7     FIFO queue
      If there is more than one thread waiting in queue when a semaphore is signalled,
      there is usually no way to tell which thread will be woken. Some implemen-
      tations wake threads up in a particular order, like first-in-first-out, but the
      semantics of semaphores don’t require any particular order. As an alternative,
      it might be useful to assign priorities to threads and wake them in order of
      priority.
          But even if your environment doesn’t provide first-in-first-out queueing, you
      can build it yourself.
          Puzzle: use an array of semaphores to build a first-in-first-out queue that
      can hold up to n threads. Each time the semaphore sem is signalled, the thread
      at the head of the queue should proceed. You should not make any assumption
      about the implementation of your semaphores.
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      3.7 FIFO queue                                                              49


      3.7.1    FIFO queue hint
      Here are the variables I used.

                              Listing 3.15: FIFO queue hint
         1 local int i
         2 Semaphore array[n+1] = { 0, 1, 1, ..., 1 }
         3 Semaphore sem = 0

          The local variable i is used by each thread to keep track of where it is in
      queue. The array of semaphores controls the flow of threads through the queue.
      Assume that the elements of the array are indexed from 1 to n+1. Initially, the
      first semaphore is locked and all the rest are open. sem is the semaphore that
      is signalled to waken the thread at the head of the queue.
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      3.7 FIFO queue                                                                51


      3.7.2     FIFO queue solution
      Here is my solution:

                             Listing 3.16: FIFO queue solution
         1    i = n
         2    array[i+1].wait ()
         3    while (i > 0) {
         4        array[i].wait ()
         5        array[i+1].signal ()
         6        i--
         7    }

          When a first thread arrives, it gets the i+1 semaphore and then enters the
      loop. To advance in the queue, the thread has to get the next semaphore, i. If
      it succeeds, then it releases the previous semaphore, which allows a subsequent
      thread to proceed. If it fails, it waits while holding the previous semaphore,
      which blocks a subsequent thread.
          The first thread to arrive will cascade down to array[1], which is initially
      locked. When it blocks, it will hold array[2]. The next thread will block on
      array[2] while holding array[3], and so on.
          Eventually, some external thread will signal sem to allow a thread to exit
      the queue. To make that work, we can use a helper thread running this loop:

                        Listing 3.17: FIFO queue solution (helper)
         1 while (1) {
         2     sem.wait ()
         3     array[1].signal ()
         4 }

          So, each time sem is signalled, the helper thread signals array[1]. That
      wakes up the first thread in queue, which will signal array[2] and then proceed.
      The second thread in queue will advance one position, which allows each of the
      following threads, in turn, to advance one position. At each step in the cascade,
      we know that there is only one thread waiting on each semaphore, and that each
      thread obtains the next semaphore before releasing the one it has. Therefore,
      no thread can overtake another and the threads exit the queue in FIFO order.
          That is, unless the queue is full. In that case, more than one thread can
      be queued on array[n+1], and we have no control over which one enters the
      queue next. So, to be precise, we can say that threads will leave the queue in
      the order they pass array[n+1].
          Naturally, we can encapsulate this solution in a object, called a Fifo, that
      has the following syntax:

                        Listing 3.18: FIFO queue solution (helper)
         1 Fifo fifo(n)
         2 fifo.wait ()
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                    3   fifo.signal ()

                  The initializer creates a Fifo with n places in queue. wait and signal have
               the same semantics as for semaphores, except that threads proceed in the order
               they arrive, provided that there are no more than n in queue at a time.
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      Chapter 4

      Classical synchronization
      problems

      In this chapter we examine the classical problems that appear in nearly every
      operating systems class. They are usually presented in terms of real-world
      problems, so that the statement of the problem is clear and so that students
      can bring their intuition to bear.
          For the most part, though, these problems do not happen in the real world, or
      if they do, the real-world solutions are not much like the kind of synchronization
      code we are working with.
          The reason we are interested in these problems is that they are analogous
      to common problems that operating systems (and some applications) need to
      solve. For each classical problem I will present the classical formulation, and
      also explain the analogy to the corresponding OS problem.


      4.1     Producer-consumer problem
      In multithreaded programs there is often a division of labor between threads. In
      one common pattern, some threads are producers and some are consumers. Pro-
      ducers create items of some kind and add them to a data structure; consumers
      remove the items and process them.
          Event-driven programs are a good example. An “event” is something that
      happens that requires the program to respond: the user presses a key or moves
      the mouse, a block of data arrives from the disk, a packet arrives from the
      network, a pending operation completes.
          Whenever an event occurs, a producer thread creates an event object and
      adds it to the event buffer. Concurrently, consumer threads take events out
      of the buffer and process them. In this case, the consumers are called “event
      handlers.”
          There are several synchronization constraints that we need to enforce to
      make this system work correctly:
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                    • While an item is being added to or removed from the buffer, the buffer is
                      in an inconsistent state. Therefore, threads must have exclusive access to
                      the buffer.

                    • If a consumer thread arrives while the buffer is empty, it blocks until a
                      producer adds a new item.

                    Assume that producers perform the following operations over and over:

                                       Listing 4.1: Basic producer code
                    1   event = waitForEvent ()
                    2   addEventToBuffer (event)

                    Also, assume that consumers perform the following operations:

                                       Listing 4.2: Basic consumer code
                    1   event = getEventFromBuffer ()
                    2   processEvent (event)

                   As specified above, access to the buffer has to be exclusive, but
               waitForEvent and processEvent can run concurrently.
                   Puzzle: Add synchronization statements to the producer and consumer code
               to enforce the synchronization constraints.
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      4.1 Producer-consumer problem                                                 55


      4.1.1    Producer-consumer hint
      Here are the variables you might want to use:

                       Listing 4.3: Producer-consumer initialization
         1 Semaphore mutex = 1
         2 Semaphore length = 0
         3 local Event event

          Not surprisingly, mutex provides exclusive access to the buffer. When length
      is positive, it indicates the number of items in the buffer. When it is negative,
      it indicates the number of consumer threads in queue.
          event is a local variable (each thread has its own variable with this name).
      Let’s assume that capital-E Event is some type of object.
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      4.1 Producer-consumer problem                                                57


      4.1.2     Producer-consumer solution
      Here is the producer code from my solution.

                              Listing 4.4: Producer solution
         1 event = waitForEvent ()
         2 mutex.wait ()
         3     addEventToBuffer (event)
         4     length.signal ()
         5 mutex.signal ()

         The producer doesn’t have to get exclusive access to the buffer until it gets
      an event. Several threads can run waitForEvent concurrently.
         The length semaphore keeps track of the number of items in the buffer.
      Each time the producer adds an item, it signals length, incrementing it by one.
         The consumer code is similar.

                              Listing 4.5: Consumer solution
         1    length.wait ()
         2    mutex.wait ()
         3        event = getEventFromBuffer ()
         4    mutex.signal ()
         5    processEvent (event)

          Again, the buffer operation is protected by a mutex, but before the con-
      sumer gets to it, it has to decrement length. If length is zero or negative, the
      consumer blocks until a producer signals.
          Although this solution is correct, there is an opportunity to make one small
      improvement to its performance. Imagine that there is at least one consumer
      in queue when a producer signals length. If the scheduler allows the consumer
      to run, what happens next? It immediately blocks on the mutex that is (still)
      held by the producer.
          Blocking and waking up are moderately expensive operations; performing
      them unnecessarily can impair the performance of a program. So it would
      probably be better to rearrange the producer like this:

                         Listing 4.6: Improved producer solution
         1    event = waitForEvent ()
         2    mutex.wait ()
         3        addEventToBuffer (event)
         4    mutex.signal ()
         5    length.signal ()

         Now we don’t bother unblocking a consumer until we know it can proceed
      (except in the rare case that another producer beats it to the mutex).
         There’s one other thing about this solution that might bother a stickler. In
      the hint section I claimed that the length semaphore keeps track of the number
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               of items in queue. But looking at the consumer code, we see the possibility that
               several consumers could decrement length before any of them gets the mutex
               and removes an item from the buffer. At least for a little while, length would
               be inaccurate.
                   We might try to address that by checking the buffer inside the mutex:

                                     Listing 4.7: Broken consumer solution
                    1   mutex.wait ()
                    2       length.wait ()
                    3       event = getEventFromBuffer ()
                    4   mutex.signal ()
                    5   processEvent (event)

                    This is a bad idea.
                    Puzzle: why?
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      4.1 Producer-consumer problem                                                  59


      4.1.3    Deadlock #4
      If the consumer is running this code

                           Listing 4.8: Broken consumer solution
         1 mutex.wait ()
         2     length.wait ()
         3     event = getEventFromBuffer ()
         4 mutex.signal ()
         5
         6 processEvent (event)

      it can cause a deadlock. Imagine that the buffer is empty. A consumer arrives,
      gets the mutex, and then blocks on length. When the producer arrives, it
      blocks on mutex and the system comes to a griding halt.
          This is a common error in synchronization code: any time you wait for a
      semaphore while holding a mutex, there is a danger of deadlock. When you are
      checking a solution to a synchronization problem, you should check for this kind
      of deadlock.

      4.1.4    Producer-consumer with a finite buffer
      In the example I described above, event-handling threads, the shared buffer is
      usually infinite (more accurately, it is bounded by system resources like physical
      memory and swap space).
          In the kernel of the operating system, though, there are limits on available
      space. Buffers for things like disk requests and network packets are usually fixed
      size. In situations like these, we have an additional synchronization constraint:

         • If a producer arrives when the buffer is full, it blocks until a consumer
           removes an item.

         Assume that we know the size of the buffer. Call it bufferSize. Since we
      have a semaphore that is keeping track of the number of items, it is tempting
      to write something like

                          Listing 4.9: Broken finite buffer solution
         1 if (length >= bufferSize)
         2     block ()

          But we can’t. Remember that we can’t check the current value of a
      semaphore; the only operations are wait and signal.
          Puzzle: write producer-consumer code that handles the finite-buffer con-
      straint.
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      4.1 Producer-consumer problem                                                61


      4.1.5    Finite buffer producer-consumer hint
      Add a second semaphore to keep track of the number of available spaces in the
      buffer.

                Listing 4.10: Finite-buffer producer-consumer initialization
         1 Semaphore mutex = 1
         2 Semaphore length = 0
         3 Semaphore spaces = bufferSize

          When a consumer removes an item it should signal spaces. When a producer
      arrives it should decrement spaces, at which point it might block until the next
      consumer signals.
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      4.2 Readers-writers problem                                                    63


      4.1.6     Finite buffer producer-consumer solution
      Here is a solution.

                       Listing 4.11: Finite buffer consumer solution
         1    length.wait ()
         2    mutex.wait ()
         3        event = getEventFromBuffer ()
         4    mutex.signal ()
         5    spaces.signal ()
         6
         7    processEvent (event)

         The producer code is symmetric, in a way:

                        Listing 4.12: Finite buffer producer solution
         1    event = waitForEvent ()
         2
         3    spaces.wait()
         4    mutex.wait ()
         5        addEventToBuffer (event)
         6    mutex.signal ()
         7    length.signal ()

          In order to avoid deadlock, producers and consumers check availability be-
      fore getting the mutex. For best performance, they release the mutex before
      signalling.


      4.2      Readers-writers problem
      The next classical problem, called the Reader-Writer Problem, pertains to any
      situation where a data structure, database, or file system is read and modified
      by concurrent threads. While the data structure is being written or modified
      it is often necessary to bar other threads from reading, in order to prevent a
      reader from interrupting a modification in progress and reading inconsistent or
      invalid data.
          As in the producer-consumer problem, the solution is asymmetric. Readers
      and writers execute different code before entering the critical section. The basic
      synchronization constraints are:

        1. Any number of readers can be in the critical section simultaneously.
        2. Writers must have exclusive access to the critical section.

         In other words, a writer cannot enter the critical section while any other
      thread (reader or writer) is there, and while the writer is there, no other thread
      may enter.
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                  Puzzle: Use semaphores to enforce these constraints, while allowing readers
               and writers to access the data structure, and avoiding the possibility of deadlock.
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      4.2 Readers-writers problem                                              65


      4.2.1     Readers-writers hint
      Here is a set of variables that is sufficient to solve the problem.

                         Listing 4.13: Readers-writers initialization
         1 int readers = 0;
         2 Semaphore mutex = 1;
         3 Semaphore roomEmpty = 1;

          The counter readers keeps track of how many readers are in the room.
      mutex protects the shared counter. roomEmpty is 1 if there are no threads
      (readers or writers) in the critical section, and 0 otherwise.
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      4.2 Readers-writers problem                                                     67


      4.2.2     Readers-writers solution
      The code for writers is simple. If the critical section is empty, a writer may
      enter, but entering has the effect of excluding all other threads:

                                Listing 4.14: Writers solution
         1 roomEmpty.wait ()
         2     critical section for writers
         3 roomEmpty.signal ()

          When the writer exits, can it be sure that the room is now empty? Yes,
      because it knows that no other thread can have entered while it was there.
          The code for readers is similar to the barrier code we saw in the previous
      section. We keep track of the number of readers in the room so that we can
      give a special assignment to the first to arrive and the last to leave.
          The first reader that arrives has to wait for roomEmpty. If the room is empty,
      then the reader proceeds and, at the same time, bars writers. Subsequent readers
      can still enter because none of them will try to wait on roomEmpty.
          If a reader arrives while there is a writer in the room, it waits on roomEmpty.
      Since it holds the mutex, any subsequent readers queue on mutex.

                               Listing 4.15: Readers solution
         1    mutex.wait ()
         2        readers++
         3        if (readers == 1)
         4            roomEmpty.wait ()        // first in locks
         5    mutex.signal ()
         6
         7       critical section for readers
         8
         9    mutex.wait ()
        10        readers--
        11        if (readers == 0)
        12            roomEmpty.signal () // last out unlocks
        13    mutex.signal ()

         The code after the critical section is similar. The last reader to leave the
      room turns out the lights—that is, it signals roomEmpty, possibly allowing a
      waiting writer to enter.
         Again, to demonstrate that this code is correct, it is useful to assert and
      demonstrate a number of claims about how the program must behave. Can you
      convince yourself that the following are true?

         • Only one reader can queue waiting for roomEmpty, but several writers
           might be queued.

         • When a reader signals roomEmpty the room must be empty.
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                    Patterns similar to this reader code are common: the first thread into a
               section locks a semaphore (or queues) and the last one out unlocks it. In fact,
               it is so common we should give it a name and wrap it up in an object.
                    The name of the pattern is “Film Louie,” which stands for “first in locks
               mutex, last out unlocks it, eh?” For convenience, we’ll call the pattern a Louie
               and exapsulate it in an object, Louie, with the following instance variable:

                                          Listing 4.16: Louie definition
                    1   int counter
                    2   Semaphore mutex

                    The methods that operate on Louies are lock and unlock.

                                       Listing 4.17: Louie lock definition
                    1   function lock (semaphore)
                    2       wait (mutex)
                    3           counter++
                    4           if (counter = 1)
                    5               wait (semaphore)
                    6       signal (mutex)

                   lock takes one parameter, a semaphore that it will check and possibly hold.
               It performs the following operations:

                    • If the semaphore is locked, then the calling thread and all subsequent
                      callers will block.

                    • When the semaphore is signalled, all waiting threads and all subsequent
                      callers can proceed.

                    • While the filo is locked, the semaphore is locked.

                   Inside the definition of lock, the references to mutex and counter refer to
               the instance variables of the current object, the Louie the method was invoked
               on.
                   Here is the code for unlock:

                                      Listing 4.18: Louie unlock definition
                    1   function filoUnlock (semaphore)
                    2       wait (mutex)
                    3           counter--
                    4           if (counter = 0)
                    5               signal (semaphore)
                    6       signal (mutex)

                    unlock has the following behavior:
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      4.2 Readers-writers problem                                                        69


         • This function does nothing until every thread that called lock also calls
           unlock.

         • When the last thread calls unlock, it unlocks the semaphore.

         Using these functions, we can rewrite the reader code more simply:

                             Listing 4.19: Concise reader solution
         1 readLouie.lock (roomEmpty)
         2    critical section for readers
         3 readLouie.unlock (roomEmpty)

         readLouie is a shared Louie object whose counter is initially zero.

      4.2.3     Starvation
      In the previous solution, is there any danger of deadlock? In order for a deadlock
      to occur, it must be possible for a thread to wait on a semaphore while holding
      another, and thereby prevent itself from being signalled.
          In this example, deadlock is not possible, but there is a related problem that
      is almost as bad: it is possible for a writer to starve.
          If a writer arrives while there are readers in the critical section, it might wait
      in queue forever while readers come and go. As long as a new reader arrives
      before the last of the current readers exits, there will always be at least one
      reader in the room.
          This situation is not a deadlock, because some threads are making progress,
      but it is not exactly desireable. A program like this might work as long as the
      load on the system is low, because then there are plenty of opportunities for the
      writers. But as the load increases the behavior of the system would deteriorate
      quickly (at least from the point of view of writers).
          Puzzle: Extend this solution so that when a writer arrives, the existing
      readers can finish, but no additional readers may enter.
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      4.2 Readers-writers problem                                                      71


      4.2.4     No-starve readers-writers hint
      Here’s a hint. You can add a turnstile for the readers and allow writers to lock it.
      The writers have to pass through the same turnstile, but they should check the
      roomEmpty semaphore while they are inside the turnstile. If a writer gets stuck
      in the turnstile it has the effect of forcing the readers to queue at the turnstile.
      Then when the last reader leaves the critical section, we are guaranteed that at
      least one writer enters next (before any of the queued readers can proceed).

                    Listing 4.20: No-starve readers-writers initialization
         1 Louie readers = 0
         2 Semaphore roomEmpty = 1
         3 Semaphore turnstile = 1

          readers keeps track of how many readers are in the room; the Louie locks
      roomEmpty when the first reader enters and unlocks it when the last reader
      leaves.
          turnstile is a turnstile for readers and a mutex for writers.
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      4.2 Readers-writers problem                                                      73


      4.2.5     No-starve readers-writers solution
      Here is the writer code:

                           Listing 4.21: No-starve writer solution
         1 turnstile.wait ()
         2
         3     roomEmpty.wait ()
         4
         5     critical section for writers
         6
         7 turnstile.signal ()
         8
         9 roomEmpty.signal ()

         If a writer arrives while there are readers in the room, it will block at Line 3,
      which means that the turnstile will be locked. This will bar readers from entering
      while a writer is queued. Here is the reader code:

                           Listing 4.22: No-starve reader solution
         1    turnstile.wait ()
         2    turnstile.signal ()
         3
         4    filo.lock (roomEmpty)
         5        critical section for readers
         6    filo.unlock (roomEmpty)

          When the last reader leaves, it signals roomEmpty, unblocking the waiting
      writer. The writer immediately enters its critical section, since none of the
      waiting readers can pass the turnstile.
          When the writer exits it signals turnstile, which unblocks a waiting thread,
      which could be a reader or a writer. Thus, this solution guarantees that at least
      one writer gets to proceed, but it is still possible for a reader to enter while
      there are writers queued.
          Depending on the application, it might be a good idea to give more priority
      to writers. For example, if writers are making time-critical updates to a data
      structure, it is best to minimize the number of readers that see the old data
      before the writer has a chance to proceed.
          In general, though, it is up to the scheduler, not the programmer, to choose
      which waiting thread to unblock. Some schedulers use a first-in-first-out queue,
      which means that threads are unblocked in the same order they queued. Other
      schedulers choose at random, or according to a priority scheme based on the
      properties of the waiting threads.
          If your programming environment makes it possible to give some threads
      priority over others, then that is a simple way to address this issue. If not, you
      will have to find another way.
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                  Puzzle: Write a solution to the readers-writers problem that gives priority
               to writers. That is, once a writer arrives, no readers should be allowed to enter
               until all writers have left the system.
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      4.2 Readers-writers problem                                                  75


      4.2.6     Writer-priority readers-writers hint
      As usual, the hint is in the form of variables used in the solution.

                 Listing 4.23: Writer-priority readers-writers initialization
         1    Louie readLouie, writeLouie
         2    Semaphore mutex
         3    Semaphore noReaders = 1
         4    Semaphore noWriters = 1
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      4.2 Readers-writers problem                                                     77


      4.2.7    Writer-priority readers-writers solution
      Here is the reader code:

                        Listing 4.24: Writer-priority reader solution
         1 noReaders.wait()
         2     readLouie.lock (noWriters)
         3 noReaders.signal ()
         4
         5     critical section for readers
         6 readLouie.unlock (noWriters)

          If a reader is in the critical section, it holds noWriters, but it doesn’t hold
      noReaders. Thus if a writer arrives it can lock noReaders, which will cause
      subsequent readers to queue.
          When the last reader exits, it signals noWriters, allowing any queued writers
      to proceed.
          The writer code:

                        Listing 4.25: Writer-priority writer solution
         1 writeLouie.lock (noReaders)
         2     noWriters.wait ()
         3         critical section for writers
         4     noWriters.signal ()
         5 writeLouie.unlock (noReaders)

          When a writer is in the critical section it holds both noReaders and
      noWriters. This has the (relatively obvious) effect of insuring that there are no
      readers and no other writers in the critical section. In addition, writeLouie has
      the (less obvious) effect of allowing multiple writers to queue on noWriters, but
      keeping noReaders locked while they are there. Thus, many writers can pass
      through the critical section without without ever signalling noReaders. Only
      when the last writer exits can the readers enter.
          Of course, a drawback of this solution is that now it is possible for readers
      to starve (or at least face long delays). For some applications it might be better
      to get obsolete data with predictable turnaround times.
          Also, this solution does not quite satisfy all the requirements. While there
      is a writer in the critical section, it is possible for multiple readers to queue
      on noReaders. If a writer arrives, it will queue on noReaders along with the
      waiting readers. When the first writer leaves the critical section, the scheduler
      might allow the waiting readers to go ahead of the writer.
          Again, depending on the application, that possibility might be tolerable. If
      not, we can improve the situation by adding a mutex to the reader code:
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                            Listing 4.26: Writer-priority improved reader solution
                    1   mutex.wait ()
                    2       noReaders.wait()
                    3           readLouie.lock (noWriters)
                    4       noReaders.signal ()
                    5   mutex.signal ()
                    6
                    7       critical section for readers
                    8   readLouie.unlock (noWriters)

                   Now there can be at most one reader queued on noReaders. If a writer
               arrives, it will have to wait for any readers in the critical section, and it might
               have to wait for the queued reader, but that’s all.
                   You might want to keep this trick in mind. To limit the number of threads
               in a certain queue, surround it with a mutex or a multiplex.
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      4.3 No-starve mutex                                                            79


      4.3     No-starve mutex
      In the previous section, we addressed what I’ll call categorical starvation,
      in which one category of threads (readers) allows another category (writers) to
      starve. At a more basic level, we have to address the issue of thread starvation,
      which is the possibility that one thread might wait indefinitely while others
      proceed.
          For most concurrent applications, starvation is unacceptable, so we enforce
      the requirement of bounded waiting, which means that the time a thread
      waits on a semaphore (or anywhere else, for that matter) has to be provably
      finite.
          In part, starvation is the responsibility of the scheduler. Whenever multiple
      threads are ready to run, the scheduler decides which one or, on a parallel
      processor, which set of threads gets to run. If a thread is never scheduled, then
      it will starve, no matter what we do with semaphores.
          So in order to say anything about starvation, we have to start with some
      assumptions about the scheduler. If we are willing to make a strong assumption,
      we can assume that the scheduler uses one of the many algorithms that can
      be proven to enforce bounded waiting. If we don’t know what algorithm the
      scheduler uses, then we can get by with a weaker assumption:

            Property 1: if there is only one thread that is ready to run, the
            scheduler has to let it run.

          If we can assume Property 1, then we can build a system that is provably
      free of starvation. For example, if there are a finite number of threads, then any
      program that contains a barrier cannot starve, since eventually all threads but
      one will be waiting at the barrier, at which point the last thread has to run.
          In general, though, it is non-trivial to write programs that are free from
      starvation unless with make the stronger assumption:

            Property 2: if a thread is ready to run, then the time it waits until
            it runs is bounded.

         In our discussion so far, we have been assuming Property 2 implicitly, and
      we will continue to. On the other hand, you should know that many existing
      systems use schedulers that do not guarantee this property strictly.
         Even with Property 2, starvation rears its ugly head again when we introduce
      semaphores. In the definition of a semaphore, we said that when one thread
      executes signal, one of the waiting threads gets woken up. But we never said
      which one. Again, in order to say anything about starvation, we have to make
      assumptions about the behavior of semaphores.
         The weakest assumption that makes it possible to avoid starvation is:

            Property 3: if there are threads waiting on a semaphore when a
            thread executes signal, then one of the waiting threads has to be
            woken.
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                   This requirement may seem obvious, but it is not trivial. It has the effect
               of barring one form of problematic behavior, which is a thread that signals a
               semaphore while other threads are waiting, and then keeps running, waits on
               the same semaphore, and gets its own signal! If that were possible, that there
               would be nothing we could do to prevent starvation.
                   With Property 3, it becomes possible to avoid starvation, but even for some-
               time as simple as a mutex, it is not easy. For example, imagine three threads
               running the following code:

                                            Listing 4.27: Mutex loop
                    1    while (1) {
                    2        mutex.wait ()
                    3        critical section
                    4        mutex.signal ()
                    5    }

                   The while statement is an infinite loop; in other words, as soon as a thread
               leaves the critical section, it loops to the top and tries to get the mutex again.
                   Imagine that Thread A gets the mutex and Thread B and C wait. When A
               leaves, B enters, but before B leaves, A loops around and joins C in the queue.
               When B leaves, there is no guarantee that C goes next. In fact, if A goes next,
               and B joins the queue, then we are back to the starting position, and we can
               repeat the cycle forever. C starves.
                   The existence of this pattern proves that the mutex is vulnerable to star-
               vation. One solution to this problem is to change the implementation of the
               semaphore so that it guarantees a stronger property:

                        Property 4: if a thread is waiting at a semaphore, then the number
                        of threads that will be woken before it is bounded.

                   For example, if the semaphore maintains a first-in-first-out queue, then Prop-
               erty 4 holds because when a thread joins the queue, the number of threads ahead
               of it is finite, and no threads that arrive later can go ahead of it.
                   A semaphore that has Property 4 is sometimes called a strong semaphore;
               one that has only Property 3 is called a weak semaphore. We have shown that
               with weak semaphors, the simple mutex solution is vulnerable to starvation. In
               fact, Dijkstra conjectured that it is not possible to solve the mutex problem
               without starvation using only weak semaphores.
                   In 1979, J.M. Morris refuted the conjecture by solving the problem, assuming
               that the number of threads is finite [4]. If you are interested in this problem,
               the next section presents his solution. If this is not your idea of fun, you can
               just assume that semaphores have Property 4 and go on to Section 4.4.
                   Puzzle: write a solution to the mutual exclusion problem using weak
               semaphores. Your solution should provide the following guarantee: once a
               thread arrives and attempts to enter the mutex, there is a bound on the number
               of threads that can proceed ahead of it.
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      4.3 No-starve mutex                                                           81


      4.3.1     No-starve mutex hint
      Morris’s solution is similar to the reusable barrier in Section 3.6. It uses two
      turnstiles to create two waiting rooms before the critical section. The mechanism
      works in two phases. During the first phase, the first turnstile is open and the
      second is closed, so threads accumulate in the second room. During the second
      phase, the first turnstile is closed, so no new threads can enter, and the second
      is open, so the existing threads can get to the critical section.
          Although there may be an arbitrary number of threads in the waiting room,
      each one is guaranteed to enter the critical section before any future arrivals.
          Here are the variables I used in the solution (I changed the names Morris
      uses to make the structure clearer).

                            Listing 4.28: No-starve mutex hint
         1    int room1, room2
         2    Semaphore mutex
         3    Semaphore t1 = 1
         4    Semaphore t2 = 0

         room1 and room2 keep track of how many threads are in the waiting rooms.
      mutex helps protect the counters. t1 and t2 are the turnstiles.
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      4.3 No-starve mutex                                                              83


      4.3.2     No-starve mutex solution
      Here is Morris’s solution.
                               Listing 4.29: Morris’s algorithm
         1    mutex.wait ()
         2        room1++
         3    mutex.signal ()
         4
         5    t1.wait ()
         6        room2++
         7        mutex.wait ()
         8        room1--
         9
        10       if (room1 == 0)
        11           mutex.signal ()
        12           t2.signal ()
        13       else
        14           mutex.signal ()
        15           t1.signal ()
        16
        17    t2.wait ()
        18        room2--
        19
        20       // critical section
        21
        22       if (room2 == 0)
        23           t1.signal ()
        24       else
        25           t2.signal ()
          Before entering the critical section, a thread has to pass two turnstiles. These
      turnstiles divide the code into three “rooms”. Room 1 is Lines 1–5. Room 2 is
      lines 6–17. Room 3 is the rest. Speaking loosely, the counters room1 and room2
      keep track of the number of threads in each room.
          The counter room1 is protected by mutex in the usual way, but guard duty
      for room2 is split between t1 and t2. Similarly, responsibility for exclusive
      access to the critical section involves both t1 and t2. In order to enter the
      critical section, a thread has to hold one or the other, but not both. Then,
      before exiting, it gives up whichever one it has.
          To understand how this solution works, start by following a single thread all
      the way through. When it gets to Line 10, it holds mutex and t1. Once it checks
      room1, which is 0, it can release mutex and then open the second turnstile, t2.
      As a result, it doesn’t wait at Line 17 and it can safely decrement room2 and
      enter the critical section, because any following threads have to be queued on
      t1. Leaving the critical section, it finds room2 = 0 and releases t1, which brings
      us back to the starting state.
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                   Of course, the situation is more interesting if there is more than one thread.
               In that case, it is possible that when the lead thread gets to Line 10, other
               threads have entered the waiting room and queued on t1. Since room1 > 0, the
               lead thread leaves t2 locked and instead signals t1 to allow a following thread
               to enter Room 2. Since t2 is still locked, neither thread can enter Room 3.
                   Eventually (because there are a finite number of threads), a thread will get
               to Line 10 before another threads enters Room 1, in which case it will open t2,
               allowing any threads there to move into Room 3. The thread that opens t2
               continues to hold t1, so if any of the lead threads loop around, they will block
               at Line 5.
                   As each thread leaves Room 3, it signals t2, allowing another thread to leave
               Room 2. When the last thread leaves Room 2, it leaves t2 locked and opens
               t1, which brings us back to the starting state.
                   To see how this solution avoids starvation, it helps to think of its operation in
               two phases. In the first phase, threads check into Room 1, increment room1, and
               then cascade into Room 2 one at a time. The only way to keep a thread from
               proceeding is to maintain a procession of threads through Room 1. Because
               there are a finite number of threads, the procession has to end eventually, at
               which point the first turnstile locks and the second opens.
                   In the second phase, threads cascade into Room 3. Because there are a finite
               number of threads in Room 2, and no new threads can enter, eventually the last
               thread leaves, at which point the second turnstile locks and the first opens.
                   At the end of the first phase, we know that there are no threads waiting
               at t1, because room1 = 0. And at the end of the second phase, we know that
               there are no threads waiting at t2 because room2 = 0.
                   With a finite number of threads, starvation is only possible if one thread
               can loop around and overtake another. But the two-turnstile mechanism makes
               that impossible, so starvation is impossible.
                   The moral of this story is that with weak semaphores, it is very difficult to
               prevent starvation, even for the simplest synchonization problems. In the rest
               of this book, when we discuss starvation, we will assume strong semaphores.
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      4.4 Dining philosophers                                                        85


      4.4     Dining philosophers
      The Dining Philosophers Problem was proposed by Dijkstra in 1965, when di-
      nosaurs ruled the earth [2]. It appears in a number of variations, but the stan-
      dard features are a table with five plates, five forks (or chopsticks) and a big
      bowl of spaghetti. Five philosophers, who represent interacting threads, come
      to the table and execute the following loop:

                            Listing 4.30: Basic philosopher loop
         1 while (1) {
         2    think ()
         3    get_forks ()
         4    eat ()
         5    put_forks ()
         6 }

          The forks represent resources that the threads have to hold exclusively in
      order to make progress. The thing that makes the problem interesting, unreal-
      istic, and unsanitary, is that the philosophers need two forks to eat, so a hungry
      philosopher might have to wait for a neighbor to put down a fork.
          Assume that the philosophers have a local variable i that identifies each
      philosopher with a value in (0..4). Similarly, the forks are numbered from 0 to
      4, so that Philosopher i has fork i on the right and fork (i + 1)mod5 on the left.
      Here is a diagram of the situation:



                                              0
                                        0           1

                                   4                    1
                                    4                   2

                                        3    3
                                                    2

          Assuming that the philosophers know how to think and eat, our job is to
      write a version of get forks and put forks that satisfies the following con-
      straints:

         • Only one philosopher can hold a fork at a time.

         • It must be impossible for a deadlock to occur.

         • It must be impossible for a philosopher to starve waiting for a fork.

         • It must be possible for more than one philosopher to eat at the same time.
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                    The last requirement is one way of saying that the solution should be efficient;
               that is, it should allow the maximum amount of concurrency.
                    We make no assumption about how long eat and think take, except that
               eat has to terminate eventually. Otherwise, the third constraint is impossible—
               if a philosopher keeps one of the forks forever, nothing can prevent the neighbors
               from starving.
                    To make it easy for philosophers to refer to their forks, we can use the
               functions left and right:

                                            Listing 4.31: Which fork?
                    1   int left (i) { return i }
                    2   int right (i) { return (i + 1) mod 5 }

                  The mod operator wraps around when it gets to 5, so that 4 + 1 = 0.
                  Since we have to enforce exclusive access to the forks, it is natural to use an
               array of Semaphores, one for each fork. Initially, all the forks are available.

                                Listing 4.32: Variables for dining philosophers
                    1   Semaphore fork[5] = {1, 1, 1, 1, 1}

                    Here is an initial attempt at get fork and put fork:

                                Listing 4.33: Dining philosophers non-solution
                    1   get_fork (i) {
                    2       fork[right(i)].wait()
                    3       fork[left(i)].wait()
                    4   }
                    5
                    6   put_fork (i) {
                    7       fork[right(i)].signal()
                    8       fork[left(i)].signal()
                    9   }

                   It’s clear that this solution satisfies the first constraint, but we can be pretty
               sure it doesn’t satisfy the other two, because if it did, this wouldn’t be an
               interesting problem and you would be reading Chapter 5.
                   Puzzle: what’s wrong?
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      4.4 Dining philosophers                                                    87


      4.4.1    Deadlock #5
      The problem is that the table is round. As a result, each philosopher can pick
      up a fork and then wait forever for the other fork. Deadlock!
         Puzzle: write a solution to this problem that prevents deadlock.
         Hint: one way to avoid deadlock is to think about the conditions that make
      deadlock possible and then change one of those conditions. In this case, the
      deadlock is fairly fragile—a very small change breaks it.
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      4.4 Dining philosophers                                                       89


      4.4.2    Dining philosophers hint #1
      If only four philosophers are allowed at the time at a time, deadlock is impos-
      sible.
          First, convince yourself that this claim is true, then write code that limits
      the number of philosophers at the table.
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      4.4 Dining philosophers                                                          91


      4.4.3     Dining philosophers solution #1
      If there are only four philosophers at the table, then in the worst case each one
      picks up a fork. Even then, there is a fork left on the table, and that fork has
      two neighbors, each of which is holding another fork. Therefore, either of these
      neighbors can pick up the remaining fork and eat.
          We can control the number of philosophers at the table with a Multiplex
      named footman that is initialized to 4. Then the solution looks like this:

                       Listing 4.34: Dining philosophers solution #1
         1    get_fork (i) {
         2        footman.wait ()
         3        fork[right(i)].wait()
         4        fork[left(i)].wait()
         5    }
         6
         7    put_fork (i) {
         8        fork[right(i)].signal()
         9        fork[left(i)].signal()
        10        footman.signal ()
        11    }

          Can we prove that this solution prevents starvation? Imagine that you are
      sitting at the table and both of your neighbors are eating. You are blocked
      waiting for your right fork. Eventually your right neighbor will put it down,
      because eat can’t run forever. Since you are the only thread waiting for that
      fork, you will necessarily get it next. By a similar argument, you cannot starve
      waiting for your left fork.
          Therefore, the time a philosopher can spend at the table is bounded. That
      implies that the wait time to get into the room is also bounded, as long as
      footman has Property 4 (see Section 4.3).
          This solution shows that by controlling the number of philosophers, we can
      avoid deadlock. Another way to avoid deadlock is to change the order in which
      the philosophers pick up forks. In the original non-solution, the philosophers
      are “righties”; that is, they pick up the right fork first. But what happens if
      Philosopher 0 is a leftie?
          Puzzle: prove that if at least one Philosopher is a leftie, then deadlock is not
      possible.
          Hint: deadlock can only occur when all 5 philosophers are holding one fork
      and waiting, forever, for the other. Otherwise, one of them could get both forks,
      eat, and leave.
          The proof works by contradiction. First, assume that deadlock is possible.
      Then choose one of the supposedly deadlocked philosophers. If she’s a leftie,
      you can prove that the philosophers are all lefties, which is a contradiction.
      Similarly, if she’s a rightie, can prove that they are all righties. Either way you
      get a contradiction; therefore, deadlock is not possible.
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      4.4 Dining philosophers                                                          93


      4.4.4     Dining philosopher’s solution #2
      In the asymmetric solution to the Dining philosophers problem, there has to be
      at least one leftie and at least one rightie at the table. In that case, deadlock is
      impossible. The previous hint outlines the proof. Here are the details.
          Again, if deadlock is possible, it occurs when all 5 philosophers are holding
      one fork and waiting for the other. If we assume that Philosopher j is a leftie,
      then she must be holding her left fork and waiting for her right. Therefore
      her neighbor to the right, Philosopher k, must be holding his left fork and
      waiting for his right neighbor; in other words, Philosopher k must be a leftie.
      Repeating the same argument, we can prove that the philosophers are all lefties,
      which contradicts the original claim that there is at least one rightie. Therefore
      deadlock is not possible.
          The same argument we used for the previous solution also proves that star-
      vation is impossible for this solution.
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      4.4 Dining philosophers                                                       95


      4.4.5     Tanenbaum’s solution
      There is nothing wrong with the previous solutions, but just for completeness,
      let’s look at some alternatives. One of the best known is the one that appears
      in Tanenbaum’s popular operating systems textbooks [9]. For each philosopher
      there is a state variable that indicates whether the philosopher is thinking,
      eating, or waiting to eat (“hungry”) and a semaphore that indicates whether
      the philosopher can start eating. Here are the variables:

                     Listing 4.35: Variables for Tanenbaum’s solution
         1 int state[5]
         2 Semaphore sem[5]
         3 Semaphore mutex = 1

          The state array is initialized to “thinking,” and the semaphore array is
      initialized to 0. Here is the code:

                            Listing 4.36: Tanenbaum’s solution
         1    get_fork (i) {
         2        mutex.wait ()
         3        state[i] = hungry
         4        test (i)
         5        mutex.signal ()
         6        sem[i].wait ()
         7    }
         8
         9    put_fork (i) {
        10        mutex.wait ()
        11        state[i] = thinking
        12        test (right (i))
        13        test (left (i))
        14        mutex.signal ()
        15    }
        16
        17    test (i) {
        18        if (state[i] == hungry &&
        19        state (left (i)) != eating &&
        20        state (right (i)) != eating)
        21            state[i] = eating
        22            sem[i].signal ()
        23    }

          The test function checks whether the ith philosopher can start eating, which
      he can if he is hungry and neither of his neighbors are eating. If so, the test
      signals semaphore i.
          There are two ways a philosopher gets to eat. In the first case, the philoso-
      pher executes get forks, finds the forks available, and proceeds immediately.
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               In the second case, one of the neighbors is eating and the philosopher blocks
               on its own semaphore. Eventually, one of the neighbors will finish, at which
               point it executes test on both of its neighbors. It is possible that both tests
               will succeed, in which case the neighbors can run concurrently. The order of the
               two tests doesn’t matter.
                   In order to access the state array, or invoke test, a thread has to hold
               mutex. Thus, the operation of checking and updating the array is atomic. Since
               a philosopher can only proceed when we know both forks are available, exclusive
               access to the forks is guaranteed.
                   No deadlock is possible, because the only semaphore that is accessed by
               more than one philosopher is mutex, and no thread executes wait while holding
               mutex.
                   But again, starvation is tricky.
                   Puzzle: Either convince yourself that Tanenbaum’s solution prevents star-
               vation or find a repeating pattern that allows a thread to starve while other
               threads make progress.
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      4.4 Dining philosophers                                                       97


      4.4.6    Starving Tanenbaums
      Unfortunately, this solution is not starvation-free. Gingras demonstrated that
      there are repeating patterns that allow a thread to wait forever while other
      threads come and go [3].
          Imagine that we are trying to starve Philosopher 0. Initially, 2 and 4 are at
      the table and 1 and 3 are hungry. If 4 gets up first, then only 0 can proceed, so
      we’ll have 2 get up and 1 sit down. Since Philosopher 1 holds fork 1, it is now
      “safe” to let 4 get up and 3 sit down.
          Now we are in the mirror image of the starting position. Again, if 1 got up
      first, 0 could eat, so instead 3 gets up and 4 sits down. Finally, 1 gets up and
      2 sits down, which brings us back where we started. We could repeat the cycle
      indefinitely and Philosopher 1 would starve.
          So, Tanenbaum’s solution doesn’t satisfy all the requirements.
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      4.5 Cigarette smokers’ problem                                                99


      4.5     Cigarette smokers’ problem
      The cigarette smokers’ problem problem was originally presented by Suhas Patil
      [6], who claimed that it cannot be solved with semaphores. That claim comes
      with some qualifications, but in any case the problem is interesting and chal-
      lenging.
          Four threads are involved: an agent and three smokers. The smokers loop
      forever, first waiting for ingredients, then making and smoking cigarettes. The
      ingredients are tobacco, paper, and matches.
          We assume that the agent has an infinite supply of all three ingredients, and
      each smoker has an infinite supply of one of the ingredients; that is, one smoker
      has matches, another has paper, and the third has tobacco.
          The agent repeatedly chooses two different ingredients at random and makes
      them available to the smokers. Depending on which ingredients are chosen, the
      smoker with the complementary ingredient should pick up both resources and
      proceed.
          For example, if the agent puts out tobacco and paper, the smoker with the
      matches should pick up both ingredients, make a cigarette, and then signal the
      agent.
          Based on this premise, there are three versions of this problem that often
      appear in textbooks:

      The impossible version: Patil’s version imposes several artificial restrictions
          on the solution. First, the code for the agent and a set of accompany-
          ing semaphores is given as an unmodifiable part of the problem. Second,
          the solution is not allowed to use conditional statements or an array of
          semaphores. With these constraints, the problem cannot be solved. In a
          followup article, Parnas points out that these restrictions are uncomfort-
          ably artificial [5]. With constraints like these, a lot of problems become
          unsolvable.

      The interesting version: This version imposes no additional constraints
          other than the usual goals: all threads should make progress (no star-
          vation) and no threads should busy-wait (check for a condition over and
          over).

      The trivial version: In some textbooks, the problem specifies that the agent
          should signal the smoker that should go next, according to the ingredients
          that are available. This version of the problem is uninteresting because
          it makes the whole premise, the ingredients and the cigarettes, irrelevant.
          Also, as a practical matter, it is probably not a good idea to require the
          agent to know about the other threads and what they are waiting for.
          Finally, this version of the problem is just too easy.

          Naturally, we will focus on the interesting version. To complete the state-
      ment of the problem, we need to specify the agent code. The agent uses the
      following semaphores:
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                                      Listing 4.37: Agent semaphores
                  1   Semaphore agentSem = 1
                  2   Semaphore tobacco = 0
                  3   Semaphore paper = 0
                  4   Semaphore match = 0

                   After putting out two ingredients, the agent waits for agentSem before con-
               tinuing. The other three semaphores indicate which ingredients are available.
                   The agent is actually made up of three concurrent threads, Agent A, Agent
               B and Agent C. Each provides different ingredients.

                                        Listing 4.38: Agent A code
                  1   agentSem.wait ()
                  2   tobacco.signal ()
                  3   paper.signal ()


                                         Listing 4.39: Agent B code
                  1   agentSem.wait ()
                  2   paper.signal ()
                  3   match.signal ()


                                        Listing 4.40: Agent C code
                  1   agentSem.wait ()
                  2   tobacco.signal ()
                  3   match.signal ()

                   Initally the three agent threads compete for agentSem. Whichever gets it
               determines the first pair of ingredients. Subsequently, each time agentSem is
               signalled, a “random” agent thread proceeds. Of course, the behavior of the
               system is not really random; it depends on the decisions of the local scheduler
               (which thread runs when) and the queueing policy of the semaphore.
                   This problem is hard because the natural solution does not work. It is
               tempting to write something like:

                                     Listing 4.41: Smoker with matches
                  1   tobacco.wait ()
                  2   paper.wait ()
                  3   agentSem.signal ()


                                     Listing 4.42: Smoker with tobacco
                  1   paper.wait ()
                  2   match.wait ()
                  3   agentSem.signal ()
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      4.5 Cigarette smokers’ problem                            101


                           Listing 4.43: Smoker with paper
         1 tobacco.wait ()
         2 match.wait ()
         3 agentSem.signal ()

         What’s wrong with this solution?
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      4.5 Cigarette smokers’ problem                                              103


      4.5.1    Deadlock #6
      The problem with the previous solution is the possibility of deadlock. Imagine
      that the agent puts out tobacco and paper. Since the smoker with matches is
      waiting on tobacco, it might be unblocked. But the smoker with tobacco is
      waiting on paper, so it is possible (even likely) that it will also be unblocked.
      Then the first thread will block on paper and the second will block on match.
      Deadlock!
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      4.5 Cigarette smokers’ problem                                             105


      4.5.2     Smoker problem hint
      The solution proposed by Parnas uses three helper threads called “pushers” that
      respond to the signals from the agent, keep track of the available ingredients,
      and signal the appropriate smoker.
         The additional variables and semaphores are

                            Listing 4.44: Smoker problem hint
         1    boolean isTobacco, isPaper, isMatch
         2    Semaphore tobaccoSem = 0
         3    Semaphore paperSem = 0
         4    Semaphore matchSem = 0

         The boolean variables indicate whether or not an ingredient is on the table.
      The pushers use tobaccoSem to signal the smoker with tobacco, and the other
      semaphores likewise.
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      4.5 Cigarette smokers’ problem                                               107


      4.5.3     Smoker problem solution
      Here is the code for one of the pushers:

                                   Listing 4.45: Pusher A
         1 tobacco.wait ()
         2 mutex.wait ()
         3     if (isPaper)
         4         isPaper = false
         5         matchSem.signal ()
         6     else if (isMatch)
         7         isMatch = false
         8         paperSem.signal ()
         9     else
        10         isTobacco = true
        11 mutex.signal ()

          This pusher wakes up any time there is tobacco on the table. If it finds
      isPaper true, it knows that Pusher B has already run, so it can signal the
      smoker with matches. Similarly, if it finds a match on the table, it can signal
      the smoker with paper.
          But if Pusher A runs first, then it will find both isPaper and isMatch false.
      It cannot signal any of the smokers, so it sets isTobacco.
          The other pushers are similar. Since the pushers do all the real work, the
      smoker code is trivial:

                             Listing 4.46: Smoker with tobacco
         1    tobaccoSem.wait ()
         2    makeCigarette ()
         3    agentSem.signal ()
         4    smoke ()

         Parnas presents a similar solution that assembles the boolean variables, bit-
      wise, into an integer, and then uses the integer as an index into an array of
      semaphores. That way he can avoid using conditionals (one of the artificial
      constraints). The resulting code is a bit more concise, but its function is not as
      obvious.

      4.5.4     Generalized Smokers’ Problem
      Parnas suggested that the smokers’ problem becomes more difficult if we modify
      the agent, eliminating the requirement that the agent wait after putting out
      ingredients. In this case, there might be multiple instances of an ingredient on
      the table.
         Puzzle: modify the previous solution to deal with this variation.
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      Chapter 5

      Not-so-classical
      synchronization problems

      5.1     Building H2 O
      This problem has been a staple of the Operating Systems class at U.C. Berke-
      ley for at least a decade. It seems to be based on an exercise in Andrews’s
      Concurrent Programming [1].
          There are two kinds of threads, oxygen and hydrogen. In order to assemble
      these threads into water molecules, we have to create a barrier that makes each
      thread wait until a complete molecule is ready to proceed.
          As each thread passes the barrier, it should invoke a method called bond.
      You must guarantee that all the threads from one molecule invoke bond before
      any of the threads from the next molecule do.
          In other words:

         • If an oxygen thread arrives at the barrier when no hydrogen threads are
           present, it has to wait for two hydrogen threads.
         • If a hydrogen thread arrives at the barrier when no other threads are
           present, it has to wait for an oxygen thread and another hydrogen thread.
         • If we examine the sequence of threads that invoke bond and divide them
           into groups of three, each group will contain one oxygen and two hydrogen
           threads.

         We don’t have to worry about matching the threads up explicitly; that is,
      the threads do not necessarily know which other threads they are paired up
      with. The key is just that threads pass the barrier in complete sets.
         Puzzle: Write synchronization code for oxygen and hydrogen molecules.
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      5.1 Building H2 O                                                         111


      5.1.1     H2 O hint
      Here are the variables I used in my solution:

                             Listing 5.1: Water building hint
         1    Semaphore hydroSem = 0
         2    Semaphore hydroSem2 = 0
         3    Semaphore oxySem = 0
         4    Semaphore mutex = 1
         5    int count = 0

         Hydrogen threads have to wait twice, first on hydroSem, later on hydroSem2;
      oxygen threads wait on oxySem. count keeps track of how many hydrogen
      threads are waiting for oxygen.
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      5.1 Building H2 O                                                         113


      5.1.2     H2 O solution
      Initially hydroSem and oxySem are locked. When an oxygen thread arrives it
      signals hydroSem twice, allowing two hydrogens to proceed. Then the oxygen
      thread waits for the hydrogen threads to arrive.

                                 Listing 5.2: Oxygen code
         1    signal (hydroSem)
         2    signal (hydroSem)
         3
         4    wait (oxyMutex)
         5        wait (oxySem)
         6        bond ()
         7    signal (oxyMutex)

         In order for a hydrogen thread to pass Line 1, there must be an oxygen
      thread waiting. The mutex-protected counter keeps track of how many hydro-
      gen threads have arrived. When count gets to 2, we signal oxySem once and
      hydroSem2 twice.

                               Listing 5.3: Hydrogen code
         1    wait (hydroSem)
         2    mutex.wait ()
         3        count++
         4        if (count == 2)
         5            signal (oxySem)
         6            signal (hydroSem2)
         7            signal (hydroSem2)
         8            count = 0
         9    mutex.signal ()
        10
        11    wait (hydroSem2)
        12    bond ()

        To demonstrate the correctness of this solution, consider the following
      medium-level assertions:

         • For every molecule, we need to signal oxySem once and both hydrogen
           semaphores twice.
         • Every oxygen thread signals hydroSem twice.
         • In each pair of hydrogen threads, one of them signals oxySem once and
           hydroSem2 twice.

         There is one aspect of this solution that is disconcerting but that may not
      be problematic. Hydrogen threads do not necessarily invoke bond in the same
      order they pass through hydroSem. In particular, an oxygen thread might signal
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               two hydrogen threads and then end up bonding with two different hydrogen
               threads. That outcome does not violate the problem constraints as stated, but
               at the same time it doesn’t seem quite right.
                   If you are bothered by this problem, rewrite the solution to fix it. You might
               want to do the next problem first and then come back.


               5.2     River crossing problem
               This problem is from a problem set written by Anthony Joseph at U.C. Berkeley,
               but I don’t know if he is the original author. It is similar to the H2 O problem
               in the sense that it is a peculiar sort of barrier that only allows threads to pass
               in certain combinations.
                   Somewhere near Redmond, Washington there is a rowboat that is used by
               both Linux hackers and Microsoft employees (serfs) to cross a river. The ferry
               can hold exactly four people; it won’t leave the shore with more or fewer. To
               guarantee the safety of the passengers, it is not permissible to put one hacker
               in the boat with three serfs, or to put one serf with three hackers. Any other
               combination is safe.
                   As each thread boards the boat it should invoke a function called board. You
               must guarantee that all four threads from each boatload invoke board before
               any of the threads from the next boatload do.
                   After all four threads have invoked board, exactly one of them should call
               a function named rowBoat, indicating that that thread will take the oars. It
               doesn’t matter which thread calls the function, as long as one does.
                   Don’t worry about the direction of travel. Assume we are only interested in
               traffic going in one of the directions.
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      5.2 River crossing problem                                                   115


      5.2.1     River crossing hint
      Here are the variables I used in my solution:

                              Listing 5.4: River crossing hint
         1    Semaphore mutex = 1
         2    Barrier barrier = 4
         3    int hackers = 0
         4    int serfs = 0
         5    Semaphore hackerSem = 0
         6    Semaphore serfSem = 0
         7    local boolean iAmTheCaptain = false

          hackers and serfs count the number of hackers and serfs waiting to board.
      Since they are both protected by mutex, we can check the condition of both
      variables without worrying about an untimely update.
          hackerSem and serfSem allow us to control the number of hackers and serfs
      that pass. The barrier makes sure that all four threads have invoked board
      before the captain invokes rowBoat.
          iAmTheCaptain is a boolean, meaning it is true or false. Initially all threads
      set iAmTheCaptain = false. Only one thread from each boat sets it to true.
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      5.2 River crossing problem                                                      117


      5.2.2     River crossing solution
      The basic idea of this solution is that each arrival updates one of the counters
      and then checks whether it makes a full complement, either by being the fourth
      of its kind or by completing a mixed pair of pairs.
          I’ll present the code for hackers; the serf code is symmetric (except, of course,
      that it is 1000 times bigger, full of bugs, and it contains an embedded web
      browser):

                             Listing 5.5: River crossing solution
         1    mutex.wait ()
         2        hackers++
         3        if (hackers == 4)
         4            hackerSem.signal (4)        // signal four times
         5            hackers = 0
         6            iAmTheCaptain = true
         7        else if (hackers == 2 and serfs >= 2)
         8            hackerSem.signal (2)             // signal twice
         9            serfSem.signal (2)               // signal twice
        10            serfs -= 2
        11            hackers = 0
        12            iAmTheCaptain = true
        13        else
        14            mutex.signal () // captain keeps the mutex
        15
        16    wait (hackerSem)              // wait here to board
        17
        18    board ()
        19    barrier.wait ()               // wait until all 4 have boarded
        20
        21    if (iAmTheCaptain)
        22        mutex.signal ()
        23        rowBoat ()

          This is the first case we have seen where a mutex does not have a clear end
      point. In most cases, threads enter the mutex, update the counter, and exit the
      mutex. Then they wait on hackerSem or serfSem.
          But when a thread arrives that forms a complete boatload, it has to signal
      hackerSem and serfSem to allow the other threads to board. Then it adjusts
      the counters. Finally, it has to hold onto the mutex until all the threads have
      boarded.
          The barrier keeps track of how many threads have boarded. When the last
      thread arrives, all threads proceed. One of them, the captain, releases the mutex
      (finally) and then rows the boat.
          Here are some middle-level assertions you might want to prove to yourself:
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                  • There can’t be more than 4 hackers or 4 serfs in the boarding area at a
                    time.

                  • When all four passengers have boarded, and the captain is about to invoke
                    rowBoat there can be at most 1 thread in the boarding area.


               5.3     The unisex bathroom problem
               I wrote this problem1 when my friend Shelby Nelson left her position teaching
               physics at Colby College and took a job at Xerox.
                   She was working in a cubicle in the basement of a concrete monolith, and
               the nearest women’s bathroom was two floors up. She proposed to the Uberboss
               that they convert the men’s bathroom on her floor to a unisex bathroom, sort
               of like on Ally McBeal.
                   The Uberboss agreed, provided that the following synchronization con-
               straints can be maintained:

                  • There cannot be men and women in the bathroom at the same time.
                  • There should never be more than three employees squandering company
                    time in the bathroom.

                  Of course the solution should avoid deadlock. For now, though, don’t worry
               about starvation. You may assume that the bathroom is equipped with all the
               semaphores you need.




                  1 Later I learned that a nearly identical problem appears in Andrews’s Concurrent

               Programming[1]
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      5.3 The unisex bathroom problem                                             119


      5.3.1     Unisex bathroom hint
      Here are the variables I used in my solution:

                            Listing 5.6: Unisex bathroom hint
         1    Semaphore empty = 1
         2    Louie maleLouie, femaleLouie
         3    Semaphore maleMultiplex = 3
         4    Semaphore femaleMultiplex = 3

         empty is 1 if the room is empty and 0 otherwise.
         maleLouie allows men to bar women from the room. When the first male
      enters, the filo locks empty, barring women; When the last male exist, it unlocks
      empty, allowing women to enter. Women do likewise using femaleLouie.
         maleMultiplex and femaleMultiplex ensure that there are no more than
      three men and three women in the system at a time.
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      5.3 The unisex bathroom problem                                             121


      5.3.2    Unisex bathroom solution
      Here is the female code:

                      Listing 5.7: Unisex bathroom solution (female)
         1 femaleLouie.lock (empty)
         2     femaleMultiplex.wait ()
         3         bathroom code here
         4     femaleMultiplex.signal ()
         5 female Louie.unlock (empty)

         The male code is similar.
         The exclusion pattern in this problem might be called categorical mutual
      exclusion. A thread in the critical section does not necessarily exclude other
      threads, but the presence of one category in the critical section excludes other
      categories.
         Are there any problems with this solution?
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      5.3 The unisex bathroom problem                                             123


      5.3.3    No-starve unisex bathroom problem
      The problem with the previous solution is that it allows starvation. A long line
      of women can arrive and enter while there is a man waiting, and vice versa.
          Puzzle: fix the problem.
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      5.3 The unisex bathroom problem                                               125


      5.3.4    No-starve unisex bathroom solution
      As we have seen before, we can use a turnstile to allow one kind of thread to
      stop the flow of the other kind of thread. This time we’ll look at the male code:

                  Listing 5.8: No-starve unisex bathroom solution (male)
         1 turnstile.wait ()
         2     maleLouie.lock (empty)
         3 turnstile.signal ()
         4
         5     maleMultiplex.wait ()
         6         bathroom code here
         7     maleMultiplex.signal ()
         8
         9 maleLouie.unlock (empty)

          As long as there are men in the room, new arrivals will pass through the
      turnstile and enter. If there are women in the room when a male arrives, the
      male will block inside the turnstile, which will bar all later arrivals (male and
      female) from entering until the current occupants leave. At that point the male
      in the turnstile enters, possibly allowing additional males to enter.
          The female code is similar, so if there are men in the room an arriving female
      will get stuck in the turnstile, barring additional men.

      5.3.5    Efficient no-starve unisex bathroom problem
      There is one aspect of this solution that is possibly inefficient. If the system is
      busy, then there will often be several threads, male and female, queued on the
      turnstile. Each time empty is signalled, one thread will leave the turnstile and
      another will enter. If the new thread is the opposite gender, it will promptly
      block, barring additional threads. Thus, there will usually be only 1-2 threads in
      the bathroom at a line, and the system will not take advantage of the available
      parallelism.
         Puzzle: Extend this solution so that when empty is signalled by an exiting
      thread, a waiting thread of the opposite gender proceeds (if there is one), along
      with up to two additional threads of the same gender.
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      5.3 The unisex bathroom problem                                             127


      5.3.6     Efficient no-starve unisex bathroom hint
      The fundamental problem is that only one thread can wait inside the turnstile,
      so when the bathroom is empty we are only guaranteed that one new thread
      can enter.
          We would like to replace the turnstile with a “waiting room,” that can hold
      multiple threads of the same gender. The requirements for the waiting room
      are similar to the requirements for the bathroom itself – it has limited capacity
      and should enforce categorical mutual exclusion.
          My solution uses the following additional variables.

                            Listing 5.9: Unisex bathroom hint
         1    Semaphore waitRoomEmpty = 1
         2    Louie maleWaitLouie, femaleWaitLouie
         3    Semaphore maleWaitMultiplex = 3
         4    Semaphore femaleWaitMultiplex = 3
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      5.3 The unisex bathroom problem                                             129


      5.3.7    Efficient unisex bathroom solution

                     Listing 5.10: Efficient unisex bathroom solution
         1
         2 maleWaitMultiplex.wait ()
         3     maleWaitLouie.lock (waitRoomEmpty)
         4         maleLouie.lock (empty)
         5     maleWaitLouie.unlock (waitRoomEmpty)
         6 maleWaitMultiplex.signal ()
         7
         8     maleMultiplex.wait ()
         9         bathroom code here
        10     maleMultiplex.signal ()
        11
        12 maleLouie.unlock (empty)

          The multiplex allows up to three male threads to be in the waiting room.
      The filo and waitRoomEmpty enforce categorical mutual exclusion.
          Imagine that there are female threads in the bathroom. Additional female
      threads pass through the waiting room without blocking. When the first male
      thread arrives, it blocks on maleLouie. At this point, female threads hold empty
      but male threads hold waitRoomEmpty. Thus, additional female threads cannot
      enter the waiting room. Up to two additional male threads can enter the waiting
      room, where they will also block on maleLouie. Any additional male threads
      will block on maleWaitMultiplex.
          Eventually the last female thread will signal empty. At that point, the male
      threads in maleLouie unblock and enter the bathroom. When the last male
      thread leaves the waiting room, it signals waitRoomEmpty. At this point a
      female thread may enter the waiting room, but there is no guarantee that a
      male threads doesn’t get there first.
          So this solution solved the efficiency problem, but it brought back the star-
      vation problem. Fortunately, we can solve the starvation problem the same way
      we did before, by adding a turnstile:
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                               Listing 5.11: Efficient unisex bathroom solution
                  1   maleWaitMultiplex.wait ()
                  2
                  3   turnstile.wait ()
                  4       maleWaitLouie.lock (waitRoomEmpty)
                  5   turnstile.signal ()
                  6
                  7           maleLouie.lock (empty)
                  8       maleWaitLouie.unlock (waitRoomEmpty)
                  9   maleWaitMultiplex.signal ()
                 10
                 11       maleMultiplex.wait ()
                 12           bathroom code here
                 13       maleMultiplex.signal ()
                 14
                 15   maleLouie.unlock (empty)

                  At this point the solution is complicated enough that it is hard to be sure
               that it is correct. To be honest, the effort to make the solution more efficient may
               have been misguided. The original (no-starve) solution is probably adequate if
               the number of threads competing for the bathroom is small. If that is the case,
               then the original solution is probably more efficient just because it spends less
               time fiddling with semaphores!
                  Also, keep in mind that for the vast majority of applications correctness is
               more important than efficiency. Write code that is provably correct.


               5.4     Baboon crossing problem
               This problem is adapted from Tanenbaum’s Operating Systems: Design and
               Implementation [9]. There is a deep canyon somewhere in Kruger National
               Park, South Africa, and a single rope that spans the canyon. Baboons can cross
               the canyon by swinging hand-over-hand on the rope, but if two baboons going in
               opposite directions meet in the middle, they will fight and drop to their deaths.
               Furthermore, the rope is only strong enough to hold 5 baboons. If there are
               more baboons on the rope at the same time, it will break.
                   Assuming that we can teach the baboons to use semaphores, we would like
               to design a synchronization scheme with the following properties:
                  • Once a baboon has begun to cross, it is guaranteed to get to the other
                    side without running into a baboon going the other way.
                  • There are never more than 5 baboons on the rope.
                  • A continuing stream of baboons crossing in one direction should not bar
                    baboons going the other way indefinitely (no starvation).
                  I will not include a solution to this problem for reasons that should be clear.
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      5.5 The search-insert-delete problem                                          131


      5.5     The search-insert-delete problem
      This one is from Andrews’s Concurrent Programming [1].

                Three kinds of threads share access to a singly-linked list:
            searchers, inserters and deleters. Searchers merely examine the list;
            hence they can execute concurrently with each other. Inserters add
            new items to the end of the list; insertions must be mutually ex-
            clusive to preclude two interters from inserting new items at about
            the same time. However, one insert can proceed in parallel with
            any number of searches. Finally, deleters remove items from any-
            where in the list. At most one deleter process can access the list at
            a time, and deletion must also be mutually exclusive with searches
            and insertions.

         Puzzle: write code for searchers, inserters and deleters that enforces this
      kind of three-way categorical mutual exclusion.
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      5.5 The search-insert-delete problem                                          133


      5.5.1     Search-Insert-Delete hint

                           Listing 5.12: Search-Insert-Delete hint
         1    Semaphore insertMutex = 1
         2    Semaphore noSearcher = 1
         3    Semaphore noInserter = 1
         4    Louie searchLouie = 0
         5    Louie insertLouie = 0

         insertMutex ensures that only one inserter is in its critical section at a time.
      noSearcher and noInserter indicate (surprise) that there are no searchers and
      no inserters in their critical sections; a deleter needs to hold both of these to
      enter.
         searchLouie and insertLouie are used by searchers and inserters to ex-
      clude deleters.
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      5.5 The search-insert-delete problem                                          135


      5.5.2     Search-Insert-Delete solution
      Here is my solution:

                   Listing 5.13: Search-Insert-Delete solution (searcher)
         1 searchLouie.wait (noSearcher)
         2 \\ critical section
         3 searchLouie.signal (noSearcher)

          The only thing a searcher needs to worry about is a deleter. The first searcher
      in takes noSearcher; the last one out releases it.

                    Listing 5.14: Search-Insert-Delete solution (inserter)
         1    insertLouie.wait (noInserter)
         2    insertMutex.wait ()
         3    \\ critical section
         4    insertMutex.signal ()
         5    insertLouie.signal (noInserter)

          Similarly, the first inserter takes noInserter and the last one out releases
      it. Since searchers and inserters compete for different semaphores, they can be
      in their critical section concurrently. But insertMutex ensures that only one
      inserter is in the room at a time.

                    Listing 5.15: Search-Insert-Delete solution (deleter)
         1    noSearcher.wait ()
         2    noInserter.wait ()
         3    \\ critical section
         4    noInserter.signal ()
         5    noSearcher.signal ()

         Since the deleter holds both noSearcher and noInserter, it is guaranteed
      exclusive access. Of course, any time we see a thread holding more than one
      semaphore, we need to check for deadlocks. By trying out a few scenarios, you
      should be able to convince yourself that this solution is deadlock free.
         On the other hand, like many categorical exclusion problems, this one is
      prone to starvation. As we saw in the Readers-Writers problem, we can some-
      times mitigate this problem by giving priority to one category of threads ac-
      cording to application-specific criteria. But in general it is difficult to write
      an efficient solution (one that allows the maximum degree of concurrency) that
      avoids starvation.
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      5.6 The dining savages problem                                                137


      5.6     The dining savages problem
      Another one from the excellent collection in Andrews’s Concurrent Programming
      [1].

                A tribe of savages eats communal dinners from a large pot that
            can hold M servings of stewed missionary. When a savage wants to
            eat, he helps himself from the pot, unless it is empty. If the pot is
            empty, the savage wakes up the cook and the waits until the cook
            has refilled the pot.

         Any number of savage threads run the following code:

                         Listing 5.16: Unsynchronized savage code
         1 while (1) {
         2     getServingFromPot ()
         3     eat ()
         4 }

         And one cook thread runs this code:

                          Listing 5.17: Unsynchronized cook code
         1 while (1) {
         2     putServingsInPot (M)
         3 }

         Puzzle: Add synchronization code for the savages and the cook that prevents
      deadlock, and awakens the cook only when the pot is empty.
         Note: This problem is based on a cartoonish representation of the history of
      Western missionaries among hunter-gatherer societies. Some humor is intended
      by the allusion to the Dining Philosophers problem, but the representation of
      “savages” here isn’t intended to be any more realistic than the previous repre-
      sentation of philosophers. If you are interested in hunter-gatherer societies, I
      recommend Jared Diamond’s Guns, Germs and Steel, among many other pop-
      ular books about anthropology.
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      5.6 The dining savages problem                                              139


      5.6.1     Dining Savages hint
      It is tempting to use a semaphore to keep track of the number of servings, as
      in the producer-consumer problem. But in order to signal the cook when the
      pot is empty, a thread would have to know before decrementing the semaphore
      whether it would have to wait, and we just can’t do that.
          An alternative is to use a mutex-protected counter to keep track of the
      number of servings. If a savage finds the counter at zero, he wakes the cook and
      waits for a signal that the pot is full. Here are the variables I used:

                             Listing 5.18: Dining Savages hint
         1    int servings
         2    Semaphore mutex = 1
         3    Semaphore cook = 0
         4    Semaphore savage = 0
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      5.6 The dining savages problem                                            141


      5.6.2    Dining Savages solution
      The code for the cook is straightforward:

                       Listing 5.19: Dining Savages solution (cook)
         1 while (1) {
         2     cook.wait ()
         3     putServingsInPot (M)
         4     savage.signal ()
         5 }

          The code for the savages is only a little more complicated. As each savage
      passes through the mutex, he decrements servings, in effect making a reserva-
      tion for the meal he is about to get.

                      Listing 5.20: Dining Savages solution (savage)
         1 while (1) {
         2     mutex.get ()
         3         if (servings == 0)
         4             cook.signal ()
         5             savage.wait ()
         6             servings = M
         7         servings--
         8     mutex.signal ()
         9
        10     getServingFromPot ()
        11     eat ()
        12 }

          This solution is deadlock-free. The only opportunity for deadlock comes
      when the thread that holds mutex waits for savage. But since that thread has
      just signalled cook, it is guaranteed to wake when the cook signals savage.
          It is not immediately obvious that the reservation system works, since it
      seems possible for a thread to decrement servings, release the mutex, and
      then find the pot empty by the time it invokes getServingFromPot. I will leave
      it to you to convince yourself that that is not possible.
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      5.7 The barbershop problem                                                    143


      5.7     The barbershop problem
      The original barbershop problem was proposed by Dijkstra. A variation of it
      appears in Silberschatz and Galvin’s Operating Systems Concepts [7].

               A barbershop consists of a waiting room with n chairs, and the
            barber room containing the barber chair. If there are no customers
            to be served, the barber goes to sleep. If a customer enters the
            barbershop and all chairs are occupied, then the customer leaves
            the shop. If the barber is busy, but chairs are available, then the
            customer sits in one of the free chairs. If the barber is asleep, the
            customer wakes up the barber. Write a program to coordinate the
            barber and the customers.

          To make the problem a little more concrete, I added the following informa-
      tion:

         • If a customer thread arrives when the shop is full, it can invoke exit. This
           operation allows the thread to skip to whatever it is supposed to do next,
           or terminate.
         • When the barber invokes cutHair there should be exactly one thread
           invoking getHairCut concurrently.
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      5.7 The barbershop problem                                             145


      5.7.1     Barbershop hint

                             Listing 5.21: Barbershop hint
         1    int customers
         2    Semaphore mutex = 1
         3    Semaphore customer = 0
         4    Semaphore barber = 0

         customers counts the number of customers in the shop; it is protected by
      mutex.
         The barber waits on customer until a customer enters the shop, then the
      customer waits on barber until the barber signals him to take a seat.
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      5.7 The barbershop problem                                                 147


      5.7.2     Barbershop solution
      If there are n customers in the waiting room and one in the barber chair, then
      the shop is full and any customers that arrive immediately invoke exit.
          Otherwise each customer signals the barber and waits for a signal from the
      barber. This is exactly the rendezvous pattern from Section 3.2.

                      Listing 5.22: Barbershop solution (customer)
         1    mutex.wait ()
         2        if (customers == n+1)
         3            mutex.signal ()
         4            exit ()
         5        customers++
         6    mutex.signal ()
         7
         8    customer.signal ()
         9    barber.wait ()
        10    getHairCut ()
        11
        12    mutex.wait ()
        13        customers--
        14    mutex.signal ()

          The barber runs in a loop. Each time a customer signals, the barber wakes,
      signals one customer, and gives one hair cut. If another customer arrives while
      the barber is busy, then on the next iteration the barber will pass the barber
      semaphore without sleeping.

                        Listing 5.23: Barbershop solution (barber)
         1 customer.wait ()
         2 barber.signal ()
         3 cutHair ()
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      5.8 Hilzer’s Barbershop problem                                                 149


      5.8     Hilzer’s Barbershop problem
      William Stallings [8] presents a more complicated version of the barbershop
      problem, which he attributes to Ralph Hilzer at the California State University
      at Chico.

                Our barbershop has three chairs, three barbers, and a waiting
            area that can accomodate four customers on a sofa and that has
            standing room for additional customers. Fire codes limit the total
            number of customers in the shop to 20.
                A customer will not enter the shop if it is filled to capacity with
            other customers. Once inside, the customer takes a seat on the sofa
            or stands if the sofa is filled. When a barber is free, the customer
            that has been on the sofa the longest is served and, if there are any
            standing customers, the one that has been in the shop the longest
            takes a seat on the sofa. When a customer’s haircut is finished,
            any barber can accept payment, but because there is only one cash
            register, payment is accepted for one customer at a time. The bar-
            bers divide their time among cutting hair, accepting payment, and
            sleeping in their chair waiting for a customer.

         Customers should invoke the following functions, in order: enterShop,
      sitOnSofa, sitInBarberChair, pay, exitShop.
         Barbers invoke cutHair and acceptPayment. The following synchronization
      constraints apply:

         • Customers cannot invoke enterShop if the shop is at capacity.

         • If the sofa is full, an arriving customer cannot invoke sitOnSofa until one
           of the customers on the sofa invokes sitInBarberChair.

         • If all three barber chairs are busy, an arriving customer cannot invoke
           sitInBarberChair until one of the customers in a chair invokes pay.

         • The customer has to pay before the barber can acceptPayment.

         • The barber must acceptPayment before the customer can exitShop.

          One difficulty with this problem is that in each waiting area (the sofa and the
      standing room), customers have to be served in first-in-first-out (FIFO) order.
      If our implementation of semaphores happens to enforce FIFO queueing, then
      we can use nested multiplexes to create the waiting areas. Otherwise we can
      use Fifo objects.
          Puzzle: Write synchonization code that enforces all the synchronization con-
      straints for Hilzer’s barbershop.
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               5.8.1     Hilzer’s barbershop hint
               Here are the variables I used in my solution:
                                   Listing 5.24: Hilzer’s barbershop hint
                  1    Semaphore mutex = 1
                  2    int customers
                  3    Fifo standingRoom (16)
                  4    Fifo sofa (4)
                  5    Semaphore chair = 3
                  6    Semaphore barber = 0
                  7    Semaphore customer = 0
                  8    Semaphore cash = 0
                  9    Semaphore receipt = 0

                  mutex protects customers, which keeps track of the number of customers
               in the shop so that if a thread arrives when the shop is full, it can exit.
               standingRoom and sofa are Fifos that represent the waiting areas. chair is a
               multiplex that limits the number of customers in the seating area.
                  The other semaphores are used for the rendezvous between the barber and
               the customers. The customer signals barber and then wait on customer. Then
               the customer signals cash and waits on receipt.

               5.8.2     Hilzer’s barbershop solution
               There is nothing here that is new; it’s just a combination of patterns we have
               seen before.
                            Listing 5.25: Hilzer’s barbershop solution (customer)
                  1    mutex.wait ()
                  2        if (customers == 20)
                  3            mutex.signal ()
                  4            exit ()
                  5        customers++
                  6    mutex.signal ()
                  7
                  8    standingRoom.wait ()
                  9    enterShop ()
                 10
                 11    sofa.wait()
                 12    standingRoom.signal ()
                 13    sitOnSofa ()
                 14
                 15    chair.wait ()
                 16    sofa.signal ()
                 17    sitInBarberChair ()
                 18
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      5.8 Hilzer’s Barbershop problem                                                           151


        19    customer.signal ()
        20    barber.wait ()
        21    getHairCut ()
        22
        23    pay ()
        24    cash.signal ()
        25    receipt.wait ()
        26
        27    mutex.wait ()
        28        customers--
        29    mutex.signal ()
        30    leaveBarberShop ()

          The mechanism that counts the number of customers and allows threads to
      exit is the same as in the previous problem.
          In order to maintain FIFO order for the whole system, threads cascade from
      standingRoom to sofa to chair in much the same way they cascade from one
      semaphore to the next in the implementation of Fifo.
          The exchange with the barber is basically two consecutive rendezvouses 2
          The code for the barber is self-explanatory:

                       Listing 5.26: Hilzer’s barbershop solution (barber)
          1   customer.wait ()
          2   barber.signal ()
          3   cutHair()
          4
          5   cash.wait ()
          6   acceptPayment ()
          7   receipt.signal ()

         If two customers signal cash concurrently, there is no way to know which
      waiting barber will get which signal, but the problem specification says that’s
      ok. Any barber can take money from any customer.




         2 The plural of rendezvous is rare, and not all dictionaries agree about what it is. Another

      possibility is that the plural is also spelled “rendezvous,” but the final “s” is pronounced.
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               5.9     The room party problem
               I wrote this problem while I was at Colby College. One semester there was
               a controversy over an allegation by a student that someone from the Dean of
               Students Office had searched his room in his absence. Although the allegation
               was public, the Dean of Students wasn’t able to comment on the case, so we
               never found our what really happened. I wrote this problem to tease a friend
               of mine, who was the Dean of Student Housing.
                   The following synchronization constraints apply to students and the Dean
               of Students:

                 1. Any number of students can be in a room at the same time.
                 2. The Dean of Students can only enter a room if there are no students in
                    the room (to conduct a search) or if there are more than 50 students in
                    the room (to break up the party).
                 3. While the Dean of Students is in the room, no additional students may
                    enter, but students may leave.
                 4. The Dean of Students may not leave the room until all students have left.
                 5. There is only one Dean of Students, so you do not have to enforce exclusion
                    among multiple deans.

                  Puzzle: write synchronization code for students and for the Dean of Students
               that enforces all of these constraints.
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      5.9 The room party problem                                              153


      5.9.1     Room party hint

                             Listing 5.27: Room party hint
         1    int students               // number of students in room
         2    Semaphore mutex = 1        // protect the student count
         3    Semaphore noDean = 1       // the dean is not in the room
         4    Semaphore deanCanEnter = 1 // the dean may enter
         5    Semaphore noStudents = 1   // there are no students in the room

         students counts the number of students in the room. mutex protects the
      counter (and also allows the dean to bar students from entering).
         noDean is 1 when the dean is not in the room. noStudents is 1 when there
      are no students in the room. deanCanEnter is 1 when there are no students or
      more than 50.
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      5.9 The room party problem                                                  155


      5.9.2     Room party solution
      This problem is hard. I went through a lot of trial and error before I found a
      solution that (I am pretty sure) works. One of the difficulties is that we need
      to allow students to leave without allowing new students to enter; the solution
      I chose requires students to hold two mutexes (mutex and noDean) to enter and
      only one to leave.
          noDean is a mutex for both students and deans. It prevents students from
      entering when the dean is in the room. It also prevents the dean from entering
      while a student is in the middle of checking in. Incidentally, it enforces mutual
      exclusion among multiple deans, which is not required, but it is acceptable.
          noStudents is 1 if there are no students in the room and 0 otherwise. The
      student threads maintain it using a pattern similar to a Louie; the first student
      in locks it and the last one out unlocks it. The deans use noStudents to ensure
      that all the students have left the room before they exit.
          deanCanEnter is a turnstile for deans. When there are no students in the
      room, the turnstile is unlocked. The first student to enter locks it, but the
      50th unlocks it again. Similarly, when the number of students drops below 50,
      deanCanEnter gets locked again. When the last student exits, it is unlocked
      one more time.

                         Listing 5.28: Room party solution (student)
         1    noDean.wait ()
         2    mutex.wait ()
         3        count++
         4        if (count == 1)
         5            deanCanEnter.wait ()
         6            noStudents.wait ()
         7        if (count == 51)
         8            deanCanEnter.signal ()
         9    mutex.signal ()
        10    noDean.signal ()
        11
        12    party ()
        13
        14    mutex.wait ()
        15        count--
        16        if (count == 0)
        17            noStudents.signal ()
        18            deanCanEnter.signal ()
        19        if (count == 50)
        20            deanCanEnter.wait ()
        21    mutex.signal ()

        The dean’s code uses mutex in a non-standard way. The dean gets the
      mutex to prevent students from changing the counter while the dean is checking
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               it. If there are more than 50 students, then the dean has to release the mutex,
               allowing students to exit, before waiting on noStudents. Otherwise the program
               deadlocks.

                                   Listing 5.29: Room party solution (dean)
                  1   deanCanEnter.wait ()
                  2   deanCanEnter.signal ()
                  3
                  4   noDean.wait ()
                  5       mutex.wait ()
                  6       if (count == 0)
                  7           search ()
                  8           mutex.signal ()
                  9       if (count > 50)
                 10           breakUpParty ()
                 11           mutex.signal ()
                 12           noStudents.wait ()
                 13           noStudents.signal ()
                 14       else
                 15           mutex.signal ()
                 16   noDean.signal ()

                    In this solution, it is possible for students to enter and leave after the dean
               passes the turnstile, which means that by the time the dean checks the counter
               there might be more than 0 and fewer than 50 students in the room. In this
               case, the dean should exit without invoking search or breakUpParty. It is not
               efficient to allow deans to enter and exit without doing useful work, but we
               expect this to happen only occasionally, since it depends on a fluke of timing.
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      5.10 The Santa Claus problem                                                  157


      5.10      The Santa Claus problem
      This problem is from William Stallings’s Operating Systems [8], but he attributes
      it to John Trono of St. Michael’s College in Vermont.

               Stand Claus sleeps in his shop at the North Pole and can only be
           awakened by either (1) all nine reindeer being back from their vaca-
           tion in the South Pacific, or (2) some of the elves having difficulty
           making toys; to allow Santa to get some sleep, the elves can only
           wake him when three of them have problems. When three elves are
           having their problems solved, any other elves wishing to visit Santa
           must wait for those elves to return. If Santa wakes up to find three
           elves waiting at his shop’s door, along with the last reindeer having
           come back from the tropics, Santa has decided that the elves can
           wait until after Christmas, becuase it is more important to get his
           sleigh ready. (It is assumed that the reindeer do not want to leave
           the tropics, and therefore they stay there until the last possible mo-
           ment.) The last reindeer to arrive must get Santa while the others
           wait in a warming hut before being harnessed to the sleigh.

         Here are some addition specifications:

         • After the ninth reindeer arrives, Santa must invoke prepareSleigh, and
           then all nine reindeer must invoke getHitched.
         • After the third elf arrives, Santa must invoke helpElves. Concurrently,
           all three elves should invoke getHelp.
         • All three elves must invoke getHelp before any additional elves enter
           (increment the elf counter).

         Santa should run in a loop so he can help many sets of elves. We can assume
      that there are exactly 9 reindeer, but there may be any number of elves.
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      5.10 The Santa Claus problem                                              159


      5.10.1    Santa problem hint

                            Listing 5.30: Santa problem hint
         1   int elves = 0
         2   int reindeer = 0
         3   Semaphore santaSem = 0
         4   Semaphore reindeerSem = 0
         5   Semaphore elfTex = 1
         6   Semaphore mutex = 1

          elves and reindeer are counters, both protected by mutex. Elves and
      reindeer get mutex to modify the counters; Santa gets it to check them.
          Santa waits on santaSem until either an elf or a reindeer signals him.
          The reindeer wait on reindeerSem until Santa signals them to enter the
      paddock and get hitched.
          The elves use elfTex to prevent additional elves from entering while three
      elves are being helped.
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      5.10 The Santa Claus problem                                                161


      5.10.2     Santa problem solution
      Santa’s code is pretty straightforward. Remember that it runs in a loop.

                       Listing 5.31: Santa problem solution (Santa)
         1 santaSem.wait ()
         2 mutex.wait ()
         3     if (reindeer == 9)
         4         prepareSleigh ()
         5         reindeerSem.signal (9)
         6     else if (elves == 3)
         7         helpElves ()
         8 mutex.signal ()

          When Santa wakes up, he checks which of the two conditions holds and
      either deals with the reindeer or the waiting elves. If there are nine reindeer
      waiting, Santa invokes prepareSleigh, then signals reindeerSem nine times,
      allowing the reindeer to invoke getHitched. If there are elves waiting, Santa
      just invokes helpElves. There is no need for the elves to wait for Santa; once
      they signal santaSem, they can invoke getHelp immediately.
          Here is the code for reindeer:

                      Listing 5.32: Santa problem solution (reindeer)
         1   mutex.wait ()
         2       reindeer++
         3       if (reindeer == 9)
         4           santaSem.signal ()
         5   mutex.signal ()
         6
         7   reindeerSem.wait ()
         8   getHitched ()

         The ninth reindeer signals Santa and then joins the other reindeer waiting
      on reindeerSem. When Santa signals, the reindeer all execute getHitched.
         The elf code is similar, except that when the third elf arrives it has to bar
      subsequent arrivals until the first three have executed getHelp.
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                                Listing 5.33: Santa problem solution (elves)
                  1   elfTex.wait ()
                  2   mutex.wait ()
                  3       elves++
                  4       if (elves == 3)
                  5           santaSem.signal ()
                  6       else
                  7           elfTex.signal ()
                  8   mutex.signal ()
                  9
                 10   getHelp ()
                 11
                 12   mutex.wait ()
                 13       elves--
                 14       if (elves == 0)
                 15          elfTex.signal ()
                 16   mutex.signal ()

                   The first two elves release elfTex at the same time they release the mutex,
               but the last elf holds elfTex, barring other elves from entering until all three
               elves have invoked getHelp.
                   The last elf to leave releases elfTex, allowing the next batch of elves to
               enter.
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      5.11 The roller coaster problem                                             163


      5.11      The roller coaster problem
      This problem is from Andrews’s Concurrent Programming [1], but he attibutes
      it to J. S. Herman’s Master’s thesis.

              Suppose there are n passenger threads and a car thread. The
           passengers repeatedly wait to take rides in the car, which can hold
           C passengers, where C < n. The car can go around the tracks only
           when it is full.

         Here are some additional details:

         • After the car arrives, C passengers should invoke boardCar, then the car
           should invoke depart, then passengers should invoke leaveCar.

         Puzzle: Write code for the passengers and car that enforces these constraints.
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      5.11 The roller coaster problem                                            165


      5.11.1    Roller Coaster hint

                             Listing 5.34: Roller Coaster hint
         1   Semaphore car = 0
         2   Semaphore allAboard = 0
         3   Semaphore lastStop = 0
         4   Semaphore mutex = 1
         5   int passengers = 0

          car indicates that the car has arrived; allAboard indicates that the car is
      full; lastStop indicates that the car has departed and looped the track.
          mutex protects passengers, which counts the number of passengers that
      have invoked boardCar.
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      5.11 The roller coaster problem                                             167


      5.11.2     Roller Coaster solution

                        Listing 5.35: Roller Coaster solution (car)
         1   car.signal (C)
         2   allAboard.wait ()
         3   depart ()
         4   lastStop.signal (C)

          When the car arrives, it allows C passengers to proceed, then waits for the
      last one to invoke boardCar. When it has departed, it allows C passengers to
      disembark.

                     Listing 5.36: Roller Coaster solution (passenger)
         1   car.wait ()
         2   boardCar ()
         3
         4   mutex.wait ()
         5      passengers++
         6      if (passengers == C)
         7          allAboard.signal ()
         8          passengers = 0
         9   mutex.signal ()
        10
        11   lastStop.wait ()
        12   leaveCar ()

          Passengers wait for the car before boarding, naturally, and wait for the car
      to stop before leaving. The last passenger to board signals the car and resets
      the passenger counter.
          This solution does not generalize to the case where there is more than one
      car. In order to do that, we have to satisfy some additional constraints:

         • Only one car can be boarding at a time.

         • Multiple cars can be on the track concurrently.

         • Since cars can’t pass each other, they have to unload in the same order
           they boarded.

          Puzzle: assuming that we know that there are m cars, modify the previous
      solution to handle the additional constraints.
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      5.11 The roller coaster problem                                             169


      5.11.3     Multi-car Roller Coaster hint
      We can assume that each car has a local variable i that contains an identifier
      between 0 and m − 1. One way to initialize these variables is to pass the thread
      through a barrier that assigns identifiers in order.
         Two arrays of m semaphores keep the cars in order. As each thread enters
      the boarding area, or prepares to unload, it waits on its own semaphore, and
      then signals the next car in line.

                        Listing 5.37: Multi-car Roller Coaster hint
         1   int m
         2   local int i
         3   Semaphore board[m] = { 1, 0, 0, ..., 0 }
         4   Semaphore unload[m] = { 1, 0, 0, ..., 0 }

         The function next computes the identifier of the next car in the sequence
      (wrapping around from m − 1 to 0):

                           Listing 5.38: Implementation of next
         1 int next (i) { return (i + 1) mod m }
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      5.11 The roller coaster problem                                               171


      5.11.4     Multi-car Roller Coaster solution
      Initially, only the car with identifier 0 can proceed. When each car finishes
      boarding, it signals its successor. Any number of cars can invoke depart con-
      currently, but when they enter the unloading area, again, they have to go in
      order.
          When the last car leaves an area, it signals the first, which restores the
      original state of the semaphore array (or allows the first car to proceed, if it is
      already waiting).

                    Listing 5.39: Multi-car Roller Coaster solution (car)
         1   board[i].wait()
         2       car.signal (C)
         3       allAboard.wait ()
         4   board[next(i)].signal()
         5
         6   depart ()
         7
         8   unload[i].wait()
         9       lastStop.signal (C)
        10   unload[next(i)].signal ()

         In my first draft of this solution, I used the same array of semaphores for
      board and unload. Why doesn’t that work?
         One potential problem with this solution is that a car can start loading again
      before the passengers from the previous load have left. If that bothers you, you
      should have no trouble fixing it.
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      5.12 The Bus problem                                                        173


      5.12      The Bus problem
      This problem was originally based on the Senate bus at Wellesley College. Riders
      come to a bus stop and wait for a bus. When the bus arrives, all the waiting
      riders invoke boardBus, but anyone who arrives while the bus is boarding has
      to wait for the next bus. The capacity of the bus is 50 people; if there are more
      than 50 people waiting, some will have to wait for the next bus.
          When all the waiting riders have boarded, the bus can invoke depart. If the
      bus arrives when there are no riders, it should depart immediately.
          Puzzle: Write synchronization code that enforces all of these constraints.
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      5.12 The Bus problem                                                        175


      5.12.1     Bus problem hint
      Here are the variables I used in my solution:

                              Listing 5.40: Bus problem hint
         1   Semaphore mutex = 1;
         2   int riders;
         3   Semaphore turnstile = 1;
         4   Semaphore multiplex = 50;
         5   Semaphore bus = 0;
         6   Semaphore allAboard = 0;

          mutex protects riders, which keeps track of how many riders are waiting.
      The turnstile controls access to the waiting area; it is initially open. When
      the bus arrives, it locks the turnstile until everyone has boarded, which bars
      late arrivals. The multiplex makes sure there are no more than 50 riders in
      the boarding area.
          Riders wait on bus, which gets signalled when the bus arrives. The bus waits
      on allAboard, which gets signalled by the last student to board.
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      5.12 The Bus problem                                                        177


      5.12.2     Bus problem solution
      Here is the code for the bus:

                         Listing 5.41: Bus problem solution (bus)
         1   turnstile.wait()
         2       if (riders == 0)
         3           depart()
         4           turnstile.signal
         5           return
         6
         7   bus.signal()
         8   allAboard.wait()
         9
        10   bus.wait()
        11   depart()
        12   turnstile.signal()

          When the bus arrives, it gets and keeps turnstile, which prevents late
      arrivals from entering the boarding area. If there are no rides, it departs imme-
      diately. Otherwise, it signals bus and waits for the riders to board.
          Here is the code for the riders:

                        Listing 5.42: Bus problem solution (riders)
         1   multiplex.wait()
         2
         3       turnstile.wait()
         4           riders++
         5       turnsile.signal()
         6
         7       bus.wait()
         8       bus.signal()
         9   multiplex.signal()
        10   boardBus()
        11
        12   mutex.wait ()
        13       riders--
        14       if (riders == 0) allAboard.signal();
        15   mutex.signal ()

          The multiplex controls the number of riders in the waiting area, although
      strictly speaking, a rider doesn’t enter the waiting area until she passes the
      turnstile. We increment riders inside the turnstile to guarantee that the count
      is accurate when the bus arrives.
          Riders wait on bus and then pass through one at a time. After boarding,
      each rider gets the mutex and decrements the counter. When the last thread
      boards, it signals allAboard, which allows the bus to leave.
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                   For the most part, this solution is just a combination of patterns we have seen
               before. But there is one subtlety: notice that riders is not always protected
               by the same mutex. The increment (Line 4) is protected by turnstile but the
               decrement (Line 13) is protected by mutex. So we have to check whether one
               thread might be incrementing while another is decrementing. Fortunately, we
               can prove that this is impossible. If a rider holds mutex, then the bus must
               be boarding, in which case the bus holds turnstile, so no threads can be
               incrementing riders.
                   Challenge: if riders arrive while the bus is boarding, they might be annoyed
               if you make them wait for the next one. Can you find a solution that allows
               late arrivals to board without violating the other constraints?
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


  PROLITEC INC.,
                                                        C.A. No. 20-984-RGA
                           Plaintiff,

           v.

  SCENTAIR TECHNOLOGIES, LLC,

                           Defendant.




          PROLITEC INC’S RESPONSE TO SCENTAIR TECHNOLOGIES, LLC’S
                 SECOND SET OF INTERROGATORIES (NOS. 11-21)

         Pursuant to Fed. R. Civ. P. 26 and 34, and the Local Rules of the U.S. District Court for

 the District of Delaware, including Civil L.R. 26 and Civil L.R. 34, Plaintiff Prolitec Inc.

 (“Prolitec” or “Plaintiff”) hereby provides its response to Defendant ScentAir Technologies,

 LLC’s (“ScentAir” or “Defendant”) Second Set of Interrogatories.

                                        GENERAL OBJECTIONS

         The following General Objections and statement shall be applicable to, and shall be

 included in, Plaintiff’s response to each interrogatory, whether or not mentioned expressly in any

 particular response. Plaintiff does not waive any of its General Objections by stating specific

 objections to any particular interrogatory. Plaintiff reserves the right to assert additional objections

 as it deems necessary and/or appropriate.

         1.        Prolitec objects to each and every discovery request, instruction and definition, to

 the extent it seeks information that is subject to the attorney-client privilege or any other applicable

 privilege, constitutes attorney work-product, or is otherwise immune from discovery under the

 Federal Rules of Civil Procedure. Any inadvertent production by Prolitec of any document,

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 information, or thing protected from disclosure by the attorney-client privilege, work-product

 immunity, and/or other applicable privilege or immunity is unintentional, and shall not be

 construed as a waiver of any applicable objection or privilege.

         2.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 calls for the disclosure of confidential information of any third party that is in the possession of

 Prolitec pursuant to confidentiality and non-disclosure restrictions imposed by contract or

 applicable law.

         3.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks information that is not within the possession, custody, or control of Prolitec.

         4.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks information beyond what is available to Prolitec at present from a reasonable search of its

 own files and from a reasonable inquiry of its present employees.

         5.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 purports to impose obligations on Prolitec that exceed its obligations under the Federal Rules of

 Civil Procedure, the Local Rules of the District, any orders issued by the Court in this case, any

 agreements or stipulations between the parties, or any other applicable rule of law.

         6.        Prolitec objects to each interrogatory, instruction and definition, to the extent it

 seeks the disclosure of information that is not relevant to any party’s claim or defense, not

 proportional to the needs of the case, and/or not likely to lead to the discovery of admissible

 evidence.

         7.        Prolitec objects to these interrogatories, instructions and definitions, to the extent

 they seek information that is unreasonably cumulative or duplicative, or that is obtainable from

 some other source more convenient, less expensive, or less burdensome or that Defendant has had



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 an opportunity to seek from another source, or where the burden or expense to Prolitec of the

 proposed discovery outweighs its likely benefit to Defendant, taking into account the needs of the

 case, the parties’ resources, the importance of the issues at stake in the case, the importance of the

 proposed discovery in resolving the issues, and the availability of the information to Defendant

 from other sources.

         8.        Prolitec objects to each interrogatory, including all applicable instructions and

 definitions, to the extent that it is vague, ambiguous, and does not identify with particularity the

 information sought.

         9.        Prolitec objects to each interrogatory, including the instructions and definitions

 accompanying it, to the extent it requests Prolitec to identify “all” information, documents, and/or

 things relating to a particular subject, on the ground that such requests are overly broad or unduly

 burdensome.

         10.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it is unreasonably unlimited in time and/or scope.

         11.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it prematurely seeks expert discovery.

         12.       Prolitec objects to each interrogatory, instruction and definition, to the extent that

 it calls for any legal conclusions.

         13.       Prolitec objects to each interrogatory, including the instructions and definitions

 accompanying it, as compound to the extent it contains multiple subparts or attempts to improperly

 combine multiple parts into one request.

         14.       Prolitec objects to each interrogatory to the extent that it prematurely seeks the

 production of documents or information that constitute electronically stored information (“ESI”)



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 prior to an agreement by the parties on terms and procedures governing the production of ESI.

 Prolitec will produce such documents or information only in accordance with and under the terms

 of an ESI Order that is stipulated to by the parties and entered by the Court.

         15.       Prolitec objects to the definition of “Prolitec Accused Product(s)” to the extent it

 covers products other than the Aera System accused of infringement in ScentAir’s First Amended

 Counterclaims, as such scope is beyond the scope of permissible discovery under Federal Rule of

 Civil Procedure 26(b)(1).

         16.       In responding to these interrogatories, Prolitec does not concede that any of the

 information or documents sought or provided is relevant, material, admissible in evidence,

 reasonably calculated to lead to the discovery of admissible evidence, or proportional to the needs

 of the case.

         17.       Prolitec’s responses to these interrogatories in no way constitute acquiescence or

 agreement to any definition proposed by Defendant.

         18.       To the extent Prolitec responds to any interrogatory by stating that responsive

 documents will be produced, such statement does not constitute a representation that such

 documents exist but only that a reasonable search for such documents has been or will be made

 and that any relevant, responsive, non-privileged documents that Prolitec locates will be produced.

         19.       Prolitec’s responses to these interrogatories are all made subject to and without

 waiver of these General Objections. To the extent that Prolitec cites or repeats a particular General

 Objection in a specific response to a particular interrogatory, Prolitec does so because it believes

 that the General Objection is particularly relevant to the request but not to the exclusion of any

 other General Objections.




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         20.       The specific responses set forth below are for the purposes of discovery only, and

 Prolitec neither waives nor intends to waive, but rather expressly reserves, any and all objections

 to the relevance, competence, materiality, privilege, admissibility, or use at any hearing of any

 information, documents, or things produced, identified, or referred to herein, or to the introduction

 of any evidence at any hearing relating to the subjects covered by such responses.

         21.       Discovery and investigation in this case are on-going. Prolitec reserves the right

 to supplement or amend its responses to these discovery requests, if and when more information

 becomes available.

         22.       Prolitec objects to each interrogatory, instruction, and definition, to the extent that

 it conflicts or is inconsistent with, or purports to impose obligations on Prolitec that exceed its

 obligations under, the Federal Rules of Civil Procedure, the Local Rules of the District of

 Delaware, any orders issued by the Court in this case, any agreements or stipulations between the

 parties, or any other applicable rule of law.




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                                       INTERROGATORIES



 INTERROGATORY NO. 11:

         Describe in detail the full factual basis for the conception, design, and development of the

 Prolitec Accused Products, including by describing at least the following matters subsidiary to

 such conception, design, and development: the identity of all persons who conceived of, designed,

 or developed the Prolitec Accused Products; how and what each such person did to conceive of,

 design, or develop the Prolitec Accused Products; the first date of such conception, design, or

 development; and the last date of such conception, design, or development.

 RESPONSE:

         With respect to conception, design, and development of the Aera and Aera Mini, Prolitec

 directs ScentAir to its Supplemental Response to ScentAir Interrogatory No. 1. With respect to

 the Aera System software, Vectorform was responsible for the design and development of the

 AeraForHome mobile software application. This work was performed in 2015 and 2016 in

 advance of the launch of the Aera in September 2016. Cardinal Peak was responsible for the

 design and development of the firmware for the Aera and Aera Mini devices. This work was

 performed in 2015 and 2016 in advance of the launch of the Aera in September 2016. Ayla

 Networks has provided the platform allowing for the AeraForHome app to communicate with
 the Aera devices. Prolitec subscribes to the Ayla platform which pre-existed the Aera System;

 the platform was not developed for Prolitec. Updates and upgrades to the above-listed items have

 been performed periodically since their development was finalized.

 INTERROGATORY NO. 12:

         For each asserted claim of each ScentAir Asserted Patent and for each Prolitec Accused

 Product, set forth the full factual and legal basis for Prolitec’s contention that it does not infringe

 such claim of such patent by such product.




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 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it prematurely seeks information to be

 proffered through expert discovery or testimony, which Prolitec has no duty to produce prior to

 the opening of the expert discovery period and applicable deadlines set forth in the Court’s

 Scheduling Order. Subject to and without waiving the foregoing objection, Prolitec states as

 follows.

         For the reasons set forth in Prolitec’s April 14 and April 17, 2023, letters regarding

 ScentAir’s Final Infringement Contentions, ScentAir has not set forth a cognizable argument that

 Prolitec has infringed ScentAir’s Asserted Patents. By way of example, with respect to indirect

 infringement, ScentAir’s conclusory allegation that Prolitec’s Accused Product “infringes,

 directly and/or indirectly” is insufficient to form a prima facie case of infringement. Likewise,

 ScentAir’s conclusory allegation that Prolitec’s Accused Product “infringes . . . either literally or

 under the doctrine of equivalents” is equally insufficient to establish infringement.

         Furthermore, ScentAir has not adequately identified where each feature claimed in the

 ScentAir Asserted Patents can be found in the Prolitec Accused Product. Specifically, and among

 other things, ScentAir has not adequately identified how the Prolitec Accused Product:

                  “determines an order of priority . . .”; “wherein the central controller is configured

                   to coordinate the one or more activity levels of each of the first and second

                   delivery devices during the overlapping activation time by determining which of

                   the first and the second delivery devices to activate during the overlapping

                   activation time . . .” as claimed in the ScentAir ‘162 Patent;

                  “maintains one or more scheduled anti-events . . .”; “identifying a conflicting

                   period of time between . . .”; “generating command data that maintains priority of

                   the control specified by the one or more anti-events over any additional

                   conflicting scheduled events subsequently added to the scenting schedule” as

                   claimed in the ScentAir ‘404 Patent; or



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                  introduces “asynchronicity into at least one scenting schedule . . .”;

                   “compensating for asynchronicity existing in the at least one scenting schedule

                   . . .”; and “adding a skew parameter . . .” as claimed in the ScentAir ‘789 Patent.

         In addition to the above-listed deficiencies in ScentAir’s Final Infringement Contentions,

 Prolitec states that its Accused Product also does not infringe the ScentAir ‘388 Patent because

 it does not incorporate an out table (or its associated capabilities) or an in table in which

 verification information and status is stored.



 INTERROGATORY NO. 13:

           For each ScentAir Asserted Patent, describe in detail the full factual basis of Prolitec’s

  awareness of such patent, including by describing at least the following matters subsidiary to

  such awareness: the first date of such awareness and the circumstances of such awareness.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that it received notice of ScentAir’s ‘162 Patent on

 September 26, 2016, via an email alert from the patent watch service PatSnap, which was

 previously produced as PROLITEC00021977. Prolitec received notice of ScentAir’s ‘404 Patent
 on October 10, 2016, via an email alert from the patent watch service PatSnap, which was

 previously produced as PROLITEC00022035. Prolitec received notice of ScentAir’s ‘789 Patent

 on April 2, 2018, via an email alert from the patent watch service PatSnap, which was previously

 produced as PROLITEC00027227–27230. Prolitec received notice of ScentAir’s ‘388 Patent on

 November 23, 2020, via an email alert from the patent watch service PatSnap, which is being

 produced concurrently with these responses.




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 INTERROGATORY NO. 14:

           For each ScentAir Asserted Patent, describe in detail the full factual basis of Prolitec’s

 action (or inaction) in response to Prolitec’s awareness of such patent, including by describing at

 least the following matters subsidiary to such action (or inaction): all actions Prolitec considered

 taking in light of its awareness of such ScentAir Asserted Patent; all actions Prolitec took in light

 of its awareness of such ScentAir Asserted Patent; all actions a third party acting on behalf of or

 at the direction of Prolitec took in light of Prolitec’s awareness of such ScentAir Asserted Patent;

 and all actions considered or taken by Prolitec or any third party acting on behalf of or at the

 direction of Prolitec to design around and/or avoid infringement of such ScentAir Asserted

 Patent.

 RESPONSE:

           Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine.



 INTERROGATORY NO. 15:

           If Prolitec contends that there are acceptable, noninfringing alternatives to ScentAir’s

 ScentConnect product in conjunction with ScentAir’s scent-delivery devices (including one or

 more of ScentAir Direct, ScentAir Breeze, ScentAir Whisper PRO, ScentAir Whisper MAX,

 ScentAir Whisper Home, and ScentAir ScentStream), set forth the full factual basis and

 explanation for such contention.

 RESPONSE:

           Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that its AeraForHome application, which is used with

 Prolitec’s Aera and Aera Mini products, is an acceptable, non-infringing alternative to ScentAir’s

 ScentConnect product for the reasons outlined in response to Interrogatory No. 12, above.


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 INTERROGATORY NO. 16:

         Provide, on a monthly basis, Prolitec’s sales (in units and dollars) in the United States from

 October 2014 to present of the Prolitec Accused Products.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks sales information relating to the

 AeraForHome application (or other “software application[s] and servers” associated with the

 Aera and Aera Mini products), as that application is not “sold” within the plain meaning of that

 term. Prolitec further objects to this Interrogatory to the extent it seeks sales information

 predating September 20, 2016—the earliest issuance date of the ScentAir Asserted Patents.

 Subject to and without waiving the foregoing objections, Prolitec responds to this interrogatory

 in accordance with Federal Rule of Civil Procedure 33(d) by reference to the following document

 that has been produced: PROLITEC00001523.



 INTERROGATORY NO. 17:

         Provide, on a monthly basis, Prolitec’s sales (in units and dollars) in the United States from

 October 2014 to present of all fragrances, cartridges, or other consumables for use or associated

 with any Prolitec Accused Product.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks sales information predating

 September 20, 2016—the earliest issuance date of the ScentAir Asserted Patents. Subject to and

 without waiving the foregoing objections, Prolitec responds to this interrogatory in accordance

 with Federal Rule of Civil Procedure 33(d) by reference to the following document that has been

 produced: PROLITEC00001524.




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 INTERROGATORY NO. 18:

         Provide on a monthly basis, Prolitec’s sales (in units and dollars) in the United States from

 October 2014 to present of all services related to or associated with any Prolitec Accused Product.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks sales information predating

 September 20, 2016—the earliest issuance date of the ScentAir Asserted Patents. Subject to and

 without waiving the foregoing objections, Prolitec states that it does not provide services related

 to the Aera and Aera Mini. Prolitec further states that it does not “sell”—within the plain meaning

 of that term—services related to the “software application and servers” associated with the Aera

 and Aera Mini, including the AeraForHome application.



 INTERROGATORY NO. 19:

         Set forth the full factual and legal basis and explanation for Prolitec’s contention in

 Paragraph 4 of Prolitec’s Answer to ScentAir’s First Amended Complaint that ScentAir’s

 enforcement of the ScentAir Asserted Patents is barred by one or more of the equitable doctrines,

 including but not limited to laches, estoppel, acquiescence, waiver, and unclean hands.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that its laches and acquiescence defenses are based on

 ScentAir’s over-four-year delay in asserting the counterclaims: Although Prolitec released the

 AeraForHome application through Google Play on September 16, 2016, and the Apple App Store

 on September 22, 2016, ScentAir failed to assert its counterclaims until October 23, 2020.

 Because of this delay, Prolitec invested significant time, effort, and money in developing and

 improving its products without any notice of alleged infringement.




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 INTERROGATORY NO. 20:

         Set forth the full factual and legal basis and explanation for Prolitec’s contention in

 Paragraph 5 of Prolitec’s Answer to ScentAir’s First Amended Complaint that ScentAir’s cause

 of action is barred under the doctrine of estoppel by virtue of statements, amendments, or

 representations made during prosecution of the ScentAir Asserted Patents.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that ScentAir’s claim of infringement under the doctrine

 of equivalents is barred for the reasons stated in response to Interrogatory No. 12, above.

 Nevertheless, if the Court determines that ScentAir is entitled to pursue a claim of infringement

 under the doctrine of equivalents, Prolitec reserves the right to argue that such a claim is barred

 by prosecution history estoppel.



 INTERROGATORY NO. 21:

         Set forth the full factual and legal basis and explanation for Prolitec’s contention in

 Paragraph 6 of Prolitec’s Answer to ScentAir’s First Amended Complaint that ScentAir’s

 damages are limited under 35 U.S.C. § 287.

 RESPONSE:

         Prolitec objects to this Interrogatory to the extent it seeks information protected by the

 attorney-client privilege and/or attorney work product doctrine. Subject to and without waiving

 the foregoing objection, Prolitec states that it was not notified of its alleged infringement of the

 ScentAir Asserted Patents until ScentAir filed its Counterclaims and First Amended

 Counterclaims on October 23, 2020, and December 22, 2020, respectively. Furthermore,

 ScentAir does not contend that Prolitec had actual notice of its alleged infringement of the

 ScentAir Asserted Patents before ScentAir filed its counterclaims, and ScentAir has admitted


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 that it did not mark its products with the appropriate patent numbers prior to asserting its

 counterclaims. See ScentAir Response to Prolitec Interrogatory Nos. 14 & 15.



  Dated: May 11, 2023                               MCCARTER & ENGLISH, LLP

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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  PROLITEC INC.,
                                                 CIVIL ACTION NO. 20-984-RGA
                        Plaintiff,

         v.

  SCENTAIR TECHNOLOGIES, LLC,

                        Defendant.



              PROLITEC’S VERIFICATION OF RESPONSES TO SCENTAIR’S
                       SECOND SET OF INTERROGATORIES

        I, Matthew Ansley, Executive Vice President and Chief Operating Officer of Plaintiff

 Prolitec Inc., hereby verify under penalty of perjury pursuant to 28 U.S.C. § 1746 that, having

 prepared (with the assistance of counsel) and reviewed PLAINTIFF PROLITEC’S RESPONSES

 TO    DEFENDANT         SCENTAIR       TECHNOLOGIES,           LLC’S              SECOND            SET   OF

 INTERROGATORIES (Nos. 11-21), the Responses are true and accurate to the best of my

 knowledge, information, and belief.

                     11                                    Matthew Ansley
        Dated: May _____, 2023                             ____________________________
                                                           Matthew Ansley (May 11, 2023 14:54 CDT)

                                                           Matthew Ansley
                                                           Executive Vice President & Chief
                                                              Operating Officer
                                                           Prolitec Inc.
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